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                     UNITED STATES DISTRICT COURT

                     SOUTHERN DISTRICT OF NEW YORK

       ---------------------------------------------------X

       MELISSA KAYE, M.D.,

                                Plaintiff,

                                INDEX NO.: 18-CV-12137

                   -against-



       HEALTH AND HOSPITALS CORPORATION; ELIZABETH FORD;

       ABHISHEK JAIN; PATRICIA YANG; and JONAHTHAN WANGEL,

       et al.,

                                Defendants.

       ---------------------------------------------------X

                                Remote Deposition
                                New York, New York 11716


                                September 27,      2021
                                10:08 a.m.


             DEPOSITION of ELIZABETH FORD, M.D., a Defendant

             herein, taken by the Plaintiff, held at the

             above-mentioned time and place, before KIARA

             MILLER, a Notary Public of the State of New

             York.
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                                                                  Page 2
  1

  2    A P P E A R A N C E S:

  3

  4                THE LAW OFFICES OF SPECIAL HAGAN
                   Attorney for Plaintiff
  5                196-04 Hollis Avenue
                   Saint Albans, New York 11412
  6                EMAIL: SPECIAL@HAGANLAWOFFICES.NET
                   BY: SPECIAL HAGAN, ESQ.
  7

  8                NEW YORK CITY LAW DEPARTMENT
                   Attorney for Defendants
  9                100 Church Street
                   New York, New York 10007
 10                EMAIL: DCANFIEL@LAW.NYC.GOV
                   BY: DONNA CANFIELD, ESQ.
 11

 12

 13

 14    ALSO PRESENT:

 15    MELISSA KAYE, Plaintiff

 16

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  1

  2          F E D E R A L      S T I P U L A T I O N

  3

  4                     IT IS HEREBY STIPULATED AND AGREED by

  5          and between the counsel for the respective

  6          parties hereto, that the filing, sealing, and

  7          certification of the within deposition shall be

  8          and the same are hereby waived;

  9                     IT IS FURTHER STIPULATED AND AGREED

 10          that all objections, except as to the form of

 11          the question shall be reserved to the time of

 12          trial.

 13                     IT IS FURTHER STIPULATED AND AGREED

 14          that the within deposition may be signed before

 15          any notary public with the same force and

 16          effect as if signed and sworn to before this

 17          court.

 18

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                                                                   Page 4
  1                            E. FORD, M.D.

  2    E L I Z A B E T H       F O R D, M.D., after having first

  3    been duly sworn by a Notary Public of the State of

  4    New York, was examined and testified as follows:

  5                           COURT REPORTER:      Please state

  6                    your name for the record.

  7                           THE WITNESS:     Elizabeth Ford,

  8                    M.D.

  9                           COURT REPORTER:      Please state

 10                    your address for the record.

 11                           THE WITNESS:     145 Palacade

 12                    Avenue, Dobbs Ferry, New York 10522.

 13    EXAMINATION BY

 14    MS. HAGAN:

 15                Q      Good morning, Dr. Ford.

 16                       How are you?

 17                A      I'm fine.     Thank you.

 18                Q      I know this is not the first time

 19          you've been deposed; is that right?

 20                A      That's correct.

 21                Q      So it's not the first time?

 22                A      It is not.

 23                           MS. CANFIELD:     Objection.     Can

 24                    you repeat the question.        I thought

 25                    you said it is not.
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  1                             E. FORD, M.D.

  2                Q      Is this the first time you've been

  3          deposed, Dr. Ford?

  4                A      No.

  5                Q      So I'm going to give you some

  6          sample, you know, not sample, but just

  7          standard admonitions not to go too far off.

  8                       Just as a reminder, only one of us

  9          can speak at a time.        So please let me

 10          finish my question and then answer.            Second

 11          thing is that if you need to take a break,

 12          just let me know.       I would just ask that you

 13          let me finish the question and answer the

 14          question and then we can take a break.

 15                       If you have any, like if need to

 16          take lunch or whatever at a certain time,

 17          just let me know.       This is usually -- I

 18          don't know, it's not always a seven-hour

 19          process, but sometimes people like to have

 20          lunch.    So if you would like to, you can let

 21          me know, probably maybe midway into the

 22          deposition, whether or not you'd like to

 23          step out for lunch for an hour.           I'm fine

 24          with that.

 25                       As far as objections are
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  1                             E. FORD, M.D.

  2          concerned, if your counsel has objected to a

  3          question, I just ask that unless she

  4          instructs you not to answer the question,

  5          that you answer the question to the best of

  6          your ability.

  7                       Is that okay?

  8                A      Yes.

  9                Q      As far as your ability to remember

 10          things, I know that some time has passed.

 11          So I do have a right to ask you estimates,

 12          but I don't expect you to guess.           So if you

 13          don't remember, it's fine.         And also, you're

 14          nodding your head.       So, for the record, when

 15          you answer, please make sure you say yes or

 16          no, or I don't know.        The reporter can't

 17          take down facial or head gestures.

 18                       Is that okay?

 19                A      Yes.

 20                Q      And then, you happen to take

 21          anything that will impair your ability to

 22          testify truthfully today, would you?

 23                A      No.    I have not.

 24                Q      Have you taken any medications

 25          within the last 24 hours?
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  1                             E. FORD, M.D.

  2                            MS. CANFIELD:    Objection.

  3                A      No.

  4                            MS. CANFIELD:    You can answer.

  5                A      No.

  6                Q      Are you on any psychotropic

  7          medications, Dr. Ford?

  8                            MS. CANFIELD:    Objection.     You

  9                    can answer.

 10                A      No.

 11                Q      Have you been prescribed any

 12          medications at all?

 13                            MS. CANFIELD:    Objection.

 14                    When?

 15                            MS. HAGAN:    Her entire life.

 16                Q      **MARK Dr. Ford, have you been

 17          prescribed any medications within the last

 18          year?

 19                            MS. CANFIELD:    Objection.

 20                            I'm going to direct you not to

 21                    respond to that question.        It's not

 22                    relevant, it's personal and violates

 23                    HIPPA.   So, no, she's not going

 24                    to --

 25                            MS. HAGAN:    That's not a valid
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  1                            E. FORD, M.D.

  2                   objection.

  3                          MS. CANFIELD:      It is.    And

  4                   she's not going to answer it.           It's

  5                   a HIPPA violation.       She's not going

  6                   to waive it.      You have no right to

  7                   --

  8                          MS. HAGAN:      I have a right to

  9                   know if she's taken anything in the

 10                   last year that would impair her

 11                   ability to testify truthfully today.

 12                          MS. CANFIELD:      You already

 13                   asked her if she has taken anything

 14                   that would impair her ability to

 15                   testify truthfully today.         She

 16                   responded no.      So let's move on.

 17                          What she took six months ago

 18                   has no bearing on today.         So I'm

 19                   going to direct her not to answer.

 20                   I suggest you move on, unless you

 21                   want to call the Court, or we can

 22                   mark it, we can call the Court

 23                   later.

 24                          MS. HAGAN:      We can call the

 25                   Court now.
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  1                             E. FORD, M.D.

  2                            MS. CANFIELD:    Let's just mark

  3                    it.   I'm sure --

  4                            MS. HAGAN:    We can call the

  5                    Court now because you're being

  6                    disruptive.    I'm going to ask the

  7                    question just for the record so that

  8                    it's clear.

  9                Q      Dr. Ford, have you been prescribed

 10          any medication that would impair your

 11          ability to testify truthfully today?

 12                            MS. CANFIELD:    You can answer

 13                    that.

 14                A      No.

 15                Q      Have you been given any

 16          psychological diagnosis within the last

 17          year?

 18                            MS. CANFIELD:    Objection.

 19                    It's relevance again.

 20                            MS. HAGAN:    That is not a

 21                    valid objection.      You can answer.

 22                            MS. CANFIELD:    Objection.

 23                    Don't answer that.      Your

 24                    psychological condition is not at

 25                    issue here.    She asked you if you --
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  1                            E. FORD, M.D.

  2                     Counsel, you asked her if she was

  3                     able to testify truthfully.        That's

  4                     sufficient.    In terms of laying of

  5                     foundation.

  6                 Q     **MARK Dr. Ford, have you ever

  7           been diagnosed with any psychological

  8           condition, yes or no?

  9                           MS. CANFIELD:      Objection.     Do

 10                     not answer that.     Move on.     You can

 11                     mark that one, too.

 12                           MS. HAGAN:     We're going to

 13                     call the Court.

 14                              (Calls Court.)

 15                           MS. CANFIELD:      If we're moving

 16                     on, can we have the court reporter

 17                     mark those two questions so she can

 18                     easily go back for when the Court

 19                     calls us.

 20                           MS. HAGAN:     It's several

 21                     questions that were asked.        So it

 22                     may be more.    We can go back at some

 23                     point, but we're not going to do

 24                     that now.

 25                 Q     So, Dr. Ford, where are you
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  1                            E. FORD, M.D.

  2           working currently?

  3                  A    I am currently awaiting starting

  4           two new positions.       So I'm currently

  5           unemployed, other than a small consulting

  6           contract with my prior employer.

  7                  Q    What are the two positions you're

  8           waiting to start?

  9                  A    An associate professor of

 10           psychiatry at Columbia University.           And

 11           working title at Health and Hospitals

 12           Central Office as the medical director for

 13           justice involved behavioral health.

 14                  Q    Is this a part-time or full-time?

 15                  A    Both positions are part-time.          So

 16           three days at one and two days at another.

 17                  Q    Who would be your supervisor at

 18           H&H?

 19                  A    Charles Barron

 20                  Q    Is this the former politician or

 21           someone else?

 22                  A    I don't know if he's the

 23           politician.     He's the current medical

 24           director of behavioral health, I believe, at

 25           Health and Hospitals.        He's a psychiatrist.
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  1                            E. FORD, M.D.

  2                 Q     So it's a different person.

  3                       The associate professor position

  4           of psychiatry, that's part-time, too, right?

  5                 A     Three days a week.

  6                 Q     Where were you working prior to

  7           these two job offers?

  8                 A     I was working at a nonprofit

  9           organization called CASES.         The Center for

 10           Alternative Sentencing and Employment

 11           Services, in Harlem.       They have offices in

 12           Brooklyn.     And I was the chief medical

 13           officer there.

 14                 Q     Why did you leave CASES?

 15                 A     I had -- I was missing working

 16           with physicians, and I was missing working

 17           on a larger systems level for the patients

 18           that I want to take care of.

 19                 Q     How long were you at CASES?

 20                 A     Sixteen months, I believe.

 21                 Q     And how much were you making at

 22           CASES?

 23                 A     I worked there .9 -- so it was

 24           90 percent time, and my salary was 270,000 a

 25           year, I believe.
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  1                             E. FORD, M.D.

  2                 Q     Now, were you asked to resign,

  3           Dr. Ford?

  4                 A     No.

  5                 Q     So you voluntarily resigned?

  6                 A     Yes.

  7                 Q     And you said you missed working

  8           with patients?

  9                 A     Physicians.

 10                 Q     Physicians.

 11                 A     Yes.

 12                 Q     And who were you working with?

 13                 A     I was primarily working with

 14           social workers and lawyers, and there were

 15           two or three psychologists.

 16                 Q     And how big was your staff?

 17                 A     I did not have any staff there.

 18           Sorry.    That's until -- I did hire a

 19           psychologist towards the end of my time

 20           there, but I didn't have any direct reports

 21           until she arrived.

 22                 Q     Who is she?

 23                 A     Her name is Erin Weinstein.

 24                 Q     Now, when did you start at CASES

 25           exactly?
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  1                             E. FORD, M.D.

  2                  A    March 23, 2020.

  3                  Q    Now, while you were at CASES, did

  4           you take any leave of absences?

  5                  A    No.

  6                  Q    So you just worked full-time for

  7           the 16 months, you know, outside of regular

  8           vacation; is that correct?

  9                  A    That's correct.

 10                  Q    And prior to CASES, you were at

 11           CHS; is that right?

 12                  A    Yes.

 13                  Q    And was your whole salary paid by

 14           H&H?

 15                  A    Yes.    I believe so.

 16                  Q    What was your salary at H&H?

 17                  A    Do you mean when I ended?

 18                  Q    Yes.

 19                  A    250,000 a year.

 20                  Q    And PAGNY didn't pay any of your

 21           salary; is that right?

 22                  A    Not to my knowledge, no.

 23                  Q    So it was all paid by H&H and the

 24           City of New York; is that right?

 25                           MS. CANFIELD:      Objection.     You
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  1                            E. FORD, M.D.

  2                     can answer if you understand.

  3                 A     Again, to the best of my

  4           knowledge, it was all paid for by Health and

  5           Hospitals.

  6                 Q     Now, what was your job title when

  7           you were at H&H?

  8                 A     At what point?

  9                 Q     Well, when you started, I guess --

 10           let's go back to, I guess, your initial --

 11           just some initial questions that I typically

 12           ask deponents.

 13                       Dr. Ford, where did you get your

 14           undergraduate degree?

 15                 A     Yale University.

 16                 Q     What did you get your degree in?

 17                 A     Biology.

 18                 Q     What year did you graduate from

 19           Yale?

 20                 A     1994.

 21                 Q     And then what was your next

 22           degree?

 23                 A     Medical degree.

 24                 Q     And where was that from?

 25                 A     The University of Virginia.
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  1                            E. FORD, M.D.

  2                 Q     And when did you get that?

  3                 A     2000.

  4                 Q     And then after that, did you do

  5           any fellowships?

  6                 A     I did do a fellowship.        I did a

  7           residency first in psychiatry at New York

  8           University School of Medicine.          And then I

  9           did a fellowship in forensic psychiatry the

 10           year after that.

 11                 Q     When was that, the forensic

 12           psychiatry?

 13                 A     That was 2004 to 2005.

 14                 Q     Where did you do the forensic

 15           psychiatry residency?

 16                 A     NYU School of Medicine.

 17                 Q     And then after you completed the

 18           forensic psychiatry residency, where did you

 19           go?

 20                 A     I took a position on an inpatient

 21           psychiatry in Bellevue Hospital as an

 22           attending physician.

 23                 Q     Was this attending level one?

 24                 A     I was paid by NYU, so there was

 25           no -- there wasn't a -- I don't know.            We
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                                                                  Page 17
  1                             E. FORD, M.D.

  2           didn't have titles like that.

  3                 Q     So how long were you in Bellevue

  4           as an attending physician?

  5                 A     About three months.        I was

  6           promoted to the unit chief at that time,

  7           same unit.

  8                 Q     So out of just completing your

  9           residency, three months afterwards you were

 10           promoted to unit chief?

 11                 A     That's correct.

 12                 Q     Had you had any experience working

 13           prior to this residency in this capacity?

 14                             MS. CANFIELD:    Objection as to

 15                     form.   You can answer.

 16                 A     I'll try to.      Do you mean as a

 17           unit chief had I ever had experience?

 18                 Q     Let's start with that.

 19                 A     No.    This was my first position as

 20           a unit chief.

 21                 Q     How long had you been practicing

 22           medicine prior to being promoted to unit

 23           chief?

 24                 A     So when you say practice medicine,

 25           do you mean when I was licensed and could
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  1                            E. FORD, M.D.

  2           practice independently?

  3                 Q     Yes.

  4                 A     I received my license when I was a

  5           second year resident.        So I guess for four

  6           years, five years, four or five years.

  7                 Q     So what year was this that you got

  8           promoted to unit chief?

  9                 A     2005.

 10                 Q     And this is at Bellevue?

 11                 A     Yes.

 12                 Q     And who was you supervisor at the

 13           time?

 14                 A     I hope I don't get his first

 15           name -- Dr. Morris, I believe was his last

 16           name, Raphael, first name, I think.

 17                 Q     How long were you unit chief?

 18                 A     About 18 months.

 19                 Q     And why did you change positions?

 20                 A     I left that position during the

 21           eighth month of my second pregnancy.

 22                 Q     And why was that?

 23                 A     Because I was having a high risk

 24           pregnancy, and I had a toddler, and the job

 25           was difficult.
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  1                            E. FORD, M.D.

  2                 Q     And why was the job difficult?

  3                 A     The inpatient unit at Bellevue was

  4           one of the high risk units for people at

  5           Rikers Island with serious mental illness.

  6           It was a lot of crisis all the time and I

  7           was increasingly feeling like it was hard to

  8           be available as I wanted to be that

  9           pregnant.

 10                 Q     Available to who?

 11                 A     To my staff and the patients.

 12                 Q     Did you have issues being

 13           available to your family?

 14                           MS. CANFIELD:      Objection.

 15                 Q     You can answer.

 16                 A     I didn't -- I don't think I had

 17           issues.    I wanted to be with them more.

 18                 Q     And you couldn't in your job

 19           capacity at that time; is that right?

 20                           MS. CANFIELD:      Objection.     You

 21                     can answer.

 22                 A     I found it difficult to balance.

 23                 Q     And why was that?

 24                 A     I think because both having a

 25           young family and a challenging professional
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  1                             E. FORD, M.D.

  2           job was a lot, and I wanted to be both

  3           places all the time and couldn't.

  4                 Q     Did you express any of this to

  5           your supervisor?

  6                 A     Indeed.

  7                 Q     So you spoke to Dr. Morris about

  8           this; am I right?

  9                 A     No.    He was not my supervisor at

 10           the time I left that position.

 11                 Q     Who was your supervisor?

 12                 A     A psychiatrist named Ken Hoag.

 13                 Q     And what did you tell Mr. Hoag

 14           regarding the balance?

 15                 A     That I needed to leave the

 16           position in order to take more time to raise

 17           my family.

 18                 Q     But prior to that, you didn't tell

 19           him that you needed adjustments to your job

 20           or anything like that, in order to

 21           accommodate your family and the job?

 22                             MS. CANFIELD:    Objection as to

 23                     form.   You can answer.

 24                 A     I don't remember what

 25           conversations I had with him prior to that,
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  1                             E. FORD, M.D.

  2           that end conversation.

  3                 Q     Did you ask for any adjustments to

  4           your job so that you could accommodate your

  5           family?

  6                             MS. CANFIELD:    Objection as to

  7                     form.   You can answer.

  8                 A     I don't think so.

  9                 Q     Did you have any difficulty

 10           getting to work due to day care when you

 11           were working at that capacity?

 12                 A     I got to work on time every day.

 13           It was -- the mornings were pretty chaotic,

 14           but I'm not sure what you mean by

 15           difficulty.       I was able to do it.

 16                 Q     You were able to do it, but it was

 17           a struggle; am I right?

 18                             MS. CANFIELD:    Objection as to

 19                     form.   You can answer.

 20                 A     I didn't -- it was difficult.

 21                 Q     But the question was, did you --

 22           you said it was difficult, and why was it

 23           difficult?

 24                             MS. CANFIELD:    Objection.     You

 25                     can answer.
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  1                             E. FORD, M.D.

  2                 A     Sure.    Because I had -- still do

  3           have a husband who worked full-time, and I

  4           had two -- I had a -- how old was he, 18

  5           month son, and a very large belly, and I

  6           needed to get him to day care, which didn't

  7           open until about half hour before I needed

  8           to get to work.

  9                 Q     Did you believe that you could or

 10           anyone could balance the life of a

 11           professional woman and being a mother?

 12                             MS. CANFIELD:    Objection as to

 13                     form.   You can answer.

 14                 A     I'm sorry.     Did I believe that

 15           then, do I believe that in general?

 16                 Q     Yes.    In general.

 17                 A     I do.    Um-hmm.

 18                 Q     And at the time, did you believe

 19           it?

 20                 A     I don't know if I thought about it

 21           at the time, actually.

 22                 Q     Did you think about it afterwards?

 23                             MS. CANFIELD:    Objection as to

 24                     form.   You can answer.

 25                 A     I mean, yeah, I think about those
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  1                             E. FORD, M.D.

  2           balances all the time for myself and for my

  3           staff.

  4                 Q     Now, when you worked under

  5           Mr.   Hoag, were you allowed to work a

  6           modified schedule?

  7                             MS. CANFIELD:    Objection as to

  8                     form.   You can answer.

  9                 A     Again, I don't believe I ever

 10           asked for a modified schedule, so I don't

 11           know the answer to that.

 12                 Q     I'm not asking if you asked for

 13           it, but were you allowed to work a modified

 14           schedule?     Did you work 9:00 to 5:00 or an

 15           eight-hour schedule at that time?

 16                 A     I did work -- well, I mean -- yes,

 17           I worked a 9:00 to 5:00 schedule.           I was

 18           available on call all the time, but I did

 19           work a full schedule.        I never asked about a

 20           different one.      So I don't know if I would

 21           have been allowed to.

 22                 Q     Were you allowed to come and go as

 23           you pleased at that time?

 24                 A     No.    Not that I recall.

 25                 Q     So did you come to work the same
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  1                             E. FORD, M.D.

  2           time every day and leave the same time every

  3           day?

  4                  A    I came to work the same time every

  5           day, with the exception of maybe I would

  6           come in early if something particular was

  7           going on in the unit, but I arrived at work

  8           every day, and I did not leave work every

  9           day.   Frequently I was coming home later

 10           than I wanted to.

 11                  Q    So you worked extended hours, and

 12           you didn't -- did you work part-time at any

 13           point, when Mr. Hoag was your supervisor?

 14                  A    No.    Um-um.

 15                  Q    So you worked five days a week,

 16           eight hours a day, if not more?

 17                  A    That's correct.

 18                  Q    During the time that you were unit

 19           chief?

 20                  A    That's correct.

 21                  Q    The entire time?

 22                  A    The entire time.

 23                  Q    So after you became -- after you

 24           were promoted to unit chief, you decided to

 25           leave that position.        What did you do after
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  1                            E. FORD, M.D.

  2           you left that position?

  3                 A     I was on maternity leave at that

  4           time, and I didn't have a particular plan

  5           for my next move.       During my maternity leave

  6           I accepted a position to work in the

  7           emergency room at Bellevue Hospital.

  8                 Q     In what capacity were you working

  9           in the emergency room?

 10                 A     I was an attending physician.

 11                 Q     And how long were you working

 12           there?

 13                 A     About 18 months.

 14                 Q     What year, what time period is

 15           this?

 16                 A     I believe I started October 2007

 17           or fall 2007 until May of 2009.

 18                 Q     And what was your next position

 19           after that, Dr. Ford?

 20                 A     The director of the division of

 21           forensic psychiatry at Bellevue Hospital.

 22                 Q     And how did you get that job,

 23           Dr. Ford?

 24                 A     I was offered that job by the

 25           chief of psychiatry at Bellevue.
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  1                             E. FORD, M.D.

  2                 Q     Who was that?

  3                 A     Marianne Badaracco.

  4                 Q     Was she your supervisor when you

  5           started working there?

  6                 A     Yes.    In that position, yup.

  7                 Q     And this is in May 2009?

  8                 A     Correct.

  9                 Q     Now, were you supervising Dr. Kaye

 10           at that time?

 11                 A     I believe the division of forensic

 12           psychiatry included the Bronx Court Clinic.

 13           So when I started in May, my understanding

 14           was that I was Dr. Kaye's supervisor.

 15                 Q     Now, was Dr. Belkin, I guess the

 16           director of the court clinics at that time?

 17                             MS. CANFIELD:    Objection as to

 18                     form.   You can answer.

 19                 A     I don't know.      I don't know.

 20                 Q     You are familiar with Dr. Belkin;

 21           am I right?

 22                 A     Yeah.    I'm familiar with him.

 23                 Q     How long did Dr. Belkin serve in

 24           the capacity as the director of all the

 25           court clinics?
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  1                             E. FORD, M.D.

  2                             MS. CANFIELD:    Objection as to

  3                     form.   You can answer.

  4                 A     I don't know Dr. Belkin's

  5           involvement with the court clinics.

  6                 Q     Let me just make sure that I get

  7           this right then.

  8                       I'm going to show you what's going

  9           to be marked as Plaintiff's Exhibit 1.

 10                              (Whereupon, Letter 06/12/16 Dr.

 11                              Belkin (NYC1003) was marked as

 12                              Plaintiff's Exhibit 1 for

 13                              identification as of this date.)

 14                 Q     So at this time, so I don't take

 15           up too much more of your time while we're

 16           moving through this document.

 17                       At this time, you are -- had you

 18           met Dr. Kaye in 2009?

 19                 A     I don't remember.

 20                 Q     When was the first time you

 21           remember meeting Dr. Kaye?

 22                 A     I don't remember the year.         I

 23           think it was in my office at Bellevue

 24           Hospital, but I don't remember.

 25                 Q     You're not sure what capacity you
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                                                                  Page 28
  1                              E. FORD, M.D.

  2           were serving in at that time; is that right?

  3                              MS. CANFIELD:   Objection as to

  4                      form.   You can answer.

  5                  A     I don't think I met Dr. Kaye prior

  6           to my position as the division director, but

  7           I'm not sure.

  8                  Q     So even though you were the

  9           director of forensic psychiatry over at

 10           Bellevue in May of 2009 -- and how long did

 11           you have that position for director of

 12           forensic psychiatry at Bellevue?

 13                              MS. CANFIELD:   Objection as to

 14                      form.   You can answer.

 15                  A     Five years.

 16                  Q     So from May 2009 to 2014, you were

 17           the director of forensic psychiatry at

 18           Bellevue; is that right?

 19                  A     Yes.

 20                  Q     You're not sure at that time

 21           whether or not you worked with Dr. Kaye or

 22           not?

 23                              MS. CANFIELD:   Objection as to

 24                      form.   You can answer.

 25                  A     I believe you had asked me when
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 29 of 361


                                                                   Page 29
  1                            E. FORD, M.D.

  2           did I first meet her.        I do recall working

  3           with Dr. Kaye when I was the division

  4           director.

  5                 Q     How was your working relationship

  6           with Dr. Kaye at that time?

  7                 A     I thought it was professional and

  8           friendly.

  9                 Q     And how would you describe her as

 10           an employee at that time?

 11                 A     We didn't interact too much, but I

 12           found her to be excellent at the work that

 13           she was doing in the Bronx.         I found her to

 14           be an advocate for herself and the trainees

 15           and staff that she had at the clinic.            I

 16           found her to be precise and professional.

 17                 Q     So this is from 2009 to 2014, that

 18           was your perspective on Dr. Kaye at that

 19           time?

 20                 A     Yes.    There were a few -- yes.

 21           From my personal experience with her, yes.

 22                 Q     Did she collaborate with you when

 23           you had questions or any ideas about the

 24           clinics?

 25                           MS. CANFIELD:      Objection as to
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 30 of 361


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  1                             E. FORD, M.D.

  2                     form.   You can answer.

  3                 A     I'm not entirely sure I understand

  4           the question.

  5                 Q     Well, would you say that Dr. Kaye

  6           was cooperative when you had questions about

  7           the clinics and operations at that time?

  8                 A     Yes.

  9                 Q     And would you say that she was

 10           willing to collaborate with you if you had

 11           any desire to do so at that time?

 12                 A     Yes.

 13                 Q     Now, I'm going to go back to the

 14           question I had about Dr. Belkin or

 15           Mr. Belkin.       I'm going to see if I can share

 16           the screen with you.

 17                       Now, Dr. Ford, I have what's going

 18           to be marked as Plaintiff's Exhibit 1.            For

 19           the record, it bears the Bates stamp series

 20           NYC1003.    And it's a letter dated -- it's a

 21           letter dated June 12, 2016, I guess from

 22           Dr. Belkin to the Honorable Fern A. Fisher.

 23                       Do you see that?

 24                 A     I do.

 25                 Q     Have you ever seen this letter
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                                                                  Page 31
  1                             E. FORD, M.D.

  2           before?

  3                 A     No.

  4                 Q     Now, you do know that Dr. Belkin

  5           was serving in the capacity as deputy

  6           commissioner of mental hygiene; is that

  7           right?

  8                 A     I do know that, yes.

  9                 Q     Do you know who succeeded

 10           Dr. Belkin after he left his position?

 11                 A     No.    I don't know if there was

 12           someone between him and the person I'm

 13           thinking of.

 14                 Q     Who are you thinking of now?

 15                 A     Hillary Cunnings.

 16                 Q     Now, did --

 17                 A     I'm sorry.     Go ahead.

 18                 Q     You said Hillary Cunnings and then

 19           what?

 20                 A     I believe she's left also, but

 21           that's the person I was thinking of.

 22                 Q     Now, did Dr. Belkin serve in this

 23           capacity the whole time that you were

 24           working there, Dr. Ford?

 25                 A     I'm sorry.     That I was working
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                                                                  Page 32
  1                             E. FORD, M.D.

  2           where?

  3                 Q     Working as director of forensic

  4           psychiatry at Bellevue?

  5                             MS. CANFIELD:    Objection as to

  6                     form.   You can answer.

  7                 A     Sure.    I actually don't know who

  8           the executive deputy commissioner of mental

  9           hygiene was when I was at Bellevue Hospital.

 10                 Q     Do you know who the executive

 11           director of -- it's actually deputy

 12           commissioner of mental hygiene, was when you

 13           were at CHS?

 14                 A     Yes.    I believe it was Dr. Belkin.

 15                 Q     Was he the executive deputy

 16           commissioner the whole time?

 17                 A     The whole time I was at CHS?

 18                 Q     Yes.

 19                 A     No.    He left and, again, I think

 20           it was Hillary Cunnings who took over.

 21                 Q     Now, going back to your time

 22           working with Dr. Kaye from 2009 to 2014, you

 23           established or you've testified that

 24           Dr. Kaye, you had a friendly relationship

 25           with Dr. Kaye at that time; is that right?
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                                                                  Page 33
  1                             E. FORD, M.D.

  2           Or cordial, cordial friendly, right?

  3                             MS. CANFIELD:    Objection as to

  4                     form.   You can answer.

  5                 A     Yes.

  6                 Q     At any time did you complete

  7           performance evaluations with Dr. Kaye,

  8           during that period?

  9                 A     I don't remember.

 10                 Q     You're not sure if you did or not?

 11                             MS. CANFIELD:    Objection as to

 12                     form.   You can answer.

 13                 A     I'm not sure if I did or not.

 14                 Q     At any point was there an issue

 15           with backlog of cases in Manhattan during

 16           that time period?

 17                 A     I'm not sure.      I'm not sure.      It

 18           sounds vaguely familiar, but I'm not sure.

 19                 Q     At some point did your

 20           relationship or view of Dr. Kaye change?

 21                 A     When I was at Bellevue?

 22                 Q     Well, after you left Bellevue.

 23                 A     No.    Not that -- no.

 24                 Q     So where did you go after you left

 25           Bellevue?
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  1                             E. FORD, M.D.

  2                 A     I went to Correctional Health

  3           Services.     Which at the time was part of the

  4           Department of Health and Mental Hygiene in

  5           the city.

  6                 Q     And when was that?

  7                 A     That was September of 2014.

  8                 Q     What role did you have at that

  9           point?

 10                 A     The executive director of mental

 11           health for Correctional Health Services.

 12                 Q     Who were you supervising at that

 13           time?

 14                             MS. CANFIELD:    Objection as to

 15                     form.   You can answer.

 16                 A     Do you mean who was I directly

 17           supervising?

 18                 Q     Yes, ma'am.

 19                 A     I'm not going to be able to recall

 20           everybody.     But there was a -- there was a

 21           couple of psychologists.        I believe I was

 22           the direct supervisor for the head of the

 23           discharge planning service in the jail, a

 24           couple of research assistants.          The position

 25           was contract oversight of the prison
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                                                                    Page 35
  1                             E. FORD, M.D.

  2           healthcare service.

  3                 Q     Were the court clinics under your

  4           purview at that time?

  5                 A     When I started that position?

  6                 Q     Yes.

  7                 A     No.

  8                 Q     When did the court clinics become

  9           under your purview again?

 10                             MS. CANFIELD:    Objection as to

 11                     form.   You can answer.

 12                 A     I believe it was in 2018.

 13                 Q     And how did that happen?

 14                 A     There was a functional -- there

 15           was a decision made above my head to

 16           consolidate the four court clinics in the

 17           city, under one management structure, and

 18           that was Correctional Health Services.            I

 19           don't know the operational structure about

 20           how the transfer specifically happened.            I

 21           believe it was a functional transfer.

 22                 Q     Did your salary increase when the

 23           court clinics were assigned to you?

 24                             MS. CANFIELD:    Objection as to

 25                     form.   You can answer.
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                                                                  Page 36
  1                            E. FORD, M.D.

  2                  A    I don't know.      I don't know.

  3                  Q    When you said that the decision

  4           took place to consolidate the court clinics

  5           was above your head.       What do you mean by

  6           that, Dr. Ford?

  7                  A    That was a decision made by --

  8           well, actually, I can't tell you exactly who

  9           made it.    But my understanding is, that it

 10           was a decision made with the City and Health

 11           and Hospitals.

 12                  Q    You said it was made with the City

 13           and Health and Hospitals.         Do you know why

 14           they decided to consolidate the clinics?

 15                  A    I do not.

 16                  Q    Did you participate in any of the

 17           discussions?

 18                  A    I was asked by my supervisor about

 19           the pros and cons of a move like that.

 20                  Q    And who was your supervisor at the

 21           time?

 22                  A    I think it was Homer Venters.          No.

 23           I think it was -- there was a period of time

 24           where my supervisor left and there was a

 25           gap.    And at that point my supervisor was a
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 37 of 361


                                                                  Page 37
  1                              E. FORD, M.D.

  2           woman named Patsy Yang.        I don't know if I

  3           spoke with Homer or Patsy.

  4                  Q     When did Ms. Yang become your

  5           supervisor?

  6                  A     She was never really my

  7           supervisor, like direct reporting.           I

  8           reported to the chief medical officer at

  9           Correctional Health Services.

 10                  Q     And who was that?

 11                  A     That was Homer Venters,

 12           V-E-N-T-E-R-S.       And then following his

 13           departure, it was Ross McDonald.

 14                  Q     When did Dr. McDonald become your

 15           supervisor?

 16                  A     I don't remember.

 17                  Q     Would it be fair to say that you

 18           were evaluated six times while you were at

 19           CHS?

 20                              MS. CANFIELD:   Objection as to

 21                      form.

 22                  A     I'm sorry.    That I was evaluated?

 23                  Q     Yes.

 24                  A     I don't know how many times I was

 25           evaluated.
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  1                            E. FORD, M.D.

  2                 Q     Were you ever evaluated?

  3                           MS. CANFIELD:      Objection as

  4                     to form.   You can answer.

  5                 A     I remember receiving -- I remember

  6           discussing a performance evaluation once

  7           with Dr. McDonald.

  8                 Q     When was that?

  9                 A     I think that was in 2019.

 10                 Q     And what was your rate?

 11                 A     I think it was exceeds

 12           expectation.     I think.

 13                           MS. HAGAN:     So I'm calling for

 14                     the production of Dr. Ford's

 15                     performance evaluation from

 16                     Dr. McDonald in 2019.

 17                           MS. CANFIELD:      If you can put

 18                     that in writing.     We'll take that

 19                     under advisement.

 20                 Q     So, Dr. Ford, when you became

 21           executive director of mental health services

 22           at CHS in September of 2014, what were your

 23           job functions at that time?

 24                 A     So that position was for the

 25           Department of Health and Mental Hygiene.            I
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                                                                  Page 39
  1                              E. FORD, M.D.

  2           understood my job functions to be primarily

  3           quality oversight of the care that was being

  4           provided to individuals in the New York City

  5           jail system by Corizon.        Which was the

  6           provider of the services.

  7                  Q     Now, in 2018, you said that your

  8           oversight now included CHS, right?           At that

  9           time, what were your job functions?

 10                              MS. CANFIELD:   Objection as to

 11                      form.   You can answer.

 12                  A     Yeah.    So -- CHS, I stayed with

 13           CHS.    It moved from the Department of Health

 14           and Mental Hygiene to Health and Hospitals

 15           in 2015.     And then at that time my job

 16           description -- my job title changed to chief

 17           of psychiatry.

 18                        My job description for that role

 19           was primarily clinical oversight of all of

 20           the clinical care in the mental health

 21           service that was being delivered in the

 22           jail.      Quality assurance, quality

 23           improvement.       Program and policy

 24           development.       Recruitment of staff.

 25           Education of staff.       Those are some of the
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                                                                  Page 40
  1                             E. FORD, M.D.

  2           main.

  3                 Q     Now, what would you say your role

  4           was role was when it came to the court

  5           clinics, how did you interact with the court

  6           clinics?

  7                             MS. CANFIELD:    Objection as to

  8                     form.   You can answer.

  9                 A     Is this during or after they

 10           became part of Correctional Health?

 11                 Q     When it became apart of

 12           Correctional Health, yes.

 13                 A     My role was to -- I played a role

 14           in transition of the clinics into the

 15           service.    And I was the supervisor of --

 16           there was a director overall of the court

 17           clinics.    So I supervised that individual.

 18                       I was primarily the person to whom

 19           he would go with any kinds of quality

 20           concerns.     Also improvement ideas, issues

 21           that were happening in the clinics.

 22                 Q     Who was that?

 23                 A     Who was what?

 24                 Q     Who was the director of the court

 25           clinics?
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  1                              E. FORD, M.D.

  2                 A     A doctor named Abhishek Jain.

  3                       Do you need me to spell his first

  4           name?

  5                 Q     No.    I have that.

  6                             MS. CANFIELD:    The court

  7                     reporter might need it.

  8                             MS. HAGAN:   She has a list of

  9                     names.

 10                             MS. CANFIELD:    Oh, she does,

 11                     okay.    Sure.

 12                 Q     So you supervised the director of

 13           court clinics.      Now, did Dr. Jain -- did you

 14           evaluate Dr. Jain?

 15                 A     I did.

 16                 Q     How many times did you evaluate

 17           Dr. Jain?

 18                 A     I don't remember.       I don't

 19           remember.     I can't remember when he was

 20           hired.

 21                 Q     Would it be fair to say he was

 22           hired in April of 2018?

 23                 A     That sounds about right.

 24                 Q     So that would mean that he may

 25           have gotten an evaluation at the end of that
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                                                                  Page 42
  1                            E. FORD, M.D.

  2           year; would that be right?

  3                 A     Yes.    I think I did a six-month

  4           evaluation and then another one a year

  5           later.    So I think I did two.

  6                 Q     And what did you rate Dr. Jain?

  7                 A     I don't remember.

  8                           MS. HAGAN:     I'm going to call

  9                     for the production of the

 10                     evaluations for Dr. Jain.

 11                           MS. CANFIELD:      If you could

 12                     put it in writing.      We'll take it

 13                     under advisement.

 14                 Q     Now, how was Dr. Jain as an

 15           employee?

 16                 A     In what sense?

 17                 Q     Well, was he a good manager?

 18                 A     I found him to be a good manager.

 19                 Q     Did you find him to be

 20           knowledgeable about the field of forensic

 21           psychiatry?

 22                 A     Yes.

 23                 Q     Now, we were kind of going through

 24           your professional trajectory.          But I didn't

 25           backtrack to ask you this.         You did do a
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                                                                  Page 43
  1                            E. FORD, M.D.

  2           residency in forensic psychiatry; is that

  3           right?

  4                 A     I did a fellowship in forensic

  5           psychiatry, yes.

  6                 Q     By any chance, did you actually do

  7           any 730 exams yourself?

  8                 A     I did.    Yes.

  9                 Q     When was that?

 10                 A     I did 730 exams during that

 11           fellowship at the Manhattan Court Clinic.

 12           And I was the training director for the NYU

 13           forensic psychiatry fellowship for four

 14           years.    And I believe I did several

 15           evaluations in that role also.

 16                 Q     How many 730 tests would you say

 17           you've done?

 18                 A     I don't know.

 19                 Q     Would it be between one and ten?

 20                 A     More than that.

 21                 Q     One and 25?

 22                 A     I would say about, somewhere

 23           between 30 and 50.

 24                 Q     And this is at the Manhattan Court

 25           Clinic?
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  1                             E. FORD, M.D.

  2                 A     I did the 730 evaluations when I

  3           was a fellow at the Manhattan Court Clinic.

  4           And, actually, apologies, there were a few

  5           other times when I did 730 evaluations.

  6                       I also did them when I was -- as

  7           part of the fellowship, as a fellow at Kirby

  8           Forensic Psychiatry Center.         And I also did

  9           them for people who were admitted to the

 10           inpatient unit at Bellevue Hospital, for

 11           whom an evaluation at the court clinic was

 12           not possible.

 13                 Q     So these would be off site

 14           evaluations?

 15                             MS. CANFIELD:    Objection as to

 16                     form.   You can answer if you can.

 17                 A     The ones at Bellevue Hospital?

 18                 Q     Yes.

 19                 A     Well, they weren't off site to me.

 20           They were where I was working, but they were

 21           not in the court clinic.

 22                 Q     And this is while you were a

 23           fellow?

 24                             MS. CANFIELD:    Objection as to

 25                     form.
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                                                                    Page 45
  1                             E. FORD, M.D.

  2                 A     No.    That was when I was working

  3           as an attending physician, a unit chief, and

  4           then -- I don't think I did any as the

  5           division director.

  6                 Q     Now, when you resumed your

  7           position -- when you resumed management of

  8           the court clinics in 2018 -- let me

  9           backtrack.

 10                       Had you ever testified at a

 11           controversion hearing?

 12                           MS. CANFIELD:      Could you

 13                     repeat that.    I didn't hear it.       I

 14                     hear like someone's cell phone

 15                     buzzing and then dinging.

 16                 Q     Have you ever testified at a

 17           controverted hearing?

 18                 A     No.

 19                 Q     You have not.      Have you ever been

 20           contra verted?

 21                           MS. CANFIELD:      I'm sorry.     I

 22                     still didn't hear you.

 23                 Q     Have you ever been controverted,

 24           Dr. Ford?

 25                 A     Controverted.      No.   I don't think
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  1                            E. FORD, M.D.

  2           so.   Not to my knowledge.

  3                 Q     Now, when you were doing these 730

  4           examinations, who was your supervisor at the

  5           Manhattan Court Clinic?

  6                 A     During my fellowship?

  7                 Q     Yes.

  8                 A     My supervisor was -- well, my

  9           supervisor formally was my fellowship

 10           director, who was Richard Rosner.           And then

 11           the person who I went over my 730 exams with

 12           as a supervisor was a doctor named Howard

 13           Owens.

 14                 Q     So going back to the 2018 time

 15           period, when you were now the, I guess chief

 16           of psychiatry, right?        Who were your direct

 17           reports at that time?

 18                 A     In 2018, this is pre or post

 19           transition of the court clinics?

 20                 Q     Well, let's start with pre.

 21                 A     Pre.    I can't recall the exact org

 22           chart.    I can't recall the exact org chart,

 23           but if I remember correctly, there was a

 24           medical director, a clinical director.

 25                 Q     Can you give me the name.
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                                                                  Page 47
  1                            E. FORD, M.D.

  2                 A     The medical director was *Bepan

  3           Subetin.

  4                       A clinical director, her name was

  5           Virginia Barbara Rioja, a psychologist.            A

  6           director of court services named, Angela

  7           Solimo, S-O-L-I-M-O.       A director of social

  8           work named Bill Collins.        I believe that --

  9           I think he was still there.

 10                       There was a gentleman named

 11           Anthony Waters who was director of staff

 12           development.     I think he was still there

 13           then.     Director of substance abuse treatment

 14           named Jonathan Giftos, G-I-F-T-O-S.           I can't

 15           recall if it was 2018, I think so, director

 16           of the young adults services named Lily

 17           Hoffman.

 18                       I feel I'm -- oh, there was a

 19           director of specialty mental health housing

 20           in the jails.      And I can't recall who

 21           that -- that person changed over.           I can't

 22           remember who it was at that time.           And I had

 23           a special assistant, like an administrative

 24           assistant, I think, for some of that time

 25           named Suzanna Lewis.       I hope I didn't forgot
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  1                             E. FORD, M.D.

  2           anybody.

  3                 Q     Now, post transition, did you have

  4           the same number of direct reports or less?

  5                 A     Post transition, I added the

  6           director of the court clinics as a direct

  7           report.

  8                 Q     So that would be Dr. Jain?

  9                 A     Correct.

 10                 Q     Now, to your understanding, what

 11           were the functions of the court clinics?

 12                             MS. CANFIELD:    Objection to

 13                     form.   You can answer.

 14                 A     My understanding is that the court

 15           clinics are responsible for conducting

 16           evaluations ordered by the criminal courts.

 17           I think they are primarily for indigent

 18           defendants.       And the bulk of the work are

 19           conducting competence to stand trial

 20           evaluations, or 730 evals.

 21                       In addition to something called

 22           390 evaluations, which I believe are sort of

 23           other court ordered mental health

 24           evaluations for aiding and things like

 25           sentencing or probation.        Stuff like that.
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  1                            E. FORD, M.D.

  2                 Q     Did you ever do a 390 evaluation?

  3                 A     I think I did one or two.         I

  4           probably did a handful in fellowship.

  5                 Q     But you're not quite sure?

  6                 A     I know I did at least one, but,

  7           yes, I'm not sure how many.

  8                 Q     Was there ever a time that a

  9           decision was made to, I guess, change the

 10           way that 730 exams were administered?

 11                 A     Not that I'm aware of.

 12                 Q     Was there ever any discussions of

 13           expediting the turnaround of 730

 14           examinations?

 15                 A     Yes.

 16                 Q     When?

 17                 A     I don't know exact dates.         I

 18           remember there was discussion about that

 19           when I was at Bellevue.        I don't remember

 20           which clinic or if it was both the Manhattan

 21           and Bronx.     And then there was discussion,

 22           yeah, about some of the other court clinics.

 23                       Yeah.    I don't remember.       It was

 24           not an infrequent conversation, because

 25           there was an interest in making sure that
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  1                             E. FORD, M.D.

  2           defendants didn't have to stay in jail

  3           longer because of a delay in getting

  4           evaluations completed.

  5                 Q     Now, at any point did you support

  6           doing 730 examinations without medical

  7           records?

  8                 A     No.

  9                 Q     Did you ever support doing

 10           evaluations with redacted medical records?

 11                             MS. CANFIELD:    Objection as to

 12                     form.   You can answer.

 13                 A     I was aware that medical records

 14           needed to be redacted, I think it was

 15           substance use and HIV information fell under

 16           different requirements, and so those needed

 17           to be redacted.

 18                 Q     Who told you that they fell under

 19           different requirements?

 20                 A     I believe it was our counsel at

 21           Correctional Health.

 22                 Q     Who was your counsel at

 23           Correctional Health?

 24                 A     At the time, I think it was

 25           Patrick Alberts.
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  1                             E. FORD, M.D.

  2                 Q     How did it come to be that the

  3           medical records needed to be redacted?

  4                             MS. CANFIELD:    Objection as to

  5                     form.

  6                 A     I don't know the history of those

  7           laws.     So I don't know.     I can't tell you

  8           that.

  9                 Q     Now, you served in this capacity

 10           twice, right?

 11                             MS. CANFIELD:    Objection.

 12                 Q     As presiding over the court

 13           clinics; is that right?

 14                             MS. CANFIELD:    There's a

 15                     beeping in the middle of your

 16                     question.   I didn't hear it.

 17                             MS. HAGAN:   I'm not sure.

 18                 Q     You were the manager of the court

 19           clinics twice; is that right?

 20                             MS. CANFIELD:    Objection as to

 21                     form.   You can answer.

 22                 A     I was the supervisor for the

 23           Manhattan and Bronx clinics in 2009 to 2014.

 24           And then at CHS for all four clinics, well,

 25           for Kings County and Queens, I think from
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  1                             E. FORD, M.D.

  2           April of 2018 until my departure, and then

  3           the Bronx and Manhattan.        When I returned, I

  4           was on a leave that summer, so fall of 2018

  5           until departure.

  6                 Q     I'm going to ask you initially,

  7           from 2009 to 2014, did you ever hear anyone

  8           say that medical records needed to be

  9           redacted in order for an evaluation to be

 10           completed?

 11                             MS. CANFIELD:    Objection as to

 12                     form.   You can answer.

 13                 A     I don't remember.

 14                 Q     When was the first time you

 15           learned that medical records needed to be

 16           redacted?

 17                             MS. CANFIELD:    Objection as to

 18                     form.   You can answer.

 19                 A     I don't know the first time I

 20           learned.    The first time I remember

 21           retaining it, I guess, was back when

 22           Mr. Alberts told me when I was at

 23           Correctional Health Services.          I don't know

 24           when that was.

 25                 Q     So you're not sure when it was.
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  1                             E. FORD, M.D.

  2                       Did anybody confirm with you prior

  3           to administering this edict that the medical

  4           records need to be redacted?

  5                             MS. CANFIELD:    Objection as to

  6                     form.   You can answer.

  7                 A     Did anyone confer -- I think -- I

  8           don't remember.      I have a vague recollection

  9           of having a conversation about whether I had

 10           ever done reports and records had been

 11           redacted.

 12                 Q     Had you?

 13                             MS. CANFIELD:    Objection.     You

 14                     can answer.

 15                 A     Yes.

 16                 Q     When do you remember doing a

 17           report where the medical records were

 18           redacted?

 19                 A     I don't remember the year or the

 20           location.     I have a visual memory of the

 21           records with the black boxes through them.

 22                 Q     So you're saying that it was

 23           standard practice during the time you were

 24           doing forensic evaluations that the medical

 25           records were redacted?
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  1                             E. FORD, M.D.

  2                             MS. CANFIELD:    Objection as to

  3                     form.   You can answer.

  4                 A     I'm not saying it -- I don't know

  5           if it was standard practice or not.           I'm

  6           saying that I have done an evaluation in the

  7           past that have redacted medical records.

  8                 Q     Now, is there ever a possibility

  9           in your professional capacity where a

 10           person's medication could impact or impair

 11           their ability to, I guess, participate in

 12           their own defense?

 13                             MS. CANFIELD:    Objection as to

 14                     form.   You can answer.

 15                 A     So I would answer that I do

 16           believe there are medications that can

 17           impair a person's cognitive abilities.            And

 18           if they -- and whether they impact their

 19           ability to assist with their defense is

 20           another question.       But, yeah, some

 21           medications can impair someone's cognitive

 22           ability.

 23                 Q     What about their ability to

 24           participate in their defense, logically

 25           speaking?     If their cognitive abilities have
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 55 of 361


                                                                  Page 55
  1                              E. FORD, M.D.

  2           been impaired, then what about their ability

  3           to actually participate in their defense?

  4                  A     I think it's certainly possible.

  5                  Q     Would you also make that same

  6           determination when it came to a person's

  7           usage of illegal narcotics?

  8                              MS. CANFIELD:   Objection as to

  9                      form.   You can answer.

 10                  A     Yes.    The usage of illegal

 11           narcotic could also certainly potentially

 12           impair that.

 13                  Q     Are you saying that you would

 14           agree that the redaction of substance abuse,

 15           HIV status, that that information should be

 16           redacted?

 17                              MS. CANFIELD:   Objection as to

 18                      form.   You can answer.

 19                  A     What I'm saying is that that is --

 20           those are the restrictions as I know them

 21           now.   And so that's what I work with.

 22                  Q     Did you agree with those

 23           restrictions yourself personally?

 24                  A     I didn't know the -- I don't know

 25           the history well enough to know how they
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 56 of 361


                                                                  Page 56
  1                              E. FORD, M.D.

  2           developed.     I do remember at some point

  3           thinking it would be nice to know that

  4           information.

  5                  Q     Did you take the position against

  6           Dr. Kaye when she raised these issues with

  7           you?

  8                              MS. CANFIELD:   Objection as to

  9                      form.   Assumes facts not in

 10                      evidence, but you can answer.

 11                  A     If you could just refresh my

 12           memory about what time you're referring to.

 13                  Q     Well, did there ever come a time

 14           where Dr. Kaye -- where I think you're

 15           talking to Dr. Kaye raised an issue with

 16           redacted medical records?

 17                  A     I think there was a time -- I

 18           don't remember if it was before Correctional

 19           Health took over or not.        I do have a

 20           recollection of a case, and I believe

 21           Dr. Kaye was asking for full unredacted

 22           records, and there was back and forth about

 23           that.

 24                  Q     What was your position when she

 25           was asking for those unredacted records?
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  1                             E. FORD, M.D.

  2                 A     My position was that we should be

  3           following whatever the guidelines were for

  4           Correctional Health in terms of releasing

  5           those records.

  6                 Q     Is it your testimony that

  7           potentially defendants' constitutional

  8           rights would be violated if Dr. Kaye and

  9           others were not allowed to conduct

 10           evaluations with unredacted records?

 11                             MS. CANFIELD:    Objection as to

 12                     form.   You can answer if you're

 13                     able.

 14                 A     I'm sorry.     Is the question

 15           whether that would be unconstitutional?

 16                 Q     Well, their constitutional rights

 17           would be affected, as far as the ability to

 18           stand trial and you're fit?

 19                 A     I can't form an opinion about

 20           that.     I don't know.

 21                 Q     I'm going to ask you, going back

 22           to the actual use of the redacted records.

 23           Did you have an issue or take issue with

 24           Dr. Kaye for raising those questions with

 25           CHS management?
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  1                             E. FORD, M.D.

  2                             MS. CANFIELD:    Objection as to

  3                     form.   You can answer.

  4                 A     I don't believe I took issue with

  5           Dr. Kaye initially.       I remember -- I think

  6           that there was a, ruling is not the word,

  7           but I think that she was told that the

  8           records could not be produced without

  9           redactions.       I have a memory that this went

 10           on for some time.       I don't know if ever -- I

 11           don't recall.      I don't know if I ever spoke

 12           with Dr. Kaye directly about it.

 13                 Q     So you're not sure if you ever

 14           spoke to her about it yourself?

 15                 A     Correct.     I'm not sure.

 16                 Q     Did you think to speak to her

 17           about it yourself?

 18                             MS. CANFIELD:    Objection as to

 19                     form.   You can answer.

 20                 A     I probably thought about it.          I

 21           also thought that this was an issue that was

 22           not under my direct purview, and that I

 23           should be leaving this to the attorneys to

 24           resolve.

 25                 Q     Why wouldn't it be under your
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                                                                  Page 59
  1                              E. FORD, M.D.

  2           direct purview if Dr. Kaye was amongst

  3           employees that you managed?

  4                              MS. CANFIELD:   Objection as to

  5                      form.   You can answer.

  6                  A     Sure.    This was before I was

  7           Dr. Kaye's manager.       This was pre -- I

  8           believe this was pre-transition.

  9                  Q     Is it your testimony that Dr. Kaye

 10           never raised the issue again once you became

 11           her manager?

 12                              MS. CANFIELD:   Objection as to

 13                      form.   You can answer.

 14                  A     I don't remember if she did or

 15           not.   I don't remember.

 16                  Q     At any point did you refer to

 17           Dr. Kaye as being a problem?

 18                              MS. CANFIELD:   Objection as to

 19                      form.   You can answer.

 20                  A     Sure.    There was -- I don't

 21           remember that, but I was in preparation for

 22           the deposition, there was some emails that I

 23           reviewed.     And there was one where I said --

 24           I do think I used that word.

 25                  Q     Why?
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  1                            E. FORD, M.D.

  2                 A     At the time I was -- I believe

  3           this was at the tail end of the redacted

  4           records, and I was frustrated.          And I was

  5           thinking about the defendant who was -- at

  6           the time I was managing just the jail

  7           service.    So I was thinking about the

  8           delays.    I was frustrated.

  9                 Q     Did you say that Dr. Kaye was a --

 10           she had been a problem for a long time and

 11           that she needed to be managed out?

 12                 A     I believe that's similar to my

 13           recall of what the email said.

 14                 Q     But why did you say that?

 15                 A     Well, again, the problem was the

 16           frustration.     I also was aware of, from my

 17           time at Bellevue, there had been concerns

 18           raised to me outside of psychiatry about

 19           Dr. Kaye's working relationship with others.

 20                       And with respect to the manage

 21           out, I don't recall thinking I -- it was

 22           something to sort of actively do to her.            I

 23           remember thinking if the rules are that we

 24           can't give other than redacted records, then

 25           we'll just have to impart to Dr. Kaye that
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  1                             E. FORD, M.D.

  2           this is how things will go.         And then if

  3           that's not -- if it's not acceptable to her

  4           in that position, then I wasn't sure what we

  5           could do.

  6                 Q     Did you ever say that you should

  7           manage out anyone else while you were at CHS

  8           in 2018 until you left?

  9                             MS. CANFIELD:    Objection as to

 10                     form.   You can answer.

 11                 A     I don't know if I ever said that.

 12           I do remember that there was another

 13           employee who was not a direct report of

 14           mine.     I was talking with a supervisor about

 15           that person.      And I had a similar response,

 16           which was that these are the -- something

 17           like, these are the rules, and if -- you

 18           know, we'll need to just make sure that the

 19           person knows the rules.

 20                 Q     I have a question.       What do you

 21           mean when you say manage it out?          Who would

 22           you typically mean by that?

 23                 A     Sorry.    I wasn't clear in my

 24           answers before.      I mean, making sure that

 25           the policies are clear to the individual.
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  1                             E. FORD, M.D.

  2           And then if they don't follow them

  3           despite -- I think it's called progressive

  4           discipline.     I'm not sure if that's the

  5           right term.     Following the steps of making

  6           sure the policies are followed.

  7                 Q     I understand you're saying making

  8           sure the policies are followed.          But when

  9           you say managed out, in just conventional

 10           parlance, right, would you say that that's

 11           basically code language of pushing someone

 12           out of employment?

 13                 A     No.    That is not how I meant it.

 14                 Q     You didn't want to push Dr. Kaye

 15           out; is that what you're saying?

 16                 A     That's correct.

 17                 Q     I'm going to show you what will be

 18           marked as Plaintiff's Exhibit 2.          And this

 19           is an email you said you basically reviewed

 20           in preparation for today's deposition.

 21                       What other emails did you review

 22           in preparation for today's deposition?

 23                 A     I was sent a very long list of

 24           emails.    So I reviewed those.

 25                 Q     Did you speak to counsel in
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  1                            E. FORD, M.D.

  2           preparation for today's deposition?

  3                 A     I did.

  4                 Q     And how many times would you say

  5           you spoke to counsel?

  6                 A     Once.

  7                 Q     And when was that?

  8                 A     Thursday of last week.

  9                 Q     So now I'm going to show you what

 10           will be marked as Plaintiff's Exhibit 2,

 11           okay?

 12                 A     Um-hmm.

 13                              (Whereupon, Email

 14                              (NYC_000077-000079) was marked

 15                              as Plaintiff's Exhibit 2 for

 16                              identification as of this date.)

 17                 Q     Plaintiff's Exhibit 2 bears the

 18           Bates Stamp series NYC077 to NYC0079.            I

 19           guess I'm going to start from the beginning

 20           of the email thread, right.

 21                       As you discussed -- well, it

 22           starts from, I guess, Ms. Yang to Patrick

 23           Alberts, who was the counsel who was

 24           assigned to this at CHS; is that right?

 25                 A     I don't know if he was the counsel
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  1                            E. FORD, M.D.

  2           assigned to this.       I recall him being the

  3           legal counsel for CHS.

  4                  Q    And the subject says, "Judge

  5           Torres wants to hold us in contempt."

  6                       Do you remember that?

  7                  A    I just remember looking at this

  8           email in my review.

  9                  Q    Do you remember the events that

 10           surround or lead up to the email?

 11                  A    Sort of.

 12                  Q    Okay.    What do you remember?

 13                  A    That there was a case that was

 14           being -- that Dr. Kaye didn't feel

 15           comfortable completing because the records

 16           were redacted, and that it had escalated to

 17           a point that was -- well, that I had never

 18           experienced, where a judge appeared to be

 19           getting involved.

 20                  Q    So, now, Mr. Alberts responds to

 21           Ms. Yang, that he spoke to Erin at MOCJ.            Do

 22           you remember Erin?

 23                  A    I don't remember who Erin is or

 24           was.

 25                  Q    About this judge again, and asked
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                                                                  Page 65
  1                             E. FORD, M.D.

  2           Lucy to provide the correct language for the

  3           subpoena, which she did.

  4                       Do you know who Lucy is?

  5                 A     I think that's the Lucy **

  6           Khozoengineer roan any -- I can't spell that

  7           for you.    I'm sorry.     I think she worked for

  8           Patrick.

  9                 Q     And Mr. Alberts says that he may

 10           have the misperception, meaning the judge,

 11           that his 730 order entitled him to substance

 12           abuse information.       Which they do not.

 13                       Now, had you read anywhere in any

 14           the psychiatric publication that medical

 15           records should be redacted?

 16                             MS. CANFIELD:    Objection as to

 17                     form.   You can answer.

 18                 A     I don't think so.       That would not

 19           probably be the academic article I would

 20           choose to read.      So I don't recall reading

 21           that academic publication.

 22                 Q     Outside of CHS, had you come

 23           across any literature or any professional

 24           practice that called for the redaction of

 25           medical records in the administration of 730
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  1                             E. FORD, M.D.

  2           examinations?

  3                             MS. CANFIELD:    Objection as to

  4                     form.   You can answer.

  5                 A     In the administration of 730

  6           exams, no, not specifically with that.

  7                 Q     I mean, practically speaking, you

  8           acknowledged that it would probably be nice

  9           to have the unredacted records; is that

 10           right?

 11                             MS. CANFIELD:    Objection as to

 12                     form.   You can answer.

 13                 A     It doesn't -- I think the law is

 14           what it is, so.

 15                 Q     What law are you referring to?

 16                 A     Sorry.    This, that you're talking

 17           about here, that the 730 orders don't

 18           entitle them to substance use information.

 19                 Q     At any point did you read any

 20           specific legal provision that supported this

 21           position?

 22                             MS. CANFIELD:    Objection as to

 23                     form.   Asked and answered.       You can

 24                     answer again.

 25                 A     Sure.    Not that I remember.
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  1                             E. FORD, M.D.

  2                             MS. HAGAN:   I'm going to note

  3                     that, first off, the question was

  4                     not asked and answered, and that the

  5                     way that counsel objected basically

  6                     is coaching the witness.       So I'm

  7                     going to ask that counsel refrain

  8                     from doing so forth forward and to

  9                     stick with proper objections, which

 10                     can only take place in the form of

 11                     either speaking objections or -- not

 12                     speaking objections, objection to

 13                     form or just objections.       You're not

 14                     to elaborate as to the cause of the

 15                     objection outside of that.

 16                             So I'm going to proceed with

 17                     my questioning on this point.

 18                 Q     Now, Dr. Ford, had you read

 19           anywhere anything that would support the

 20           proposition that medical records should be

 21           redacted in the 730 examination process?

 22                             MS. CANFIELD:    Objection as to

 23                     form.   You can answer.

 24                 A     I don't recall reading anything

 25           specifically about 730 exams.
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  1                             E. FORD, M.D.

  2                 Q     What about the redaction of

  3           medical records?

  4                 A     Yes.

  5                             MS. CANFIELD:    Objection as to

  6                     form.   Go ahead.

  7                 Q     What did you read about the

  8           redaction of medical records?

  9                 A     I don't know what -- I can't tell

 10           you an article, but I do remember having

 11           conversations about redacted medical records

 12           when I was at Bellevue Hospital, as the

 13           group delivering the records to the court

 14           clinics, and that it's CHS -- I'm not sure

 15           if it's CHS.      I can't remember.

 16                 Q     We're still dealing with the

 17           interactions now with Ms. Yang and

 18           Mr. Alberts, right?

 19                       Now, Mr. Alberts said that he

 20           spoke to Erin again, and that Erin said that

 21           Judge Torres is fine using the boilerplate

 22           subpoena and understands its limitations.

 23           However, he said that Dr. Kaye is refusing

 24           to perform the examination until she

 25           receives the entire unredacted record.            It
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  1                              E. FORD, M.D.

  2           sounds like this problem is entirely unique

  3           to her, at least with respect to Judge

  4           Torres, right?

  5                        On the one hand, I'm glad that the

  6           judge isn't the problem, but how do you

  7           think we should approach provider, if at

  8           all.   In this case she's asking for

  9           something she legally can't have.           I don't

 10           think it would be appropriate for us to

 11           approach the patient and obtain an

 12           authorization, and it's doubtful, his

 13           attorney will either.

 14                        Now, I'm going to ask you

 15           something.     We've been discussing this.         And

 16           there has been some back and forth.           Did you

 17           ever take it upon yourself, Dr. Ford, to

 18           read the law?

 19                              MS. CANFIELD:   Objection as to

 20                      form.   You can answer if you're

 21                      able.

 22                  A     I remember looking at -- I believe

 23           I reviewed the CPL 730 statutes, but I did

 24           not review a law specific to redacted

 25           records or tried to find one.
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  1                              E. FORD, M.D.

  2                  Q     Have you ever seen a law that

  3           pertained to redacted medical records?

  4                  A     Gosh.    I don't know how to -- I

  5           don't think so.       I don't know how to answer

  6           that.      Like HIPPA, does HIPPA have stuff --

  7           I mean, again, are we talking about just

  8           730s?

  9                  Q     We're talking about 730.

 10                  A     Oh, yeah.    I don't think so.

 11                  Q     You have never seen anything that

 12           mandated that 730 evaluators should have HIV

 13           and substance abuse information redacted

 14           from medical records, have you?

 15                              MS. CANFIELD:   Objection as to

 16                      form.   You can answer.

 17                  A     I don't think I've ever seen a

 18           law.    I've just been advised by the various

 19           counsel people.

 20                  Q     You referenced Mr. Alberts.

 21           Anyone else?

 22                  A     There was a CHS -- no, just -- I

 23           think -- I don't know if maybe the counsel

 24           who followed him also.        I recall

 25           Mr. Alberts.
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  1                             E. FORD, M.D.

  2                 Q     Who was the counsel that followed

  3           Mr. Alberts?

  4                 A     I think it was Jonathan Wangel.           I

  5           think.

  6                 Q     Jonathan Wangel was the counsel?

  7                 A     I think so.      Although it was --

  8           I'm not sure if he was officially counsel.

  9           He was an attorney.       He also, I think,

 10           managed labor.      I don't know.      I don't know.

 11           He provided some advice.

 12                 Q     Now, on February 1, 2018, you did

 13           chime in, as you recall, and you say at this

 14           point, I guess this is to Dr. Yang, does

 15           Jeremy know about this.        And are we

 16           referencing Jeremy Colin?

 17                 A     Yes.

 18                 Q     Who was Jeremy to Dr. Kaye at this

 19           point?

 20                 A     I believe he was her supervisor.

 21                 Q     So are you supervising Dr. Colin

 22           yourself at that point?

 23                 A     No.

 24                 Q     So why are you involved in this if

 25           this had nothing to do -- you weren't
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                                                                  Page 72
  1                             E. FORD, M.D.

  2           supervising the court clinics at this time,

  3           right?

  4                             MS. CANFIELD:    Objection as to

  5                     form.

  6                 A     Correct.

  7                 Q     You were not supervising the court

  8           clinics at this time, were you, Dr. Ford?

  9                 A     That's correct.

 10                 Q     Why are you receiving this email,

 11           even though you were not supervising the

 12           court clinics at that time?

 13                 A     I can't answer that.        The email

 14           was sent to me.      I imagine this was in

 15           thinking about the plans for the court

 16           clinics to come over.        I guess I can't -- I

 17           can't tell you why.

 18                 Q     Now, Ms. Yang was over the court

 19           clinics at this time; am I right?

 20                 A     No.

 21                 Q     So why is she on this email, then?

 22                 A     I don't know.

 23                 Q     So then you say, "Absolutely

 24           ridiculous demands on Kaye's part.           Standard

 25           practice in forensic evaluations is to use
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 73 of 361


                                                                  Page 73
  1                             E. FORD, M.D.

  2           whatever records you have to form an opinion

  3           and note any limitation in the formulation."

  4                       Where did you get that?         Where is

  5           that standard of practice?

  6                 A     That's my understanding from the

  7           time when I was running the NYU forensic

  8           fellowship and working with people who do

  9           these evaluations, and my own experience as

 10           a fellow.

 11                 Q     Did you read that anywhere?

 12                 A     I don't know.      I was certainly

 13           taught that you use what you -- what's

 14           available, you try to get whatever you can,

 15           and then if that's not possible, you use

 16           what's available to you.        And if after that

 17           you still cannot form an opinion, then you

 18           note that to the court.

 19                 Q     So you're not sure where you got

 20           that information, but you said it was

 21           standard practice; am I right, Dr. Ford?

 22                             MS. CANFIELD:    Objection as to

 23                     form.   You can answer.

 24                 A     Sure.    I was referring to standard

 25           practice in my experience.
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                                                                  Page 74
  1                             E. FORD, M.D.

  2                 Q     But standard experience from

  3           where?

  4                 A     From my experience doing the 730s

  5           in the Manhattan Court Clinic, from doing

  6           them myself at these various places that I

  7           mentioned before.       And from being the

  8           fellowship director at NYU, and talking with

  9           other fellowship directors around the

 10           country at various points during that time.

 11                 Q     Now, Dr. Kaye has been doing

 12           forensic evaluations longer than you have;

 13           am I right?

 14                 A     Yes.

 15                 Q     And Dr. Kaye has been practicing

 16           psychiatry longer than you have; am I right?

 17                 A     I don't know -- I think that's

 18           right.    Yeah.    I think that's right.

 19                 Q     Now, when you left, Dr. Kaye had

 20           been at the Bronx Court Clinic practicing

 21           forensic psychiatry for at least 20 years;

 22           am I right?

 23                             MS. CANFIELD:    Objection as to

 24                     form.   You can answer.

 25                 A     Sure.    When -- I'm sorry, when --
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                                                                  Page 75
  1                             E. FORD, M.D.

  2           I think she started -- when I was looking at

  3           the emails, I think she started in 1999

  4           maybe.

  5                 Q     Right.    And you left --

  6                 A     Yeah.    So that would be 20 years

  7           or more.

  8                 Q     Right.    Right.    And you said after

  9           doing maybe forensic evaluations for perhaps

 10           maybe, over a span of, what, 18 months, that

 11           the standard practice, as far as you were

 12           concerned, to use whatever records you had

 13           at the time; is that right?

 14                             MS. CANFIELD:    Objection as to

 15                     form.   You can answer.

 16                 A     Sure.    I did 730 evaluations over

 17           a longer period of time than 18 months.

 18           But, yes, this is based on my experience

 19           doing those evaluations and talking with

 20           colleagues.

 21                 Q     Did you ever speak to Dr. Kaye

 22           about this yourself?

 23                 A     I don't --

 24                             MS. CANFIELD:    Objection as to

 25                     form.   Go ahead.
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  1                             E. FORD, M.D.

  2                 A     No.    Nor would I have.      She was

  3           not somebody that reported to me at that

  4           time.

  5                 Q     Even though she didn't report to

  6           you at that time, you say, "In any case,

  7           Kaye has been a problem for a long time and

  8           we will manage her out."        So let's break

  9           that down.

 10                       You said that Kaye has been a

 11           problem for a long time, right.          And earlier

 12           you said that you had heard from colleagues

 13           at Bellevue that her working relationship

 14           with others is problematic; am I right?

 15                 A     I don't believe I said colleagues

 16           at Bellevue, but I did say the other stuff.

 17                 Q     The working relationship with

 18           others, what are you referencing then?

 19                 A     I had received -- when I was at

 20           Bellevue, in the director of division role,

 21           I had received concerns -- I don't -- I'm

 22           not sure if they ever -- say concerns from

 23           training directors who had trainees that

 24           went to the Bronx Court Clinic, saying that

 25           they were concerned about having their
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                                                                    Page 77
  1                            E. FORD, M.D.

  2           trainees work with Dr. Kaye.         And there

  3           was -- I do remember there was -- I can't

  4           remember the details, but there was some

  5           sort of personnel thing that happened with a

  6           psychologist who was working there.           I don't

  7           know if maybe as an intern.         And, again, as

  8           I mentioned before, I was frustrated when I

  9           wrote this email.

 10                 Q     I'm going to ask you, you said

 11           there were people who had problems sending

 12           their trainees to work with Dr. Kaye.            Do

 13           you remember these people?

 14                 A     I do.    Well, two of them.

 15                 Q     Who were they?

 16                 A     One was the director of psychology

 17           at Bellevue named Allen Elliot.

 18                 Q     And who else?

 19                 A     And one was a fellowship director

 20           at Albert Einstein named Merrill Rotter

 21           (phonetic).

 22                 Q     Can you say the name again.

 23                 A     The last one?

 24                 Q     Merrill?

 25                 A     M-E -- I don't know how to spell
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                                                                   Page 78
  1                             E. FORD, M.D.

  2           his first name, actually.         Rotter,

  3           R-O-T-T-E-R.

  4                 Q     So these two doctors said that

  5           they did not want to send their trainees to

  6           work with Dr. Kaye; is that right?

  7                             MS. CANFIELD:    Objection as to

  8                     form.

  9                 A     No.    I said that they had concerns

 10           about it.

 11                 Q     So what were the concerns exactly?

 12                 A     I don't recall the details.          I

 13           remember it had to do with interpersonal --

 14           I think it had to do with interpersonal

 15           stuff.

 16                 Q     What do you mean interpersonal

 17           stuff?

 18                 A     Professionalism, I think.

 19                 Q     What do you mean?

 20                 A     Again, I'm sorry I can't be more

 21           detailed than that.       This is from a long

 22           time ago.

 23                 Q     Did you ever speak to Dr. Kaye

 24           about these allegations that these doctors

 25           were reluctant or had concerns about sending
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                                                                  Page 79
  1                             E. FORD, M.D.

  2           trainees to her?

  3                  A    I don't think I did.

  4                  Q    Why not?

  5                  A    I recall being satisfied with her

  6           work and with her knowledge of what she was

  7           doing.     And I -- the details about what I

  8           was hearing were not, I guess they didn't

  9           rise the level for me where I felt like I

 10           needed to step in.

 11                  Q    And then you said there were

 12           professional questions or issues with her

 13           professionalism.      Do you remember what that

 14           was?

 15                  A    No.    I'm sorry.     I'm mostly

 16           just -- I guess what I'm saying is that I

 17           don't recall the complaints being anything

 18           related to the actual work.         Like, the way

 19           she does the work.

 20                  Q    And then you say again personnel

 21           working as a psychologist, right?

 22                       So, like, you know, did she have

 23           other personnel issues?        There was another

 24           personnel issue you referenced, I'm sorry.

 25           What was that?
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  1                             E. FORD, M.D.

  2                             MS. CANFIELD:    Objection as to

  3                     form.   You can answer.

  4                 A     Another -- I'm not -- I don't

  5           recall any others other than those two, I

  6           don't know.

  7                 Q     You said that there was someone

  8           who she had personnel issue.         Do you

  9           remember who that was?

 10                 A     Oh, who the psychologist was at

 11           the court clinic?

 12                 Q     Yes.

 13                 A     I don't remember.       I think it was

 14           a woman.    I don't remember her name.

 15                 Q     Do you remember the issue?

 16                 A     No.    Sorry.

 17                 Q     Did Dr. Kaye have a disciplinary

 18           history during this time period where you

 19           were the medical -- the director from 2009

 20           to 2014?

 21                 A     I don't recall ever being involved

 22           in any kind of discipline with Dr. Kaye.

 23                 Q     So you didn't see anybody writing

 24           her up or anything like that; am I right?

 25                 A     I didn't see anybody write her up.
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                                                                  Page 81
  1                            E. FORD, M.D.

  2           I can't tell you -- I don't remember if I

  3           heard that somebody had done it at some

  4           point.

  5                  Q     Dr. Ford, you were her direct

  6           supervisor at the time?

  7                  A     It's true.     It's also like a

  8           decade ago.     I just don't remember.

  9                  Q     But if you were her direct

 10           supervisor at that time, and you got these

 11           complaints about her, I think it would be,

 12           especially if you said that she's been a

 13           problem for a long time, right.          I think you

 14           would remember if you wrote her up, wouldn't

 15           you?

 16                           MS. CANFIELD:      Objection.

 17                      Argumentative.    You can answer.

 18                  A     Right.   So as I said, I don't

 19           recall myself writing her up.

 20                  Q     Well, who else did, if you didn't?

 21                  A     I don't know if the people in the

 22           psychology, I don't know if the

 23           psychologist.      I don't know.

 24                  Q     Who could have written her up if

 25           you didn't, Dr. Ford?
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                                                                  Page 82
  1                             E. FORD, M.D.

  2                 A     Well, maybe we're having two

  3           different meanings of written up.

  4                 Q     If you're talking about someone

  5           being problematic or a bad employee, right,

  6           that usually falls under purview of the

  7           supervisor, which would have been you at

  8           that time, to write her up; am I right?

  9                             MS. CANFIELD:    Objection as to

 10                     form, argumentative.      You can

 11                     answer.

 12                 A     Sure.    So I do not recall issuing

 13           any kind of discipline to Dr. Kaye.

 14                 Q     Now, you said, "We will manage her

 15           out."     Now, you said that you were not her

 16           supervisor at that time.        You are

 17           representing to, I guess Ms. Yang, that

 18           you're going to manage her out.          How is

 19           that?

 20                             MS. CANFIELD:    Objection as to

 21                     form.   You can answer.

 22                 A     Sure.    So at this point, we are

 23           aware that the clinics will be coming over

 24           to the Correctional Health.         And so I am

 25           aware that at some point, if Dr. Kaye
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 83 of 361


                                                                  Page 83
  1                             E. FORD, M.D.

  2           chooses to, she will be part of Correctional

  3           Health Service.

  4                       So that's the we part of it, I

  5           guess.    And, again, as I described earlier,

  6           what I meant by managing her out is that if

  7           she's not able to follow policies that we

  8           have, then we will pursue progressive -- you

  9           know, we will -- I can't remember the exact

 10           terms but.

 11                 Q     We'll get rid of her; is that

 12           right?

 13                 A     No --

 14                             MS. CANFIELD:    Object to the

 15                     form.

 16                 A     No.    That is not what I meant.

 17                 Q     So whenever I hear that Uber

 18           director posted will send around links to

 19           forensic psych world and send first

 20           candidate Ross' way for second opinion as

 21           well.

 22                       Now, are you seeking above her at

 23           this point between you and Dr. Kaye, is that

 24           what this means, this second part of your

 25           email?
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                                                                  Page 84
  1                             E. FORD, M.D.

  2                             MS. CANFIELD:    Objection as to

  3                     form.   You can answer.

  4                 A     Absolutely not.

  5                 Q     What do you mean by that?

  6                 A     So we had created a director of

  7           the court clinics position.         That's what

  8           Uber director means.       And I was very

  9           interested in having that person on board

 10           prior to the court clinics, all of them

 11           coming over.      Yeah.   I was managing a 500

 12           plus service in the jail.

 13                 Q     So, now, this Uber director, was

 14           that Dr. Jain?

 15                 A     Yes.    He's the one who was hired.

 16                 Q     Okay.    This email is written in

 17           February of 2018.       The Bronx Court Clinic

 18           doesn't become a part of CHS until when?

 19                 A     I think that was July 1st of 2018.

 20           I think so.       I left the end of June for a

 21           leave, but I believe that was the scheduled

 22           date.

 23                 Q     So why did you go leave at the end

 24           of June?

 25                 A     I took a leave of absence from
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                                                                  Page 85
  1                             E. FORD, M.D.

  2           Correctional Health, to spend time with my

  3           family and take care of my health.

  4                 Q     So something was wrong with you at

  5           that time?

  6                             MS. CANFIELD:    Objection as to

  7                     form.

  8                 A     Well, I had to take care of my

  9           health.

 10                 Q     You have talked about burnout at

 11           some of your speeches in Columbia

 12           University.       Were you experiencing burnout

 13           at that time, in June of 2018?

 14                 A     Yeah, probably.

 15                 Q     And when you say "burnout," what

 16           do you mean, Dr. Ford?

 17                 A     I mean feeling like, for me

 18           particularly, I have experienced it before.

 19           It feels like having less energy, feeling

 20           less creative, not wanting to be at work in

 21           the same kind of way as I'm used to.

 22           Sleeping poorly, being irritable with my

 23           family.

 24                 Q     Now, had you experienced burnout

 25           prior to this June 2018 incident?
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  1                             E. FORD, M.D.

  2                             MS. CANFIELD:    Object to the

  3                     form.   You can answer.

  4                 A     Sure.    Yes.    I believe that I

  5           have.

  6                 Q     When?

  7                 A     I believe that was in 2007, when I

  8           left the job at Bellevue as the unit chief.

  9                 Q     Did you experience burnout after

 10           you left CHS?

 11                 A     In the past year there have been

 12           times when I have felt burned out, although

 13           not persistently.

 14                 Q     So you say in the past while you

 15           were at CASES?

 16                 A     Correct.

 17                 Q     Did you take a leave of absence

 18           any other time than June of 2018, when you

 19           were at CHS?

 20                 A     I took -- yes.      I took a leave to

 21           get my hip replaced in, when was that,

 22           December of 2016.

 23                 Q     Now, when did you come back from

 24           your leave of absence in June of 2018?

 25                 A     I don't recall the exact date, but
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                                                                  Page 87
  1                            E. FORD, M.D.

  2           I believe it was in September of that year.

  3                 Q     So, but by that time the court

  4           clinics had been transitioned over to you,

  5           over to CHS?

  6                 A     Yes.

  7                 Q     Fully?

  8                 A     Yes.    I think so.

  9                 Q     Now, I'm going to ask you this, if

 10           you were burnt out, were you looking for

 11           other jobs, Dr. Ford, during that time

 12           between June of 2018 and September of 2018?

 13                 A     I was not.

 14                 Q     So you wanted to come back to CHS,

 15           you just needed a break; is that right?

 16                 A     Yeah.    That's a -- I had some

 17           health issues, but, yes, I was planing to

 18           come back.

 19                 Q     I'm sorry to hear that.

 20                       So now I'm going to go into

 21           your -- I guess Ms. Yang's response to you

 22           after you say the managing out.

 23                       "Maybe the last 20 will do it.

 24           That was some performance.         Doubt Jeremy

 25           knows given what I understand is his
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                                                                  Page 88
  1                            E. FORD, M.D.

  2           remove."

  3                       Now, what is Dr. Yang saying about

  4           his remove, what does she mean by that?

  5                 A     I don't know.      I read that also in

  6           this review, and I don't know what that

  7           means, actually.

  8                 Q     "I only found this by shallow

  9           digging.    Sadly dragging MOCJ to learn that

 10           the word had it that the judge might hold

 11           the City in contempt.        And it turns out it

 12           is Dr. Kaye's own cyclone that has sucked in

 13           detritus.

 14                       Do you remember this language?

 15           It's quite artful.

 16                 A     I remember reviewing this email.

 17                 Q     Dr. Collin does not stay in his

 18           capacity much longer than this; am I right?

 19                 A     You mean in his management of the

 20           court clinics?

 21                 Q     Yes.

 22                 A     He would have stopped that when

 23           they went to Correctional Health.           So I

 24           guess July.

 25                 Q     July.    So he's removed basically,
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  1                             E. FORD, M.D.

  2           right?

  3                             MS. CANFIELD:    Objection as to

  4                     form.   You can answer.

  5                 A     Sure.    I don't know what that

  6           means.    He was in the -- my understanding is

  7           that until July 1st, he was the clinical

  8           supervisor for the Bronx Court Clinic.

  9                 Q     Well, either -- she mentioned --

 10           Dr. Yang or Ms. Yang basically says that

 11           Jeremy knows given what I understand is his

 12           remove.    So he was the court clinic director

 13           in February, but was no longer the court

 14           clinic director in July; am I right?

 15                 A     Yes.    That is correct.

 16                 Q     And then Dr. Jain becomes court

 17           clinic director in April of 2018?

 18                 A     So this is -- it was a confusing

 19           transfer, because not all the court clinics

 20           came at the same time.

 21                       So Dr. Jain was the court clinic

 22           director for, I believe for Brooklyn and

 23           Queens, because they came over in April.

 24           And Dr. Collin continued to be the director

 25           for Manhattan and the Bronx.         And then when
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                                                                  Page 90
  1                            E. FORD, M.D.

  2           all four of them were under Correctional

  3           Health, then they were all under Dr. Jain.

  4                 Q     So why wasn't -- why didn't

  5           Dr. Collin assume supervision over all four

  6           of the court clinics rather than hire

  7           someone else?      Hired Dr. Jain.

  8                 A     Dr. Collin worked at Bellevue

  9           Hospital, not Correctional Health Services.

 10                 Q     But why couldn't he decide to --

 11           why wasn't the decision made to have Dr.

 12           Collin preside over all the court clinics

 13           rather than hire someone else?

 14                 A     You mean like have all of them

 15           under Bellevue?

 16                 Q     Yes.

 17                 A     I can't answer that.        I don't

 18           know.

 19                 Q     Did you participate in any of

 20           those discussions?

 21                 A     I did not.

 22                 Q     How did you think Dr. Collin was

 23           as a manager?

 24                 A     I actually didn't have much

 25           knowledge about him as a manager.           I
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                                                                  Page 91
  1                             E. FORD, M.D.

  2           interacted with him very rarely, and

  3           primarily around issues of hospitalization

  4           of people in the jail.

  5                 Q     In the efforts to have the Uber

  6           director, did you ever engage Dr. Collin or

  7           actually approach him about becoming an Uber

  8           director?

  9                 A     I told him -- I sent him the job

 10           description to see if he knew of anybody

 11           that might be interested.

 12                 Q     Why not him?      It would have been a

 13           smoother transition.       You're already

 14           managing at least two of the clinics, right?

 15                             MS. CANFIELD:    Objection as to

 16                     form.   You can answer.

 17                 A     Sure.    It would have been a

 18           significant demotion for him.

 19                 Q     Oh, it would have?

 20                 A     Yeah.    In my opinion.      Because he

 21           was at that time managing the entire

 22           division of forensic psychiatry at Bellevue

 23           Hospital, which is a pretty prestigious

 24           position.     And to become the director of the

 25           court clinics for Correctional Health
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                                                                   Page 92
  1                             E. FORD, M.D.

  2           Services, I think might have been a demotion

  3           (Mark).

  4                 Q     So I'm going to ask you some --

  5           I'm going to show you another exhibit.            This

  6           goes back to your time where you were

  7           managing Dr. Kaye from 2009 to 2014.

  8                       Now, you said that she was -- you

  9           had no problems with her performance; am I

 10           right?

 11                 A     Yeah.    I don't recall any.

 12                 Q     Now, would you say that she was --

 13           you said you didn't remember if you

 14           evaluated her, right?

 15                 A     Yes.    I did say that.

 16                 Q     But you said you did evaluate her,

 17           right?

 18                 A     No.    I don't remember if I

 19           evaluated her or not.

 20                 Q     You don't remember at all.         But

 21           you also said that, you know, she was a good

 22           employee.     So I'm going to bring up this,

 23           because you said that she had been a problem

 24           for a while.      Now we're trying to figure out

 25           exactly when she became a problem, or if she
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                                                                  Page 93
  1                             E. FORD, M.D.

  2           was ever a problem, right.

  3                       I'm trying to figure out the basis

  4           of your statement, that she had been a

  5           problem for a while, when you made that

  6           statement in 2018.       Okay.    So what I'm going

  7           to do is to have you share the screen again.

  8           Now, these are some of Dr. Kaye's

  9           performance evaluations, right?          Do you

 10           remember seeing this, Dr. Ford?

 11                 A     No.    But that looks like my

 12           handwriting.

 13                 Q     That would be your handwriting.

 14                       So this one says December 2009,

 15           right?    I'm going to scroll through it so

 16           that you have an opportunity to look at it.

 17                           MS. HAGAN:     I haven't produced

 18                     this yet, counsel, but I will.

 19                     After post deposition today.

 20                           MS. CANFIELD:      I'm sorry.     You

 21                     have not produced this?

 22                           MS. HAGAN:     I have not.

 23                           MS. CANFIELD:      Is there a

 24                     reason why you have not?       This would

 25                     have been part of the initial
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  2                     disclosures I would have thought.

  3                           MS. HAGAN:     Well, I didn't

  4                     have them at the time.

  5                 Q     At the time when you were her

  6           supervisor, were you required to do annual

  7           evaluations?

  8                 A     Yeah.    I think, yes.

  9                 Q     Now, for the December 2009

 10           evaluation, I'm going to scroll down a

 11           little bit, okay?

 12                 A     Okay.

 13                 Q     You clearly are initialing -- I

 14           guess this would be on January 4, 2010.            You

 15           see that, right?

 16                 A     I do.

 17                 Q     Now, you say, generally how would

 18           you rate this practitioner's skills and

 19           competence in their overall performance.

 20           And you say overall performance, acceptable,

 21           right?

 22                 A     That's checked, yes.

 23                 Q     And then you say Dr. Kaye is easy

 24           to work with, highly skilled and dedicated

 25           to her service; is that right?
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  2                 A     That's what I wrote.

  3                 Q     Now, this is in 2010, right?

  4                             MS. CANFIELD:    Objection as to

  5                     form.   You can answer.

  6                 A     I believe the evaluation was done

  7           in 2009.

  8                 Q     Well, no.     The date says 2010,

  9           January 4 -- January 6, 2010.          You see that?

 10                             MS. CANFIELD:    Objection as to

 11                     form.   You can answer, Dr. Ford.

 12                 A     Sure.    So there -- my

 13           understand -- it's a month difference.            I

 14           did the review of the charts on January 6,

 15           and then -- yeah.       I guess this was the

 16           December eval that I did in January.

 17                 Q     Now, we go down further.

 18                       Now, this is a professional

 19           practice evaluation.       The year is from

 20           July 2012 to December 31, 2012.

 21                       You see that, right?

 22                 A     I do.

 23                 Q     This is your handwriting; is that

 24           right, Dr. Ford?

 25                 A     Yes.    The Melissa Kaye, forensic
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  2           psychiatry, that's definitely mine.           Yeah,

  3           that looks like mine.

  4                            MS. CANFIELD:     Ms. Hagan, is

  5                     this another document that you have

  6                     not turned over to Defendants?

  7                            MS. HAGAN:    You will have it

  8                     at the close of deposition.        Like, I

  9                     got the documents this morning from

 10                     you.

 11                            MS. CANFIELD:     Okay.    No.

 12                     This document did not come from me.

 13                            MS. HAGAN:    I'm just

 14                     documenting that you gave me at

 15                     least six sets of documents this

 16                     morning at 9:40 a.m.      So, yes,

 17                     you'll get them at -- my documents.

 18                            MS. CANFIELD:     Okay.

 19                 Q     January 10, 2013, you see that's

 20           the time -- that's when you actually filled

 21           out the evaluation?

 22                       Could you say yes for the record,

 23           please.

 24                 A     Yeah.    I was just thinking about

 25           the answer.      Yes.
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  2                 Q     Now, I'm going to scroll to the

  3           end again.     And it says, again, generally

  4           how would you rate this practitioner's

  5           skills and competence in their overall

  6           performance, right.       And you say again,

  7           acceptable; am I right?

  8                 A     Yup.

  9                 Q     And then you have, general

 10           comments, Dr. Kaye continues with her

 11           excellent leadership in quality of forensic

 12           evaluations at the Bronx Court Clinic.

 13                       You see that, right?

 14                 A     I see that.

 15                 Q     Now, you said that she was a

 16           problem -- now, you said that you stopped

 17           working in that capacity as director of CHS

 18           at Bellevue in 2014; am I right?

 19                 A     No.    Not CHS.    But I stopped

 20           working at Bellevue at the forensic division

 21           in 2014.

 22                 Q     Right.    And then you resume

 23           in 2018, right?

 24                             MS. CANFIELD:    Objection as to

 25                     form.
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  2                 A     I'm sorry, in 2000 what?

  3                 Q     You resume management of the court

  4           clinics in 2018?

  5                 A     Yes.    I mean -- yeah.

  6                 Q     Right.    So when did Dr. Kaye

  7           become a problem?

  8                             MS. CANFIELD:    Objection as to

  9                     form.   You can answer.

 10                 A     Sure.    Sorry.    Just as I mentioned

 11           earlier, these were -- the comment was that

 12           I made in the email was related to these

 13           concerns that have been expressed by others,

 14           that I imagine I didn't feel rose to the

 15           level of putting on a performance

 16           evaluation, or else I would have done that.

 17                 Q     But you didn't believe that -- you

 18           didn't believe that in 2013, right?           You

 19           leave the -- in 2013, you clearly didn't

 20           believe that Dr. Kaye had issues with

 21           leadership or issues with getting along with

 22           people, because you didn't write that in her

 23           performance evaluation; am I right?

 24                             MS. CANFIELD:    Objection as to

 25                     form.   You can answer.
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  2                 A     I don't -- I mean, I don't -- I

  3           believed at the time that she had excellent

  4           leadership, and I think I wrote good

  5           evaluation -- I can't -- you'll have to pull

  6           it up again, but what I wrote there is what

  7           I believe.     Now, I also --

  8                 Q     -- quality of forensic eval --

  9                           MS. CANFIELD:      Excuse me,

 10                     Ms. Hagan.    The witness was still

 11                     talking.    You're talking over her.

 12                     Can she finish her response, please.

 13                           MS. HAGAN:     I was asking her

 14                     what she said?

 15                           MS. CANFIELD:      Well, can she

 16                     finish her response, please.        This

 17                     is not the first time you've talked

 18                     over her.

 19                           Can she finish her response,

 20                     please.    Thank you.

 21                 Q     Go ahead, Dr. Ford.

 22                 A     That's okay.      I was just going to

 23           reiterate that I had heard these comments,

 24           and I guess at the time that I was filling

 25           her evaluation I didn't feel like it had
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   1                             E. FORD, M.D.

   2          affected -- like her work reports that I

   3          reviewed I thought were good.

   4                 Q     Was there ever a time that

   5          Dr. Kaye stepped up and filled in for the

   6          Manhattan Court Clinic when there was a

   7          shortage of staff?

   8                             MS. CANFIELD:   Objection as to

   9                     form.   You can answer.

  10                 A     I don't know.      I don't know.     I

  11          can't remember.

  12                 Q     You don't remember whether or not

  13          Dr. Kaye went above and beyond her job, and

  14          worked from home to basically fill in with

  15          the Manhattan Court Clinic?

  16                 A     I don't remember.

  17                 Q     You don't remember.       So you're not

  18          sure if -- you don't remember Dr. Kaye

  19          helping or assisting you when you had

  20          problems or I guess issues with the

  21          management at the Manhattan Court Clinic?

  22                             MS. CANFIELD:   Objection as to

  23                     form.   You can answer.

  24                 A     Yeah.    I don't remember anything

  25          specifically.       Yeah.   I don't remember.
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   2          Sorry.

   3                 Q     No problem.

   4                       Dr. Ford, when did your impression

   5          of Dr. Kaye change?

   6                             MS. CANFIELD:   Objection as to

   7                     form.   You can answer.

   8                 A     Sure.    My impression about what?

   9          It never changed about the quality of her

  10          exams.

  11                 Q     What about the quality of her

  12          leadership?

  13                 A     I don't know if that ever changed.

  14          I don't think that changed either.

  15                 Q     What about her interactions with

  16          other employees?

  17                 A     There was -- so I had, again,

  18          whatever I was hearing, I wish had details,

  19          at Bellevue, but I -- there was a time at

  20          CHS, and I know this was in some of the

  21          emails a little bit, but I can't remember

  22          when exactly -- that there was a -- I think

  23          there was a comment that there was an

  24          interaction between Dr. Kaye and the

  25          administrative, the head of operational lead
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   2          for the clinics, that was unprofessional.

   3          And that concerned me.        Maybe that was 2019.

   4          I can't remember.

   5                 Q     Did you ever have any dispute with

   6          Dr. Kaye?

   7                             MS. CANFIELD:   Objection as to

   8                     form.   You can answer.

   9                 A     Not that I'm aware of.

  10                 Q     Did you ever feel the need to

  11          discipline Dr. Kaye?

  12                 A     I felt the need to report to

  13          our -- when I was at Correctional Health,

  14          this was in 2019, I think, I did feel the

  15          need to report to -- I think it was HR or

  16          labor, I don't know, about the -- what I

  17          heard was an unprofessional interaction,

  18          that I just referenced, and also about an

  19          audio recording that had been done in the

  20          clinic.     So that's --

  21                 Q     So I'm going to go back.        I'm

  22          going to stop you right there.          I have some

  23          other questions about Dr. Kaye's performance

  24          and, honestly, her interactions with

  25          Dr. Jain.
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   2                       Did Dr. Jain ever complain to you

   3          about Dr. Kaye?

   4                 A     Did he complain -- no.

   5                 Q     Did you ever express concern about

   6          Dr. Jain's performance evaluations as it

   7          pertained to Dr. Kaye?

   8                             MS. CANFIELD:   Objection as to

   9                     form.   You can answer if you're

  10                     able.

  11                 A     So, again, my review of the

  12          emails, to sort of refresh my memory, that I

  13          believe the -- I think it was a 2019

  14          evaluation, Dr. Jain had -- I believe

  15          Dr. Jain had rated Dr. Kaye as competent in

  16          a couple of areas.       Which, at least from my

  17          history with her, I was just struck by it,

  18          and I thought that needed more explanation.

  19                       Because I think -- if I can

  20          remember, I think it's like competent and

  21          then it's exceeds expectation or something

  22          like there are higher ones above competent.

  23          So I had questions about that.          He and I

  24          talked about that.

  25                 Q     So Dr. Jain never complained to
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   1                              E. FORD, M.D.

   2          you about Dr. Kaye or his interactions with

   3          Dr. Kaye?

   4                           MS. CANFIELD:      Objection.

   5                     Asked and answered.      You can answer

   6                     again.

   7                 A     Yeah.    He did not complain to me.

   8          He was -- we did meet for supervision once a

   9          week.      And he would tell me concerns that

  10          Dr. Kaye had shared with him.

  11                 Q     What concerns did he share with

  12          you?

  13                 A     So I'll try to think of some

  14          examples.     There was some when I came back

  15          from leave about time.        And she had -- he

  16          said that she had expressed some -- about

  17          some of the policies we were working on.

  18          That she had concerns about him -- I think

  19          it was him supervising somebody else in the

  20          clinic.     I recall something about sitting in

  21          on examinations.       Those are the things that

  22          come to mind right now.

  23                 Q     So I'm going to ask you some, I

  24          guess, preliminary questions.

  25                       When you were Dr. Kaye's
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   1                            E. FORD, M.D.

   2          supervisor between 2009 and 2014, how often

   3          would you interact with her?

   4                 A     Oh, not often.      I think we had an

   5          annual division meeting.         I can't remember

   6          how frequently that was, actually.           There

   7          was some annual division -- there was some

   8          division meeting where I meet with her as a

   9          group.     Individually, I think at some

  10          point -- I'm having a vague recollection at

  11          some point I think we tried to have monthly

  12          meetings.

  13                 Q     So you may have met with her

  14          monthly back when you were her supervisor

  15          from 2009 to 2014, but you're not sure,

  16          right?

  17                 A     Correct.

  18                 Q     And then when you became her

  19          indirect supervisor again in 2018, right,

  20          how often would you say that you interacted

  21          with her?

  22                 A     As needed.     And that would

  23          probably be -- she and I had a couple of

  24          individual meetings at her -- I think they

  25          were at her request.        And she was part of
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   1                            E. FORD, M.D.

   2          a -- and then there were director meetings.

   3          I can't remember how frequently those were.

   4          I don't know.

   5                 Q     Now, at any point did Dr. Kaye

   6          become apart of a work group?

   7                 A     I -- in 2018, prior to the court

   8          clinics coming over, I emailed Dr -- I think

   9          it was Dr. Collin and Dr -- I can't

  10          remember.     It must have been somebody at

  11          Kings County, asking if they had any

  12          recommendations or anybody interested from

  13          the court clinics who would want to be part

  14          of the work group, to think about just sort

  15          of the practice of the 730 exams.

  16                 Q     Now, I'm going to open the email

  17          that you alluded to earlier, about your

  18          concerns that you had about Dr. Jain's

  19          completion of evaluation, right.           And I want

  20          to ask you some questions on that.           And that

  21          will be Plaintiff's Exhibit 3.          And it bears

  22          the Bates Stamp series NYC1368 to 1369.

  23                           THE WITNESS:     Can we take a

  24                     break after this?

  25                           MS. HAGAN:     Sure.
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   2                           I'm going to share the screen.

   3                             (Whereupon, Email (NYC

   4                             1368-1369) was marked as

   5                             Plaintiff's Exhibit 3 for

   6                             identification as of this date.)

   7                 Q     Dr. Ford, I'm going to start you

   8          at the beginning of the email thread.

   9                       Now, here is an email from you to

  10          Dr. Jain on February 21 of 2019.

  11                       You see that, right?

  12                 A     I do.

  13                 Q     Is this a list of everybody who

  14          would have been under the purview of CHS in

  15          the court clinics at this time?

  16                 A     Is there more to that email?

  17                 Q     Okay.

  18                 A     So looking at the size of this, I

  19          believe these are only the outstanding

  20          evaluations.      This doesn't look like the

  21          entire court clinic staff.

  22                 Q     How many more people would you say

  23          would have been on this list?

  24                 A     Sorry.    And this is -- if I could

  25          see the subject.       You know, it says, for you
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   2          and your clinic leaders.         Well, let's see.

   3          I'd have to go through each of these.

   4                       Well, actually, now that I look at

   5          it more closely, it looks -- and these are

   6          just -- these look like just the evaluations

   7          of the evaluators, not the admin staff.             So

   8          maybe -- I don't know if this was everybody,

   9          but it's probably most everybody.

  10                 Q     Dr. Winkler is not on this list.

  11                 A     Well, then his evaluation must

  12          have already been done.         Because it says

  13          here that have not yet been received.

  14                 Q     So I'm going to ask you, why are

  15          some of the names in caps and then others

  16          aren't?

  17                 A     You mean, why is Dr. Jain and

  18          Dr. Mundy in caps a few times?

  19                 Q     For example, with the entry for

  20          Dr. Brayton, right, you have Dr. Jain's, I

  21          guess, name in caps.        Why is it in caps

  22          there and not in the other entries?

  23                 A     Yeah.    So this was a cut and paste

  24          from Excel 5 that I got from HR.           And I

  25          imagine this has happened very frequently in
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   2          all those files, I think some people who

   3          enter the data use caps and some people

   4          don't.

   5                 Q     That's your explanation, not that

   6          these had already been completed?

   7                 A     Correct.

   8                 Q     You're representing that because

   9          Dr. Winkler is not on this list, that his

  10          had been completed; is that your testimony?

  11                 A     I imagine that that's correct

  12          because this was -- I was just sending

  13          Dr. Jain the evals that had not yet been

  14          received.

  15                 Q     So this is February 21, 2019.          So

  16          let's just make a note of that.

  17                           MS. CANFIELD:     Ms. Hagan, do

  18                     you think we can take a break now?

  19                           MS. HAGAN:     I'd like to finish

  20                     this line of questioning before we

  21                     take a break.

  22                           MS. CANFIELD:     That's fine.

  23                 Q     So then, Dr. Ford, then there's an

  24          email from Dr. Jain to you on the 26th of

  25          February, saying, "Hi, Elizabeth, here are
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   2          the test evaluations for the directors.

   3          Dr. Kaye, Mundy, Owen and Winkler."            Right.

   4                       So if the people on this list had

   5          not been completed, why are they on this

   6          list of people to be completed?

   7                 A     So the list I sent to Dr. Jain was

   8          from February 21.

   9                 Q     Right.

  10                 A     And then it looks like five days

  11          later he's sending me evaluations for these

  12          people.     Yeah.

  13                 Q     Winkler wasn't on this list.         You

  14          said just now that the reason why Winkler

  15          wasn't on this list is because she had

  16          completed his evaluation.         But clearly, he

  17          hadn't.     He's saying that he sent it to you.

  18                 A     So I don't think that's clear.

  19          Every evaluation that Dr. Jain has to do,

  20          the procedure was that I needed to review

  21          his evaluations of others.

  22                       So I don't actually know when

  23          Dr. Winkler's evaluation was completed.

  24          Dr. Jain appears to have bundled all four

  25          director evaluations into one email for me.
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   2          So I don't know when Dr. Winkler's eval was

   3          completed.

   4                 Q     Dr. Kaye's briefer due to less

   5          opportunities to collaborate compared to the

   6          other directors.       I also have Drs. Owen and

   7          Kaye as annual, and Drs. Mundy and Winkler

   8          as probation because they are newer to those

   9          director positions.        Right?    So please let

  10          me know what you think.         After your review I

  11          will send their evaluation to you to review.

  12          And then, you know, you're going back and

  13          forth.

  14                       Going back to this list, Dr. Mundy

  15          is on this list as well.         So if these are

  16          people who he hasn't completed, why would

  17          Dr. Mundy be on this list?

  18                             MS. CANFIELD:    Objection as to

  19                     form.   You can answer.

  20                 A     So I'm not sure how I can -- so

  21          this list here appears to be the list of

  22          evals that haven't been received by HR.             I

  23          don't know the status of if they have been

  24          completed or not, but HR has not received

  25          them.      And HR can't receive them until --
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   2          well, I mean, by policy.         HR is not supposed

   3          to receive them until I have reviewed them.

   4                       So then Dr. Jain's followup email

   5          is sending me a batch of the evaluations

   6          that I have to review before they can go to

   7          HR one day before the deadline.

   8                 Q     And then you respond back to

   9          Dr. Jain.     "Owen, Mundy and Winkler look

  10          fine, right?      I think Melissa is as strong

  11          as the others in some areas, yet is rated as

  12          competent in most and without comment.

  13          Suggest that if you find her to be competent

  14          in some areas where other less experienced

  15          directors are excellent or superior.            You

  16          provide some comments about how to improve.

  17          I know this is a challenging process, but it

  18          is striking that the other three have lots

  19          of comments and hers doesn't.          I'm happy to

  20          read comments in advance or we can talk

  21          tomorrow.

  22                       So there's a lot to uncap here.

  23          First and foremost, you have determined,

  24          from your interactions with Dr. Kaye, that

  25          she's as strong as some of the other
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   2          directors in some areas, but she's rated

   3          competent.

   4                       Why did you feel compelled to

   5          raise that issue?

   6                             MS. CANFIELD:   Objection as to

   7                     form.   You can answer.

   8                 A     With Dr. Jain?

   9                 Q     With Dr. Jain about Dr. Kaye.

  10                 A     Yes.    Because I wanted to make

  11          sure that the evaluation was as fair as

  12          possible.

  13                 Q     At that time, were you aware that

  14          Dr. Jain had filed an EEOC complaint against

  15          you and/or CHS?

  16                 A     I don't know.

  17                 Q     Hadn't Dr. Kaye complained to you

  18          about pay parity and a shift change?

  19                 A     I do recall that Dr. Kaye had

  20          written -- she and I had spoken once or

  21          twice about that, and I know that she had

  22          been concerned about those issues.           I had

  23          heard about that at least since I had gotten

  24          back from leave.

  25                 Q     You said you spoke to Dr. Kaye
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   2          once or twice about that.         Now, what is

   3          that?      Are you --

   4                 A     Oh, sorry.     About -- we had a --

   5          she wanted to talk with me after I got back

   6          from leave about a few things, including the

   7          time -- I think it was something about -- it

   8          was about an educational leave for her board

   9          exam, and a decision that had been made

  10          while I was on leave about her hours, like

  11          the shift.     And she had concern -- she also

  12          I believe expressed concerns that she

  13          thought Dr. Jain was -- she was having

  14          trouble like feeling that Dr. Jain was -- I

  15          can't remember the exact words.           Again,

  16          something like the relationship with

  17          Dr. Jain wasn't going well.

  18                 Q     Now, are you testifying that

  19          Dr. Kaye only bought pay parity concerns to

  20          your attention while you were her manager

  21          under CHS the second time?

  22                 A     No.   I did not say that.

  23                 Q     Okay.    Did she raise pay parity

  24          issues with you when you were her supervisor

  25          from 2009 to 2014?
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   2                 A     I believe she did, yes.

   3                 Q     And what happened?

   4                 A     I spoke -- I can't remember when

   5          she did that.      I don't know when in that

   6          time frame, but she did speak with me about

   7          that.      I recall having -- I can't tell you

   8          how many, more than one discussions with my

   9          supervisor at the time about her concerns.

  10          I recall that things were going very slowly.

  11                       I wasn't responsible, I

  12          couldn't -- I had a hard time figuring out

  13          how to be involved with the finance issues

  14          and HR.     That wasn't something that I

  15          controlled in that position.          So things were

  16          going slow in that regard.         I encouraged

  17          Dr. Kaye to reach out to my supervisor

  18          directly, as I always do.

  19                 Q     And this is Dr. Badaracco?

  20                 A     Correct.    And I --

  21                 Q     I'm sorry.

  22                 A     No.   Go ahead.

  23                 Q     It's a delay.      I'm sorry.     I

  24          apologize, Dr. Ford.

  25                 A     That's okay.     I was finished.       It
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   2          was Dr. Badaracco.

   3                 Q     So Dr. Batarocco.        And then you --

   4          but ultimately her issues, Dr. Kaye's issues

   5          about a pay parity were not addressed at

   6          that time; is that right?

   7                             MS. CANFIELD:   Objection as to

   8                     form.   You can answer.

   9                 A     I don't -- I can't tell you that

  10          for sure.     I don't recall leaving that

  11          position and having a memory that it was

  12          resolved for her.

  13                 Q     And then Dr. Kaye then brought pay

  14          parity up again while you were her manager

  15          or indirect supervisor at CHS in 2018, this

  16          last stint?

  17                             MS. CANFIELD:   Objection as to

  18                     form.   Is that a question or is that

  19                     a statement?

  20                             MS. HAGAN:   No.   I'm asking

  21                     her.

  22                 Q     You brought it up again after you

  23          became chief of psychiatry at CHS?

  24                 A     I don't recall a specific time,

  25          but I have a vague recollection that prior
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                                                                 Page 117
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   2          to the transfer -- so this would have been

   3          pre-July 1st, it had been raised.           I think

   4          she was also concerned about retention bonus

   5          and union -- oh, yeah, yeah, sorry.            Now I'm

   6          remembering.       Yes.   She did bring it up to

   7          me prior, and I can't remember if she

   8          brought it up after I returned from leave.

   9                 Q     Did you believe that Dr. Kaye was

  10          being paid fairly in comparison to the other

  11          forensic evaluators?

  12                             MS. CANFIELD:   Objection as to

  13                     form.   You can answer.

  14                 A     At the time -- let's see.         Hold

  15          on.    Let me try to recall here.

  16                       I remember thinking that she was

  17          paid less than the other MD director.            So

  18          there were two other clinic directors or

  19          psychologists and there was a significant

  20          pay difference there, between MDs and PHDs.

  21                       With respect to the other MD in

  22          another clinic, the other MD -- oh, no,

  23          wait.      No.   I'm sorry.   Hold on.     When I was

  24          at -- sorry.       Is this specifically about CHS

  25          or Bellevue?
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   2                 Q     Either one.     'Cause there's

   3          documents here that she was paid less than,

   4          right?

   5                             MS. CANFIELD:   Objection as to

   6                     form.   You're testifying.

   7                 Q     Let's talk about Dr. Ciric first.

   8          She was paid less than Dr. Ciric; is that

   9          right?

  10                             MS. CANFIELD:   Objection as to

  11                     form.   You can answer.

  12                 A     My recollection is that -- and

  13          this is from the Bellevue time.           My

  14          recollection is that she was paid less than

  15          Dr. Ciric.     And that that was the issue that

  16          I was advocating for to resolve.

  17                 Q     And it was never rectified; is

  18          that right?

  19                 A     I don't know if it was ever

  20          rectified.     I don't recall it being

  21          rectified prior to my departure.

  22                 Q     Do you feel that it was fair that

  23          Dr. Kaye was paid less than Dr. Ciric?

  24                             MS. CANFIELD:   Objection as to

  25                     form.   You can answer.
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   2                 A     I was told that because of the

   3          hiring date and the way that salaries

   4          increase with cost of living over the years,

   5          that -- and the relatively slow rate of

   6          increase for people's salary when they stay

   7          in service, that it related to hiring date.

   8          I did think it was important to have parity

   9          with salaries for people who are in similar

  10          positions.

  11                 Q     So you did think it was unfair

  12          that she --

  13                             MS. CANFIELD:   Objection.

  14                             MS. HAGAN:   I didn't finish my

  15                     question.

  16                 Q     Do you think it was unfair that

  17          Dr. Kaye was paid less than Dr. Ciric at

  18          that time?

  19                             MS. CANFIELD:   Objection as to

  20                     form.   You can answer.

  21                 A     Sure.     I don't know enough about

  22          it to be able to tell you if it was fair or

  23          not.    It felt like -- I couldn't -- at the

  24          time I don't recall having a good sense that

  25          there was a reason that I could understand
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                                                                 Page 120
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   2          for the difference.

   3                 Q     Why was Dr. Kaye in the lower

   4          civil service title than Dr. Ciric?

   5                             MS. CANFIELD:   Objection as to

   6                     form.   You can answer.

   7                 A     Sure.    I wasn't aware that she

   8          was.    I don't know.

   9                 Q     Dr. Kaye was an attending

  10          physician, do you remember that?

  11                 A     Well, I think all of the people,

  12          all the doctors who worked for Bellevue were

  13          attending physicians at residency.

  14                 Q     Dr. Ciric was not, he was a

  15          physician specialist.        Do you remember that?

  16                 A     Oh, no.    I'm sorry.     I don't know

  17          the difference between those two.

  18                 Q     So at that time, your testimony is

  19          you don't know the difference between a

  20          physician specialist and the attending

  21          physicians positions?

  22                 A     Yes.    That's correct.      It was

  23          not -- I worked primarily with people who

  24          were under NYU pay lines.          So I wasn't

  25          familiar with those titles.
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   2                 Q     Even though you were supervising

   3          her and you had the ability to impact her

   4          salary, or any of your direct report

   5          salaries?

   6                             MS. CANFIELD:   Objection as to

   7                     form.   Assumes fact.     She can

   8                     answer.

   9                 A     Sure.    So I was actually not -- I

  10          was not responsible for the salaries or

  11          the -- it sounds like, you called them civil

  12          service titles.       I was responsible for

  13          hiring from a clinical perspective.            So

  14          vetting people clinically.         And I was

  15          responsible for the clinical work.           And I

  16          did feel like I was responsible for

  17          advocating for my staff in ways however I

  18          could.     But I was not responsible, nor did I

  19          even have, that I can recall, even access to

  20          sort of budgets about much of what I did in

  21          there.

  22                 Q     Now, that changed when you became

  23          CHS chief of psychiatry, right?

  24                 A     What, access to budgets or --

  25                 Q     Access to budgets and the ability
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                                                                 Page 122
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   2          to determine salaries.

   3                 A     I would say there was more

   4          transparency to me, but I was not the person

   5          who could approve salaries.

   6                 Q     You couldn't approve salaries?

   7                 A     That's correct.

   8                 Q     You couldn't hire and fire people

   9          within CHS?

  10                             MS. CANFIELD:   Objection as to

  11                     form.   You can answer.     Different

  12                     question.

  13                 A     Sure.     I was -- I could hire

  14          people.     The salary, I could propose, but I

  15          couldn't approve it until it went through

  16          HR.

  17                 Q     Were you able to fire people?

  18                 A     I guess.

  19                 Q     Now, I'm going to --

  20                 A     I'm sorry.     Go ahead.

  21                 Q     Go ahead.     I'm sorry.

  22                 A     I was going to say, I was able to

  23          present to my supervisors concerns I had if

  24          I was thinking about firing somebody.            But,

  25          again, I didn't have the final say, like
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                                                                 Page 123
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   2          they would determine if it was an

   3          appropriate reason or not.

   4                 Q     Who had the final say if someone

   5          got fired?

   6                 A     That's a good question.        I think

   7          it was labor relations would -- I think the

   8          way it worked is that -- I don't think I

   9          actually ever fired anybody.          But -- I think

  10          the way it works is that I would -- if it

  11          was me doing it, say and would talk with

  12          labor about it, and that they would say this

  13          is reasonable or not.        And then ultimately,

  14          I believe HR or labor were the ones who sort

  15          of did the firing.

  16                 Q     Now, you said, you suggested if

  17          you find her to be competent in some areas

  18          where other less experienced directors are

  19          excellent or superior, you provide some

  20          comments about how to improve.          Now, I'm

  21          going to ask you some questions about that.

  22                       What criteria was utilized to

  23          determine that Dr. Kaye was competent versus

  24          the other directors being excellent or

  25          superior, do you know?
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   2                 A     I don't know.

   3                             MS. CANFIELD:   Objection as to

   4                     form.

   5                 Q     You said you don't know?

   6                 A     Right.

   7                       I'm sorry, can we please take a

   8          break soon.

   9                 Q     Okay, Ms. Ford.       I'm sorry.    Can

  10          you bear with me another five minutes and

  11          then I'll be done with this email?

  12                 A     Sure.

  13                 Q     I'm sorry about this, Dr. Ford.

  14                       Now, you say that again, I know

  15          this is a challenging process, why was it a

  16          challenging process for him to rate

  17          Dr. Kaye?

  18                             MS. CANFIELD:   Objection as to

  19                     form.   You can answer.

  20                 A     Sure.    That's not my -- I didn't

  21          mean it's a challenging process to rate

  22          Dr. Kaye.     I just mean it's a challenging

  23          process to do a lot of performance

  24          evaluations in a short period of time.

  25                 Q     But then you say, but it is
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   2          striking that the three others have -- the

   3          three others -- I'm going to edit this --

   4          have lots of comments and hers doesn't.

   5                       Now, why did you point that out?

   6                 A     I must have felt that it was

   7          striking.     Particularly because of my

   8          earlier comment that my experience had been

   9          that she's strong in other areas.           And if

  10          there's some change to that, or if she's

  11          less strong than other directors, then I do

  12          think it's important for anybody to have

  13          comments about how they can improve.

  14                 Q     Now, I'm going to ask you a

  15          question here.

  16                       You're saying that it wasn't

  17          because Dr. Jain and Dr. Kaye had a strained

  18          relationship, that you had these issues with

  19          the performance evaluations, you're saying

  20          it's because you felt that she was a strong

  21          employee, and you were questioning the

  22          evaluation as a whole in comparison to the

  23          others; am I right?

  24                           MS. CANFIELD:     Objection form.

  25                     You can answer if you're able.
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   2                 A     I mean, I can't remember the

   3          evaluations, but based on this email, what

   4          I'm saying is that, other less -- that she's

   5          rated as competent, but without comments

   6          about how to improve.        And that, to me, I

   7          personally just -- you know, we as -- we

   8          work with a lot of -- I have worked with a

   9          lot of highly skilled physicians and many of

  10          whom are just so excellent.          So competent

  11          almost seems like, you know, that's -- I

  12          don't know.        It warrants some discussion

  13          about how to get better.

  14                 Q     So you don't think that

  15          Dr. Jain's, I guess, rating was retaliatory?

  16                             MS. CANFIELD:   Objection as to

  17                     form.   You can answer.

  18                 A     I don't remember that or -- no.

  19          That wasn't -- I don't recall having that

  20          thought at all.

  21                 Q     Now, I mean, just in comparison,

  22          Dr. Winkler had been in the position let's

  23          say April of 2018 to February of 2019, yet

  24          he received an excellent to superior

  25          evaluation.        Do you recall that?
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   2                             MS. CANFIELD:   Objection as to

   3                     form.   You can answer.     If you want

   4                     to show her something.

   5                 A     I mean, I don't remember what --

   6                             MS. HAGAN:   Wait, wait, wait.

   7                     Ms. Canfield, that's blatant and you

   8                     know that it's improper.       I want to

   9                     show her something?     What kind of

  10                     objection is that?      That's

  11                     ridiculous.

  12                             You cannot hint if she needs

  13                     to see something.     What are you

  14                     talking about?

  15                             MS. CANFIELD:   There's no

  16                     foundation to any of your questions.

  17                     You're assuming facts not in

  18                     evidence.   If you have something to

  19                     show her --

  20                             MS. HAGAN:   It's improper.      I

  21                     have ---

  22                             MS. CANFIELD:   Your questions

  23                     are improper, too.      They are not

  24                     foundation.

  25                             MS. HAGAN:   Do not do it
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   2                     again.   Or else we will be on the

   3                     phone with Judge *Kott.      Do you

   4                     understand me?    Don't do it again.

   5                           MS. CANFIELD:      This is

   6                     perfect.   Thank you very much.

   7                           MS. HAGAN:     Don't do it again.

   8                 Q     So now, Dr. Ford, I'm showing you

   9          what's been marked as -- what will be marked

  10          as Exhibit 4.

  11                              (Whereupon, Performance

  12                              Evaluation (NYC1336-1342) was

  13                              marked as Plaintiff's Exhibit 4

  14                              for identification as of this

  15                              date.)

  16                 Q     This is Dr.     Winkler's performance

  17          evaluation.      And it bears the Bates series

  18          NYC1336 through NYC1342.

  19                       Now, do you remember this

  20          document?

  21                 A     No.

  22                 Q     Well, it says here that

  23          Dr. Winkler was appointed on April 30, 2018.

  24          Would that be accurate?

  25                 A     That sounds about right.
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   2                 Q     Were you responsible for getting

   3          Dr. Winkler into this position of, I guess,

   4          clinical director?

   5                 A     Was I responsible -- I mean, I

   6          guess.     We posted -- it was a complicated

   7          process, because there was one director of

   8          two clinics when we were thinking of this

   9          transfer.

  10                       So we posted -- I believe the

  11          process is we -- I created an org chart, a

  12          structure, and we created four director

  13          positions.     The director who was of the

  14          Queens and the Brooklyn clinic at the time

  15          chose -- I don't know if it was chose --

  16          became the Queens clinic director.           And then

  17          we posted for this Brooklyn clinic director.

  18                       And we had -- I can't remember how

  19          many applications, we did some interviews,

  20          Dr. Winkler applied.        I probably would have

  21          signed his -- the paper that approved his

  22          hiring.

  23                 Q     Did you ever speak with

  24          Dr. Winkler personally and encourage him to

  25          apply for this position?
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   2                 A     Yeah -- probably.       I called all

   3          the -- did I call all the psychologists?             I

   4          think I called everyone I could think of in

   5          all the clinics.       I told them that the

   6          position was up, if they wanted to apply.

   7                 Q     Going back to what we were

   8          discussing earlier about the shorter time

   9          period and the superior evaluation.            He's on

  10          probation here, according to this

  11          evaluation.        You see that, right?

  12                             MS. CANFIELD:   Object to the

  13                     form.

  14                 A     Yeah.    That just means he hasn't

  15          been in the position for -- that's a

  16          six-month thing.

  17                 Q     Right.    And here he is being

  18          evaluated after six months in his position.

  19          Right?

  20                       And you see the evaluation skill,

  21          S for superior, E for exceeds expectations.

  22          C, fully competent.        Going all the way down

  23          the line, right.       So for our purposes, I'm

  24          going to stick with those first three

  25          because no one seems to be rated under that,
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   2          right.     And you see that he's getting rated

   3          E and F and not applicable, right?

   4                 A     I'm seeing that.

   5                 Q     Then you have some

   6          competent/excellent here, right.

   7                       Now, from what you're seeing,

   8          would you say that these ratings are

   9          consistent with your experience with

  10          Dr. Winkler?

  11                             MS. CANFIELD:   Objection as to

  12                     form.   You can answer.

  13                 A     Sure.    I didn't directly supervise

  14          Dr. Winkler, so I can't -- I really -- I

  15          don't know.        I don't know.

  16                 Q     Did you know Dr. Winkler before or

  17          outside of CHS?

  18                 A     Yes.    I worked with Dr. Winkler

  19          when he -- in Bellevue for a year maybe.             I

  20          think -- he was a -- I can't remember.            He

  21          was either a psychology intern or a

  22          psychologist at Bellevue Hospital on the

  23          inpatient unit.       I think when I was the unit

  24          chief there.

  25                 Q     Did you ever publish any documents
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   1                            E. FORD, M.D.

   2          with Dr. Winkler?

   3                 A     I published an article with him, I

   4          can't remember the year, but, yes.

   5                 Q     So you knew Dr. Winkler prior to

   6          supervising -- prior to him being under your

   7          management; am I right?

   8                 A     Yes.    At CHS, yes.     I did know him

   9          prior to that.

  10                 Q     I'm going to keep going down.          I

  11          guess I'm going to look for the overall

  12          rating that you gave him.

  13                       So the -- he said over the past

  14          year, which is not accurate, it was only six

  15          months; am I right?

  16                 A     Yeah.    It appears that you are

  17          right.

  18                 Q     Dr. Winkler has impressively and

  19          seamlessly transitioned into his role as

  20          director of the Brooklyn Staten Island Court

  21          Clinic.     He has been a knowledgeable and

  22          steady leader and an exceptional role model

  23          for clinical and administrative staff.            He

  24          has actively been invested in recruiting,

  25          hiring and training staff.
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   1                             E. FORD, M.D.

   2                       Now, did he have an opportunity to

   3          do all that in six months?

   4                             MS. CANFIELD:   Objection as to

   5                     form.   You can answer.

   6                 A     Let's see.     The transition into

   7          the role, yes, that could be in six months.

   8          Knowledgeable and steady leader, yeah.            An

   9          exceptional role model for clinical and

  10          administrative staff.        I mean, I think that

  11          could be rated in six months.          Actively been

  12          invested in recruiting hiring and training

  13          new staff.     I do recall that he was -- that

  14          Dr. Winkler was trying to recruit actively.

  15                 Q     And then you have like develop a

  16          systematic evaluation process for clinical

  17          staff evaluations and reports, and all this.

  18          And then you have exceeds expectations,

  19          right?

  20                 A     I see that.

  21                 Q     Well, I know that I represented to

  22          you that we were going to take a break.             Why

  23          don't we do that.       And then why don't we get

  24          back at 1:35.       So that gives us an hour.

  25                             THE WITNESS:    Could we take a
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   2                     shorter lunch break?

   3                             MS. HAGAN:   I will need to

   4                     take an hour.

   5                              (Whereupon, a recess was taken

   6                              from 12:34 p.m. to 1:38 p.m.)

   7                 Q     I want to ask you some more

   8          questions about the complaint itself.

   9                       Did you have an opportunity to

  10          read the amended compliant, Dr. Ford?

  11                 A     I think so.     I'm not sure the

  12          difference between the amended complaint and

  13          the complaint, but I think I do.

  14                 Q     Did you feel that there were

  15          misrepresentations in that document?

  16                             MS. CANFIELD:   Objection as to

  17                     form.   You can answer.

  18                 A     Yes.

  19                 Q     Which ones?

  20                             MS. CANFIELD:   Objection as to

  21                     form.   You can answer.

  22                 A     I don't have the document in front

  23          of me.

  24                 Q     We can look at it.

  25                       First and foremost, for example,
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   2          Dr. Kaye alleges that you and CHS management

   3          engaged in retaliatory shift change when she

   4          started to complain about pay parity.            Do

   5          you remember that?

   6                             MS. CANFIELD:   Objection as to

   7                     form.   Complain about pay --

   8                             MS. HAGAN:   Please don't coach

   9                     the witness.    Let her answer.

  10                             MS. CANFIELD:   I don't hear

  11                     you.

  12                             MS. HAGAN:   You heard the

  13                     question.

  14                             MS. CANFIELD:   I did not hear

  15                     the question.    When she complained

  16                     about what?

  17                 Q     When Dr. Kaye complained about pay

  18          parity, she alleged she was experiencing

  19          retaliation in the form of a retaliatory

  20          shift change.

  21                       Do you recall that, Dr. Ford?

  22                 A     No.    I do not recall that

  23          specifically, because I believe that

  24          happened when I was on leave.          I recall

  25          returning from leave in the fall of 2018 and
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   2          hearing that there had been a disagreement

   3          about her shift.       I think that's what you

   4          were referring to.

   5                 Q     Right.    Now, at the time, was it

   6          your experience that the directors of the

   7          court clinics worked 9:00 to 5:00?

   8                             MS. CANFIELD:   Objection as to

   9                     form.   You can answer.

  10                 A     I think mostly, yes.       I was more

  11          concerned with the hours per day rather than

  12          the specific time of start and stop, but

  13          that sounds about right.

  14                 Q     Why were you concerned about the

  15          hours per day, Dr. Ford?

  16                 A     Because that's what people were

  17          being paid for.

  18                 Q     Okay.    Now, were there any other

  19          court clinic directors who experienced a

  20          shift change?

  21                             MS. CANFIELD:   Objection as to

  22                     form.   You can answer.

  23                 A     I don't know.

  24                 Q     Did any of other court directors

  25          come to you to complain about a shift
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   2          change?

   3                 A     Not that I recall -- not that I

   4          recall, no.

   5                 Q     Did any of the other directors,

   6          were they held to a specific schedule?

   7                 A     Were they held to a specific

   8          schedule.     I don't -- I wasn't involved in

   9          the determinations of their specific start

  10          and stop times.       I did not talk -- I don't

  11          recall talking with Dr. Jain about that.             I

  12          don't recall that.

  13                 Q     Who made the decision to set the

  14          hours of the directors in the clinics?

  15                             MS. CANFIELD:   Objection as to

  16                     form.   You can answer.

  17                 A     The Brooklyn and Queens court

  18          clinics, who made -- I believe that was HR.

  19          I think that was HR.        And I think also for

  20          the other two, although I don't -- again, I

  21          wasn't around for that summer and I don't

  22          know if there were changes to that.

  23                 Q     You said that you did at least 30

  24          forensic evaluations over the course of your

  25          career; am I right?
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   2                 A     I did say that, yeah.

   3                 Q     Did you ever possess that title of

   4          forensic evaluator as your job title?

   5                 A     Let me think.      No.

   6                 Q     Who in HR made the decision to, I

   7          guess, put the shift, I guess the hours in

   8          place?

   9                             MS. CANFIELD:   Objection as to

  10                     form.   You can answer.

  11                 A     I don't actually know who in HR

  12          did.    I don't recall.      I may have known, but

  13          I don't know now.       I don't know.

  14                 Q     Did Dr. Kaye ever come to you to

  15          complain about the shift change that she

  16          experienced?

  17                 A     Yes.

  18                 Q     And when did this happen?

  19                 A     The best I can recall from the

  20          emails, it was around the end of November

  21          of 2018.

  22                 Q     November 2018.      And what do you

  23          remember from that?

  24                 A     That she had requested to talk

  25          with me about some things and catch me up to
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   2          speed from my leave.        That we met, I believe

   3          after like a director meeting.          That we met

   4          in person, and that she was concerned --

   5          she -- there was -- she was still unhappy

   6          with the shift, whatever the shift issue.

   7          And I can't recall if it had been move --

   8          there was still an issue with the shift

   9          issue, that she had taken the front -- well,

  10          she had taken a board exam and had been

  11          docked pay that day.        And that -- there was

  12          some other things.       I do recall she

  13          expressed concerns about Dr. Jain and his

  14          interactions with her.        And there may have

  15          been a couple other things.          Those are the

  16          things I remember.

  17                 Q     Now, you said some people in HR

  18          made the decision to, I guess, implement or

  19          impose a set work out.

  20                       Would that have been, let's say,

  21          Mr. Wangel, would he have been involved in

  22          that decision making process?

  23                             MS. CANFIELD:   Objection as to

  24                     form.   You can answer.

  25                 A     Sorry.    Apologies for the dog.
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   2                       Can you hear me okay?

   3                 Q     Yes.    I can hear you.

   4                 A     I don't know if it would have been

   5          Mr. Wangel.      What I recall is that -- yeah.

   6          I don't know if -- I don't think Mr. Wangel

   7          is part of HR.

   8                 Q     What about Ms. Yang?

   9                 A     So Ms. Yang was involved in most

  10          of -- all of the decisions that I made

  11          regarding personnel, in terms of time and

  12          salary and hiring and discipline and things

  13          like that, went through Ms. Yang.

  14                 Q     So did you and Ms. Yang ever talk

  15          about Dr. Kaye?

  16                 A     Yeah.    I imagine we must have.        I

  17          don't recall specific conversations, but I'm

  18          sure we did.

  19                 Q     Did you ever talk about Dr. Kaye

  20          in terms of this pay parity issue?

  21                 A     We had a conversation -- I recall

  22          having conversations, I don't know if one or

  23          more than one with Ms. Yang, prior to her

  24          coming on board with CHS, and discussions

  25          about pay parity and retention bonus, and
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   2          delaying the Manhattan clinic arrival in

   3          order for her to get the bonus.

   4                 Q     Now, would you agree that the pay

   5          parity -- I mean the retention bonus and

   6          the -- what was the other thing that you

   7          mentioned?     Retention bonus and -- you said

   8          something else?

   9                           MS. CANFIELD:     Do you want the

  10                     court reporter to read it back?

  11                           MS. HAGAN:     Yes.

  12                             (Whereupon, the requested

  13                             testimony was read by the court

  14                             reporter.)

  15                 Q     Now, was there also an issue

  16          regarding Dr. Kaye's longevity pay?

  17                 A     That sounds familiar.        That's

  18          about all I can tell you.         That term sounds

  19          familiar to me.

  20                 Q     You may have talked to Ms. Yang

  21          about Dr. Kaye's retention bonus and

  22          longevity pay; is that right?

  23                 A     I don't know if I talked with

  24          Ms. Yang about longevity.         It's possible.

  25                 Q     Would it be fair to say that
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   1                             E. FORD, M.D.

   2          longevity pay and retention bonus has

   3          nothing to do with Dr. Kaye's salary, per

   4          se; am I right?

   5                             MS. CANFIELD:   Objection as to

   6                     form.   You can answer if you're

   7                     able.

   8                 A     Sure.    I don't actually know a

   9          whole lot about longevity pay.          That's not

  10          something that I'm familiar with in the

  11          systems that I've worked in, as most of the

  12          employees I've had were not through sort of

  13          city agencies.

  14                       So I can't -- I don't know.         The

  15          retention bonus, if my recollection is

  16          correct, I believe that was an agreement

  17          made at Bellevue with -- and I don't know

  18          the details of why, but I think that was a

  19          deal from Bellevue.

  20                 Q     Now, did you ever speak to

  21          Ms. Yang about the shift change?

  22                 A     I don't know.      I don't know.

  23                 Q     Now, for years you worked with

  24          Dr. Kaye from 2009 to 2014, and she worked

  25          from 9 to 5.       Do you recall that?
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   2                 A     I don't recall her specific hours,

   3          but that sounds right.

   4                 Q     So she continued to work in the

   5          same attending physician title when you

   6          resumed your management of Dr. Kaye, I guess

   7          indirectly in 2014.        Why was her 9 to 5

   8          hours a problem then?

   9                             MS. CANFIELD:   Objection as to

  10                     form.   You can answer.

  11                 A     Sure.    Actually, I don't know,

  12          because I was not around when those

  13          decisions were made, that it was problem,

  14          which sounds like it was the summer.

  15                 Q     You weren't around when you were

  16          going to manage her out either, you said

  17          that you weren't supervising her at that

  18          time, right?

  19                             MS. CANFIELD:   Objection,

  20                     argumentative.    You can answer.

  21                 A     I was working at that time, during

  22          the summer of 2018, I was not working, I was

  23          on leave.

  24                 Q     So you weren't working at all, you

  25          weren't privy to what was going on in the
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                                                                   Page 144
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   2          clinics or anything during the summer

   3          of 2018?

   4                 A     That's correct.

   5                 Q     You weren't emailing anyone, you

   6          weren't contacting anyone during that

   7          summer?

   8                 A     That's correct.

   9                 Q     So when you got back and Dr. Kaye

  10          was complaining about this pay parity --

  11          about the shift change, did you look into it

  12          yourself to see whether or not it was

  13          unreasonable for her to want to continue to

  14          work the 9 to 5 shift?

  15                 A     I did.

  16                 Q     And what happened?

  17                 A     I recall speaking with at least

  18          Mr. Wangel and possibly Jessica Laboy who

  19          was responsible for HR at the time.            And

  20          inquired about what the issue was, had it

  21          been resolved, had it been resolved

  22          reasonably.      And was told that this was an

  23          issue -- I can't recall what the answer was,

  24          but my take away impression was that it was

  25          not -- that I didn't need to look into it
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                                                                 Page 145
   1                             E. FORD, M.D.

   2          further.

   3                 Q     Now, Dr. Kaye alleges that she was

   4          made to work nine hours while the other set

   5          of directors were not made to work nine

   6          hours.     Did you look into that?

   7                             MS. CANFIELD:   Objection as to

   8                     form.   You can answer.

   9                 A     I think it was about -- it was

  10          complicated -- it felt complicated at the

  11          time.      It's hard to remember, but I think it

  12          had to do with the lunch hour.          And the line

  13          that Dr. Kaye was on was a union doctor

  14          counsel line, and there were different lunch

  15          hour requirements, something like that, but

  16          the details have escaped me.

  17                 Q     Dr. Ford, was there ever an

  18          explanation given that Dr. Kaye had to work

  19          the nine hours because of the necessity of

  20          the clinic and the courts?

  21                             MS. CANFIELD:   Objection as to

  22                     form.   You can answer.

  23                 A     Sorry.    Can I repeat the question

  24          and you tell me if I've got it right, the

  25          question?
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   2                 Q     Sure.

   3                 A     Are you asking if I know whether

   4          Dr. Kaye was ever told she had to work those

   5          hours because of the court requirements?

   6                 Q     Yes.

   7                 A     I don't know.      I'm not aware of

   8          that.

   9                 Q     To your knowledge, when does the

  10          Court open?

  11                       You said you do 30 of these exams,

  12          Dr. Ford.     I'm going to hold you to this.

  13          What time does the Court open, Dr. Ford?

  14                           MS. CANFIELD:     Objection.     You

  15                     can answer.

  16                 A     I am embarrassed to say that I

  17          don't know for sure in each court, but I

  18          would imagine around nine.

  19                 Q     Not 10:00?

  20                           MS. CANFIELD:     Objection.

  21                 A     I don't know if the courts open at

  22          10.

  23                 Q     You don't know if the courts open

  24          at ten or nine?

  25                 A     What I'm telling was that I don't
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                                                                 Page 147
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   2          know for sure what time every court opens.

   3                 Q     You're not sure what time every

   4          court opens.       Do you know if it was

   5          necessary that Dr. Kaye either worked from 9

   6          to 6 or 8 to 5?

   7                             MS. CANFIELD:   Objection as to

   8                     form.   You can answer.

   9                 A     If it was necessary with respect

  10          to the Court?

  11                 Q     If it was a requirement.        Like,

  12          why did she have to work nine hours and the

  13          other directors had the option to work

  14          eight?

  15                             MS. CANFIELD:   Objection as to

  16                     form.   You can answer.

  17                 A     Yeah.    I'm not -- I don't know

  18          if -- I don't know how to answer that.

  19                       I don't know -- I don't remember

  20          hearing anything that it was a court

  21          requirement.       I don't also remember hearing

  22          anything that there was an idea that it was

  23          eight versus nine hours with other

  24          directors.     I do clearly remember that the

  25          other directors chose managing real lines,
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   2          which allowed for more flexibility and I

   3          think a different lunch thing.

   4                 Q     So are you representing that all

   5          the directors were on a managerial line

   6          except for Dr. Kaye?

   7                 A     I believe that they all -- I'm

   8          saying that that's my best recollection,

   9          yeah.

  10                 Q     Now, at any time did Dr. Kaye tell

  11          you that her children had special needs or

  12          had specific ailments she had to address?

  13                 A     She did.

  14                 Q     What did she tell you?

  15                 A     She told me that she has two

  16          children, one of whom, I believe her son has

  17          a chronic illness.       I can't -- I think auto

  18          immune, but I can't for sure, that requires

  19          significant at home care.         And that at times

  20          it is unpredictable.

  21                       I think she also told me some

  22          details about his education.          I can't recall

  23          how much of that was at home versus in a

  24          school.

  25                 Q     Specifically, did Dr. Kaye say
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   2          that her son had skin ailments that she had

   3          to attend to, and that's why she needed to

   4          work a certain schedule?

   5                 A     She did say that.

   6                 Q     When did she have that

   7          conversation, do you recall?

   8                 A     I don't recall.      I don't recall.

   9          I think in the fall of 2018.

  10                 Q     Now, you have children of your

  11          own, I take it, right?

  12                 A     Yes.

  13                 Q     And how many children do you have,

  14          Dr. Ford?

  15                 A     Two.

  16                 Q     So you kind of understand or at

  17          least have talked about the balance of

  18          motherhood and just trying to get to work,

  19          and just having a very narrow short period

  20          of time to work, and to actually take care

  21          of your family; am I right?

  22                 A     I'm familiar with that, yes.

  23                 Q     Now, did you exhibit that same

  24          level of consideration to Dr. Kaye when

  25          she's coming to you with these issues?
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   2                             MS. CANFIELD:   Objection as to

   3                     form.   You can answer if you're

   4                     able.

   5                 A     I do remember hearing this from

   6          Dr. Kaye and talking with people, a few

   7          levels, and advocating for a shift that

   8          would allow her to take care of her family

   9          in the way that she wanted, and that would

  10          meet the needs of the clinic.

  11                 Q     Were the needs of the clinic not

  12          being met under Dr. Kaye's prior schedule of

  13          9 to 5?

  14                 A     Not that I was aware of.

  15                 Q     They were being met?

  16                             MS. CANFIELD:   Objection as to

  17                     form.   You can answer.

  18                 A     Sure.    Yes.   As I said, I believe

  19          they were being met.         I didn't hear

  20          otherwise.

  21                 Q     She had no performance issues when

  22          she was working the 9 to 5 shift, from what

  23          you knew?

  24                 A     And the 9 to 5 shift was -- that

  25          you're referring to, that was when I was at
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   2          Bellevue?

   3                 Q     Up until then, up until the change

   4          was after she filed her EEOC charge.            So

   5          basically up until, let's say, May of 2018,

   6          or at least the first EEO complaint there

   7          was no change, she was working 9 to 5,

   8          right?

   9                             MS. CANFIELD:   Objection as to

  10                     form.   You can answer.

  11                 Q     Up until then, had you heard any

  12          complaints about the performance at the

  13          Bronx Court Clinic?

  14                             MS. CANFIELD:   Objection as to

  15                     form.   You can answer.

  16                 A     So I can only speak to the time

  17          when I was there until 2014.          I don't know

  18          between 2014 and '18.        But I did not hear

  19          concerns about, when I was there at

  20          Bellevue, about the 9 to 5 shift.

  21                 Q     When you were there -- once you

  22          became the director, which was in 2018,

  23          right, you didn't hear any complaints about

  24          the clinic's performance up until your

  25          leave, right?
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   2                             MS. CANFIELD:   Objection as to

   3                     form.   You can answer.

   4                 A     So the court clinic did not come

   5          under -- I wasn't -- the court clinic was

   6          not part of CHS prior to my leave.

   7                 Q     But there were no complaints about

   8          the Bronx Court Clinic in terms of

   9          performance or leading -- or seeing people

  10          at that time, right?

  11                             MS. CANFIELD:   Objection as to

  12                     form.   You can answer.

  13                 A     I don't know.      I didn't see any

  14          performance evaluations that had been done

  15          by Bellevue.

  16                 Q     Ultimately, you had made a

  17          determination that Dr. Kaye could work the 9

  18          to 5 shift regardless -- I mean, was anybody

  19          being monitored on that level where they had

  20          to work a certain set of hours?

  21                             MS. CANFIELD:   Objection as to

  22                     form.   Compound.    You can answer if

  23                     you're able.

  24                 A     Was any -- yeah.      I guess I don't

  25          understand.        Are you saying was everyone
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   2          monitored about the hours that they work?

   3                 Q     Yes.

   4                 A     Indeed, everybody was, yeah.

   5                 Q     Okay.    So how were they monitored?

   6                 A     I think at that time we had

   7          implemented Kronos, but I can't recall if we

   8          still had paper time sheets.          There's a time

   9          keeping system and also -- sorry.           Go ahead.

  10                 Q     Keep going.     Keep going.     You said

  11          and also.     Keep going.

  12                 A     And just also, it was the

  13          supervisor's responsibility to also be aware

  14          of people generally being in the office --

  15          I'm sorry, at work.

  16                 Q     At any point, could you have said,

  17          look, I'm just going to allow her to work

  18          the 9 to 5, she's always worked with 9 to 5,

  19          and there's been no problems with the

  20          clinic, couldn't you just have made that

  21          determination, Dr. Ford?

  22                             MS. CANFIELD:   Objection as to

  23                     form.   You can answer if you're

  24                     able.

  25                 A     No.    I did try to do that.
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   2                 Q     And what happened?

   3                 A     I was told that there was -- it

   4          has to do with her -- it has to do something

   5          with the lunch hour and that the issue was

   6          resolved.

   7                 Q     Who told you it had to do with the

   8          lunch hour?

   9                 A     I don't remember.

  10                 Q     And who told you that the issue

  11          was resolved?

  12                 A     I don't remember.       Yeah.   I don't

  13          remember.

  14                 Q     Now, did it ever come to your

  15          attention that Dr. Kaye's personnel file was

  16          lost?

  17                             MS. CANFIELD:   Objection as to

  18                     form.

  19                 A     That her personnel file was lost.

  20          No.    It was lost, I don't think so.

  21                 Q     What happened to her personnel

  22          file, are you aware that it was lost?

  23                 A     No.

  24                             MS. CANFIELD:   Objection as to

  25                     form.
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                                                                 Page 155
   1                             E. FORD, M.D.

   2                 Q     So it never came to your attention

   3          that her personnel file was lost?

   4                             MS. CANFIELD:   Objection as to

   5                     form.

   6                 A     No.    Not that I recall.

   7                 Q     So I'm going to, I guess, enter --

   8          and this wasn't produced, this was more

   9          of -- because this wouldn't have been

  10          produced in the part of discovery, but I'm

  11          going to, I guess, show you what will be

  12          marked as Plaintiff's Exhibit 5.

  13                              (Whereupon, Dr. Ford's Book

  14                              Excerpts was marked as

  15                              Plaintiff's Exhibit 5 for

  16                              identification as of this date.)

  17                 Q     You've written a number of books

  18          over the years; am I right?

  19                             MS. CANFIELD:   I'm sorry.     I

  20                     couldn't hear.

  21                 Q     You've written a number of books

  22          over the years; would that be accurate?

  23                 A     I've written one book and I've

  24          edited one book, and I've written one book

  25          chapter.
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   2                 Q     The Landmark Decisions in Forensic

   3          Evaluation -- Forensic Psychiatry, did you

   4          write that book?

   5                 A     I edited it.

   6                 Q     And then you wrote, sometimes

   7          amazing things happen.        Is that the book

   8          that you wrote?

   9                 A     It is.

  10                 Q     So I'm going to discuss some

  11          excerpts from your book, okay.

  12                       What, first of all, prompted you

  13          to write the book in the first place?

  14                 A     I was approached by a publisher, I

  15          had been approached a number of times, but

  16          at this particular moment I had been

  17          approached, and I felt like I had reached a

  18          point in my career where I had something to

  19          say, and I was concerned about the popular

  20          impression of the patients that I took care

  21          of at Bellevue.

  22                 Q     What were the impressions of the

  23          patients you took care of at Bellevue?

  24                 A     Generally, that they were throw

  25          away people.      And they were described as
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   2          monsters and psychos in the tabloids.            And I

   3          found them to be totally different than that

   4          and I wanted to bring that to light.

   5                 Q     And you also talked about your, I

   6          guess your experiences, like motherhood and

   7          the job.     You talked about a number of

   8          cases, or probably pertinent to this case,

   9          though.

  10                       What I'm going to do is I'm going

  11          to share the screen with you.          And the first

  12          is going to be -- in order to facilitate

  13          things, I made it somewhat of a Power Point

  14          presentation, right.

  15                       So, for example, on page 49 of

  16          your book, you say, "As usual, the team is

  17          already assembled.       By the time I come

  18          rushing in after dropping my son at day care

  19          at 8:00 a.m., having frantically hailed a

  20          cab to get me down to the east side of

  21          Manhattan to the hospital."

  22                       Now, do you recall having this

  23          kind of frantic type of morning when you had

  24          your son?

  25                 A     Yes.
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   2                 Q     Did you think about this, when

   3          Dr. Kaye was explaining to you the

   4          importance of having her shift from 9 to 5?

   5                 A     Definitely.

   6                             MS. CANFIELD:   Objection as to

   7                     form.   You can answer.

   8                 Q     You said definitely, right?

   9                 A     I said definitely, yes.        That's

  10          why I advocated otherwise.

  11                 Q     So you're saying that you didn't

  12          participate any effort to manage her out by

  13          changing her shift because you knew that it

  14          was going to be problematic, you're saying

  15          you denying that; am I right?

  16                             MS. CANFIELD:   Objection as to

  17                     form.   You can answer.

  18                 A     Could you rephrase the question.

  19                 Q     Are you denying that you had any

  20          part in changing her shift in an effort to

  21          manage her out after she complained?

  22                             MS. CANFIELD:   Objection as to

  23                     form.   You can answer.

  24                 A     What I'm saying is that I did not

  25          have -- I did not play a role in changing
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                                                                 Page 159
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   2          her shift.

   3                 Q     And you did not think that

   4          changing her shift would have the effect of

   5          disruption of discharging her?

   6                           MS. CANFIELD:     Objection.

   7                     Objection.

   8                           MS. HAGAN:     Keep going.

   9                           MS. CANFIELD:     You can answer

  10                     but that's a legal term of art.

  11                     She's not a lawyer, but go ahead.

  12                 A     Sorry.     Can you say the question

  13          again.

  14                 Q     Did you have any part in any

  15          efforts to force out Dr. Kaye from CHS?

  16                           MS. CANFIELD:     Objection.     You

  17                     can answer.

  18                 A     No.

  19                 Q     Do you believe Dr. Kaye was forced

  20          out of CHS?

  21                 A     No.   My understanding is that,

  22          although I don't -- I'm not sure if it

  23          proceeded when I left CHS, I believe she

  24          issued her resignation letter.

  25                 Q     Well, you had issued your
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                                                                 Page 160
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   2          resignation letter, or at least the staff

   3          was told that you were resigning from CHS in

   4          December of 2020 -- in 2019; is that right?

   5                 A     I believe the staff were notified.

   6          I notified my superiors just before

   7          Thanksgiving of that year.

   8                 Q     Right.    And Dr. Kaye left in

   9          January of 2020.       Do you recall that?

  10                             MS. CANFIELD:   Objection as to

  11                     form.   You can answer.

  12                 A     Sure.    I recall she left around

  13          this time that I was leaving.          I didn't

  14          recall that it was January.

  15                 Q     Now, if someone was put in the

  16          position where she had to choose between

  17          taking care of her children or working,

  18          would you say that that would be the

  19          equivalent of being forced out of work?

  20                             MS. CANFIELD:   Objection as to

  21                     form.   You can answer.

  22                 A     I don't know if I can answer.

  23          Like, is there a specific example?

  24                 Q     Well, you yourself actually felt

  25          compelled to resign or take leave of absence
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                                                                 Page 161
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   2          to take care of your family; am I right?

   3                 A     I felt compelled internally.         I

   4          did not receive any kind of -- there was

   5          no -- I didn't feel forced by my work at

   6          all.

   7                 Q     Well, because you never were held

   8          to a strict schedule of having to work a set

   9          amount of hours; is that true?

  10                             MS. CANFIELD:   Objection as to

  11                     form.   You can answer.

  12                 A     Sure.    I was held to a specific --

  13          I had specific hours that I needed to be in

  14          the hospital during that time.

  15                 Q     Were you ever threatened with your

  16          pay being docked or your time being docked

  17          if you did not come to work and leave work

  18          at a certain amount of time?

  19                             MS. CANFIELD:   Objection as to

  20                     form.   You can answer.

  21                 A     This was when I was at Bellevue?

  22                 Q     Yes.

  23                 A     Yeah.    I had a conversation with

  24          Dr. Badaracco about -- I had asked for an

  25          early departure one day to pick up my
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                                                                 Page 162
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   2          children, and she reminded me that I needed

   3          to stay the whole time or I wouldn't get

   4          that salary.

   5                 Q     So this is one day, she threatened

   6          your whole salary for one day; is that what

   7          you're saying?

   8                 A     Sorry.    No, no.     Not the whole

   9          salary, just that block of time.

  10                 Q     Would you say that someone had --

  11          Dr. Kaye -- first of all, did Dr. Kaye ever

  12          tell you that if she was forced to work the

  13          hours that she was -- that her shift being

  14          changed is going to push her out?

  15                             MS. CANFIELD:   Objection.     You

  16                     can answer if you're able.

  17                 A     I don't recall her saying that it

  18          would force her out.

  19                 Q     You don't recall her saying that

  20          she would be forced to resign if she had had

  21          to work on that shift change?

  22                             MS. CANFIELD:   Objection as to

  23                     form.   You can answer.

  24                 A     I don't recall her saying that.          I

  25          recall her saying it would be a real
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                                                                 Page 163
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   2          hardship for her.

   3                 Q     Did you ever get a shift change

   4          yourself at Bellevue?

   5                             MS. CANFIELD:   Objection as to

   6                     form.   You can answer.

   7                 A     At Bellevue, I was on a NYU pay

   8          line, so the -- there weren't formal time

   9          sheets at that point when I was working

  10          there.

  11                       Did I ever get a formal shift

  12          change.     Yes.    I worked from -- I can't

  13          recall when it was.        I worked from like

  14          eight hour -- I worked from basically 9 to

  15          5, Monday, Wednesday, Friday, and then 7 to

  16          3, Tuesday and Thursday.

  17                 Q     So you did have a shift change?

  18                 A     Yeah.    I guess that's right.

  19                 Q     Now, on page 100 of your book, you

  20          say, "I'm like many female physicians who

  21          have young children trying to avoid the

  22          gnawing feeling of inadequacy that comes

  23          with taking care of children and patients

  24          who need so much."       Right.

  25                       Now, do you feel that that's a
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                                                                   Page 164
   1                             E. FORD, M.D.

   2          dilemma, that all female professionals in

   3          your field experience?

   4                             MS. CANFIELD:   Objection as to

   5                     form.   You can answer.

   6                 A     Do all female physicians

   7          experience this?       I would say no.      If they

   8          have children, I think it's possible.            I

   9          can't speak for all female physicians.

  10                 Q     Did you feel that Dr. Kaye was

  11          being subjected to harassment, to the extent

  12          that she was being forced to work this shift

  13          change?

  14                             MS. CANFIELD:   Objection as to

  15                     form.   The word "forced."      You can

  16                     answer.

  17                 A     I didn't conceptualize it as

  18          harassment.        I wasn't fully clear about the

  19          rationale, of which is, again, why I tried

  20          to get more information about that.

  21                 Q     Now, you said at times that you

  22          really kind of had issues with how, you

  23          know, trying to get this balance between

  24          motherhood and your job, and you felt

  25          compelled to resign more than once because
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                                                                 Page 165
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   2          of the issues that you had with, I guess

   3          balancing these two.

   4                       Now, your testimony is that you

   5          had no part in that, in Dr. Kaye's shift

   6          change, even though you had these issues and

   7          you wrote that you were going to manage her

   8          out; is that right?

   9                             MS. CANFIELD:   Objection as to

  10                     form.   There's a lot of colloquy and

  11                     it's a compound question, but you

  12                     can answer if you're able.

  13                 Q     The question is, that you had no

  14          part, even though you said that you were

  15          going to manage her out?

  16                             MS. CANFIELD:   Objection as to

  17                     form.   You can answer.

  18                 A     Sorry.    I lost the question.

  19                 Q     The question is, you said that you

  20          had no part in managing Dr. Kaye out, right?

  21                             MS. CANFIELD:   Objection as to

  22                     form.   You can answer.

  23                 A     I did not try to fire Dr. Kaye, if

  24          that's what you're asking.

  25                 Q     Did you ever say you were going to
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                                                                 Page 166
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   2          manage out an Erica Weisman?

   3                 A     I don't recall saying that.         I do

   4          recall that there were -- that I had some

   5          concerns about doctor -- well, yeah, I don't

   6          remember saying that.

   7                 Q     Did Dr. Weisman -- was Dr. Weisman

   8          terminated?

   9                 A     I don't know.      She did not report

  10          to me.

  11                 Q     Who did she report to?

  12                 A     This was at Bellevue?

  13                 Q     Um-hmm.

  14                 A     I think she reported to Allen

  15          Elliot in the psychology department.

  16                 Q     So you had no part in her

  17          departure or her demise?

  18                 A     I did not.     I was not involved

  19          with Dr. Weisman's departure.

  20                 Q     I'm going to leave that for now.

  21                       So you're saying -- so what were

  22          your concerns about Dr. Weisman exactly,

  23          specifically?

  24                 A     This was at Bellevue?

  25                 Q     Just in general.      You said that
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                                                                 Page 167
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   2          you had concerns about her.          What were they?

   3                 A     Right.    But, again, I'm

   4          clarifying, at Bellevue, because I didn't

   5          work with her any other times.

   6                 Q     Okay.    So that would be it.

   7                 A     She sometimes would in meetings,

   8          in my opinion, talk down to some of the

   9          people in the meetings.

  10                 Q     Who was she talking down to?

  11                 A     Well, I don't know.       I can't

  12          recall the names of people.          But, in

  13          general, these would be like in team

  14          meetings where there would be people with

  15          either no degrees or a master's degree,

  16          counselors, therapists.

  17                 Q     And what did Dr. Weisman have?

  18                 A     A PhD and a JD.

  19                 Q     So you believe or perceived that

  20          she felt that she was superior to these

  21          other people; am I right?

  22                             MS. CANFIELD:   Objection as to

  23                     form.   You can answer.

  24                 A     I don't know how she felt.         I was

  25          not happy with the manner of communication
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                                                                 Page 168
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   2          in some of those meetings.

   3                 Q     When you say you weren't happy,

   4          what did you do?

   5                 A     I imagine -- I think I talked to

   6          Erica, to Dr. Weisman directly, and I recall

   7          speaking with Allen Elliot at least once.

   8                 Q     And so when you spoke to them,

   9          what did you tell them?

  10                 A     I don't remember.

  11                 Q     But did Dr. Weisman eventually get

  12          terminated from service?

  13                 A     She left Bellevue, I don't

  14          remember when that was, or if that -- I

  15          don't remember if that was before or after I

  16          left Bellevue.      I don't recall.

  17                 Q     Now, at some point would you

  18          say -- could it be said that Dr. Weisman was

  19          pushed out?

  20                 A     I can't say that.       I don't know.

  21                 Q     Was she pushed out?

  22                 A     I don't know.

  23                 Q     Would you say that Dr. Kaye was

  24          pushed out?

  25                 A     No.
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   2                 Q     Okay.    Why not?

   3                 A     'Cause I have no knowledge of

   4          anybody trying to push her out.

   5                 Q     So you're saying that even though

   6          she expressed to you that this shift change

   7          would have the effect of pushing her out,

   8          and then even though she was -- the shift

   9          change was imposed and she had to continue

  10          to work under those conditions, that she was

  11          not pushed out?

  12                             MS. CANFIELD:   Objection as to

  13                     form.   You can answer.

  14                 A     Is the question, do I think the

  15          shift change was trying to push her out?

  16                 Q     Yes.

  17                 A     No.    I do not have that

  18          understanding.

  19                 Q     Even though she came to you fairly

  20          emotionally and told you that it would?

  21                 A     Once she told me of that, that's

  22          when I started advocating on her behalf to

  23          get it changed.       Again, I was not around for

  24          the initial decision about the shift.

  25                 Q     It's your testimony that you could
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                                                                 Page 170
   1                            E. FORD, M.D.

   2          not get it changed?

   3                 A     My recollection is that we

   4          eventually did change it.         We did change it

   5          eventually.

   6                 Q     Dr. Kaye was still being, made to

   7          work nine hours versus the eight hours that

   8          she was accustomed to working.

   9                 A     Um-hmm.

  10                 Q     So I don't know that that was in

  11          effect.     Now, how did you advocate Dr. Kaye?

  12                 A     I spoke with my boss and I spoke

  13          with HR and I spoke with labor relations.

  14                 Q     So who was your boss?

  15                 A     I believe my boss at the time was

  16          Ross MacDonald.

  17                 Q     Now, your boss was Ross MacDonald.

  18          What did you say to Dr. MacDonald?

  19                 A     I don't remember.

  20                 Q     How many conversations did you

  21          have with Dr. MacDonald about the shift

  22          change?

  23                 A     I don't know how many.

  24                 Q     Who would have been in the

  25          position to say, okay, Dr. Kaye's
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   2          complaining, we'll just let her work the

   3          hours she wants to work, who would have been

   4          able to make that decision?

   5                 A     I think that would have been

   6          Ms. Yang.     I think she ultimately would be

   7          the one that would approve that.

   8                 Q     Did you speak to Ms. Yang?

   9                 A     I think I did.

  10                 Q     What did Ms. Yang say to you?

  11                 A     I believe she said she was aware

  12          it was being handled, something like that.

  13                 Q     She was aware that it was being

  14          handled, but ultimately, you don't know if

  15          it had been addressed; am I right?

  16                 A     Dr. Jain was managing this, so

  17          what I know is what I would hear from him or

  18          what would trickle up.        The specifics of it,

  19          I don't know about.

  20                 Q     How would you say that the

  21          workloads at the various clinics compared to

  22          each other, were they equally busy or were

  23          there differences?

  24                 A     It's -- the reason I'm sort of

  25          hesitating is just because equally busy is
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   2          hard to describe.       There were -- my

   3          impression, and then we looked at data, it

   4          looks like, if I recall correctly, I believe

   5          the Manhattan clinic had the most 730 orders

   6          ordered, which lead to higher volume of

   7          cases.     They also had, I think they also had

   8          the most or close to the most staff.

   9                       Queens I think was slightly

  10          smaller in terms of orders and staff.

  11          Brooklyn and Queens -- I think Brooklyn was

  12          more a part of Manhattan.          And then the

  13          Bronx had many fewer orders and also many

  14          fewer staff.

  15                 Q     Dr. Kaye alleges she was treated

  16          differently because of her complaints,

  17          because she was a woman; would you disagree

  18          with that?

  19                             MS. CANFIELD:   Objection as to

  20                     form.   You can answer.

  21                 A     I would disagree with that.

  22                 Q     Why do you believe that the Bronx

  23          clinic should have had less staff than the

  24          others?

  25                             MS. CANFIELD:   Objection as to
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   2                     form.   You can answer.

   3                 A     I didn't say that I believe they

   4          should have less staff.

   5                 Q     So what was done to address the

   6          issue of the staffing in the Bronx clinic?

   7                             MS. CANFIELD:   Objection as to

   8                     form.   You can answer.

   9                 A     So what I recall is that we tried

  10          to get -- and I think we were successful

  11          with getting either a second line, I recall

  12          we were able to get at least a locum

  13          (phonetic) tenants to be a third evaluator

  14          up at the clinic.

  15                 Q     Third evaluator?

  16                 A     Yeah.    So Dr. Kaye -- there was a

  17          line for psychologist who was -- the person

  18          I remember in that line was Dr. Brayton for

  19          a while and then there was a third -- we got

  20          a locum tenant, and I was trying to get a

  21          permanent line up there.

  22                 Q     Was there ever a time when

  23          Dr. Kaye worked at the Bronx clinic where

  24          there were three evaluators there at the

  25          same time?
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   2                 A     I think there was.       I think there

   3          was a time when Dr. Kaye -- I'm counting

   4          Dr. Kaye as a potential evaluator.           And

   5          Dr. Brayton and Dr. Mullen was a locum.             So

   6          I think --

   7                 Q     What's a locum?

   8                 A     Oh, sorry.     Like a -- the doctor

   9          who's hired on a temporary basis.           They do

  10          three months shifts and stuff.

  11                 Q     So she wasn't a full-time salaried

  12          employee?

  13                 A     Correct.    We were trying to get

  14          that line approved.

  15                           MS. CANFIELD:      Can I interrupt

  16                     for a second.    There's this odd

  17                     dinging every once in a while.        It's

  18                     really interrupting.      I can't hear.

  19                           MS. HAGAN:     I don't know what

  20                     you're referencing.      I don't know.

  21                           MS. CANFIELD:      It seems to be

  22                     coming from you, Ms. Hagan, because

  23                     you --

  24                           MS. HAGAN:     You're not talking

  25                     about the dog, are you, Ms.
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   2                   Canfield?     The dinging is a problem,

   3                   but not the dog.       Is that what

   4                   you're saying?      Because there's been

   5                   a dog that we've heard quite a bit

   6                   and you haven't complained about the

   7                   dog, right?     But you're complaining

   8                   about the phone.       Do not do this

   9                   during my deposition.        Do not.

  10                           MS. CANFIELD:     Ms. Hagan --

  11                           MS. HAGAN:     I have no control

  12                   over the dinging that you claim to

  13                   be hearing.     Okay.    I don't.

  14                           MS. CANFIELD:     I'm asking,

  15                   does anyone else hear it.         Am I just

  16                   the only one hearing it because I

  17                   can't hear the question.

  18                           MS. HAGAN:     It's not

  19                   appropriate to have this

  20                   conversation.

  21                           MS. CANFIELD:     Ms. Hagan, it's

  22                   completely unprofessional.         I'm just

  23                   asking, can we put it on vibrate

  24                   because --

  25                           MS. HAGAN:     Well, apparently,
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   2                   I have no -- I don't know what

   3                   you're talking about, quite frankly.

   4                   That's to begin with.        I don't know

   5                   what you're talking about.         On top

   6                   of that, you're disrupting my

   7                   deposition.     Please stop.      I'm going

   8                   to move on with the --

   9                           MS. CANFIELD:     Excuse me,

  10                   excuse me.     I'm just asking if you

  11                   put it on vibrate.       I'm having a

  12                   hard time --

  13                           Is anyone else hearing a

  14                   dinging or is it on my end?         No one

  15                   else hears a ding.

  16                           THE WITNESS:     I do.

  17                           MS. CANFIELD:     I'm just

  18                   asking, if you can put it on vibrate

  19                   because it's disruptive.         Now, Dr.

  20                   Ford took care of the dog for me.

  21                           MS. HAGAN:     You're being

  22                   disruptive.

  23                           MS. CANFIELD:     Excuse me.

  24                   Your tone is so unprofessional.          I'm

  25                   just asking to put it on vibrate.
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   2                            MS. HAGAN:    And your tone is,

   3                     too.   It's very unprofessional, Ms.

   4                     Canfield.   Very unprofessional and

   5                     intimidating.    The rolling the eyes.

   6                            MS. CANFIELD:    I'm asking to

   7                     put on the vibrate.

   8                            MS. HAGAN:    And is intimidate.

   9                     You're intimidating, Ms. Canfield.

  10                     I'm scared, yes, I'm very

  11                     threatened.

  12                 Q     So now going back on to the

  13          question here.

  14                       Now, we were talk about the

  15          workload at the Bronx clerk clinic versus

  16          the other clinics.       I was asking you about

  17          the staffing.

  18                       And so you said earlier that you

  19          did not -- we were talking about Dr. Mullen

  20          and you said that she's a locum, a locum

  21          hire, am I right, a per diem or temporary

  22          hire; is that right?

  23                            MS. CANFIELD:    Objection.

  24                 A     Yeah.     I think.

  25                 Q     While Dr. Brayton worked at the
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   2          clinic; is that right?

   3                 A     Yeah.    I think that's right.

   4                 Q     So, now, at one point Dr. Kaye

   5          also worked with Dr. Winkler for years; am I

   6          right?

   7                 A     Yeah.

   8                             MS. CANFIELD:   Objection.     You

   9                     can answer.

  10                 A     If I recall correctly, I believe

  11          she and Dr. Winkler were the two evaluators

  12          at the clinic for at least most of the time

  13          I was at Bellevue.

  14                 Q     So let's say in 2009 to 2014

  15          Dr. Winkler was there for the most part of

  16          that time, right?

  17                 A     I think so.     That's what I recall.

  18                 Q     He eventually became deputy

  19          director of the clinic; am I right?

  20                             MS. CANFIELD:   Objection as to

  21                     form.   You can answer.

  22                 A     I don't remember.       I don't

  23          remember.

  24                 Q     But he worked with her as a

  25          full-time staff person up until he left,
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   1                             E. FORD, M.D.

   2          which was in April of 2018; is that right?

   3                             MS. CANFIELD:   Objection as to

   4                     form.   You can answer.

   5                 A     I don't know if he was full-time

   6          or part-time.       So I don't know that.       He --

   7          I remember that he was in the Bronx clinic

   8          at the time when I was at CHS and we were

   9          preparing for the move, for the transfer of

  10          the clinics.       Yes.   I remember that.

  11                 Q     Was there a period of time where

  12          Dr. Kaye was the only full-time employee at

  13          the Bronx clinic after Dr. Winkler left?

  14                 A     Those are details I just can't

  15          remember.

  16                 Q     Did Dr. Kaye ever come to you

  17          complaining about the lack of staff at the

  18          clinic?

  19                 A     Yes.    I think so.     Yes.

  20                 Q     After Dr. Winkler left, who was

  21          hired to work full-time at the clinic?

  22                 A     I don't remember who the -- I

  23          don't remember her -- I can't remember the

  24          order.     I think there were two or three -- I

  25          can't remember the name.         I think it was a
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   2          woman psychologist.

   3                 Q     Was it Dr. Brayton?

   4                 A     I know that she worked at the

   5          clinic.     I don't know if she was the first

   6          one.

   7                 Q     So you're saying that someone

   8          between April of 2018 and December of 2018

   9          that worked at the clinic before Dr. Brayton

  10          was actually hired to work there full-time?

  11                             MS. CANFIELD:   Objection as to

  12                     form.   You can answer if you're

  13                     able.

  14                 A     Yeah.    I'm saying I don't know.        I

  15          recall that Dr. Brayton worked at the

  16          clinic.     The time of her employment there,

  17          that I can't remember.

  18                 Q     Now, how many evaluators are

  19          needed to do a 730 competency exam?

  20                 A     Two.

  21                 Q     So if there was only one full-time

  22          person at the clinic, there could have

  23          potentially been a problem completing these

  24          exams; am I right?

  25                             MS. CANFIELD:   Objection as to
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                                                                 Page 181
   1                             E. FORD, M.D.

   2                     form.   You can answer.

   3                 A     Well, the evaluations -- you need

   4          two evaluators.       They don't have to be at

   5          the same time.       So you could schedule on the

   6          days when people were there.          I believe

   7          there's also -- there was also scheduling

   8          for -- like, I think the exams were

   9          scheduled to coincide with the days there

  10          were two evaluators there.

  11                 Q     Would you say that there was

  12          adequate coverage after Dr. Winkler left the

  13          site?

  14                             MS. CANFIELD:   Objection as to

  15                     form.   You can answer.

  16                 A     I can't speak to the coverage from

  17          July 1st 'til when I came back from the

  18          leave.     So do you mean when I came back?          I

  19          think there was a psychologist in place at

  20          that time.

  21                 Q     So you came back in September of

  22          2018, and your testimony is that there was a

  23          psychologist there at that time?

  24                 A     I think so.

  25                 Q     A full-time psychologist?
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   1                             E. FORD, M.D.

   2                 A     No.    I don't know full-time or

   3          part-time.     I don't remember.

   4                 Q     Do you recall Dr. Kaye ever

   5          complaining to you that there was inadequate

   6          staffing after the court clinic?

   7                 A     Yes.   I do.

   8                 Q     So what happened?

   9                 A     Again, I think as I said earlier,

  10          I advocated for another line at the clinic.

  11                 Q     When you say "advocate," who did

  12          you advocate to?

  13                 A     Dr. MacDonald and Ms. Yang.

  14                 Q     And what happened when you

  15          advocated?

  16                 A     Eventually I think it was

  17          approved.

  18                 Q     Who approved it?

  19                 A     Well, I imagine it was Ms. Yang.

  20          She approved all of the new line sort of

  21          things.

  22                 Q     So in November of 2018, do you

  23          recall Dr. Kaye complaining to you about the

  24          staffing at the clinic?

  25                           MS. CANFIELD:     Objection as to
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   2                     form.   You can answer.

   3                 A     I'm sorry.     When did you say.

   4                 Q     November of 2018.

   5                 A     I don't remember -- I don't

   6          remember if it was then.

   7                 Q     At any point was there a

   8          moratorium declared on the administration

   9          of -- examinations at the clinic?

  10                 A     You mean a time saying they have

  11          to stop?

  12                 Q     Yes.   At the Bronx Court Clinic.

  13                 A     Let's see.     I can't remember if

  14          there were times -- not times, it may have

  15          been once, when we didn't have enough

  16          evaluators and had to schedule -- like had

  17          to not schedule an evaluation a certain day.

  18          But I don't recall saying the clinic is

  19          closed to evals.

  20                 Q     You don't recall.       There is a time

  21          that Dr. Brayton left.        Do you recall that?

  22                 A     I recall that she left.        I don't

  23          know -- I can't remember when.

  24                 Q     Dr. Kaye alleges that from

  25          November 2019 to January 2020 there was a
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                                                                 Page 184
   1                              E. FORD, M.D.

   2          moratorium on evaluations at the clinic.

   3                       Do you recall that being the case

   4          at the time?

   5                             MS. CANFIELD:    Objection as to

   6                     form.    Is this something she alleged

   7                     in the complaint?

   8                             MS. HAGAN:   It doesn't have to

   9                     be.   Can we please keep objections

  10                     to be proper.    It doesn't have to be

  11                     in the complaint, Ms. Canfield.

  12                     Stop it.   Stop it now.

  13                             MS. CANFIELD:    We're entitled

  14                     to know as to what she's complaining

  15                     about.

  16                             MS. HAGAN:   Stop it.

  17                 Q     I'm asking you a question.         Please

  18          answer.

  19                 A     And the question was aware of a

  20          moratorium between December --

  21                 Q     November 2019 and January of 2020.

  22                 A     I don't recall that, no.

  23                 Q     Was there a backlog of cases at

  24          that time at the Bronx Court Clinic?

  25                 A     I don't recall.       There were
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                                                                 Page 185
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   2          backlogs of cases throughout all the clinics

   3          at various times.

   4                 Q     Do you ever recall there being a

   5          backlog of cases at the Bronx Court Clinic

   6          while you were there?

   7                 A     I don't -- I guess the best way to

   8          answer is, I don't have a recollection that

   9          there were never any backlogs at the Bronx

  10          Court Clinic.

  11                 Q     I'm going to bring something to

  12          your attention.       And this will be

  13          Plaintiff's Exhibit 6.

  14                             (Whereupon, Email (NYC_00892)

  15                             was marked as Plaintiff's

  16                             Exhibit 6 for identification as

  17                             of this date.)

  18                 Q     And, for the record, Plaintiff's

  19          Exhibit 6 is Bate Stamped NYC892.           And I'm

  20          going to draw your attention to the bottom

  21          of the email, November 19, 2018.           And it's

  22          from Dr. Kaye, right.        And she said to you,

  23          "Hi, Elizabeth, welcome back.          Looking

  24          forward to seeing you at the directors

  25          meeting on the 30th.        I have some important
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   2          personnel related matters that I need to

   3          discuss with you.       Is there a time prior to

   4          the 30th that we can meet in person."

   5                       You see that, right?

   6                 A     I do.

   7                 Q     Now, did you just come back from

   8          leave at that time?

   9                 A     Well, I wasn't coming back from

  10          the summer leave.       I don't know, maybe I was

  11          on vacation.      I don't know.

  12                 Q     You testified earlier that you

  13          came back from leave in September of 2018;

  14          is that right?

  15                 A     Yup.    That's right.

  16                 Q     So you came back.       I guess there

  17          might have been another time you might have

  18          been out of the office.

  19                       So here on November 20th, you

  20          respond, "Hi, Melissa.        Nice to hear from

  21          you.    Happy to meet with you, but can't do

  22          it the person before the 30th since I'm

  23          overloaded the Rikers responsibilities and

  24          will be on the island every day except

  25          Thursday and Friday.        And if phone possible,
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   2          can we find something next week or only in

   3          person can we meet after the directors

   4          meeting."

   5                       Do you remember having a meeting

   6          with Dr. Ford around this time?

   7                 A     I'm sorry, with Dr. Ford or

   8          Dr. Kaye?

   9                 Q     With Dr. Kaye.      I'm sorry.

  10                 A     That's okay.     Yes.    I believe we

  11          had a meeting on the 30th that was I think

  12          the day of our directors meeting.

  13                 Q     And she clearly wanted to meet

  14          with you about personnel issues.           You recall

  15          that, right?

  16                 A     Yes.   That's what that email says,

  17          yup.

  18                 Q     Right.    Did Dr. Kaye, did she ever

  19          complain that she was unable to move the 730

  20          exams or address the workload at the clinic

  21          because there wasn't a second time full-time

  22          employee like she was used to having?

  23                 A     I recall conversations with

  24          Dr. Kaye where she was talking about the

  25          difficulty of moving cases around because of
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                                                                 Page 188
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   2          staffing.

   3                 Q     And what did you do about that?

   4                 A     I don't -- so I was in

   5          communication with Dr. Jain very closely

   6          about this and Dr. Jain managed that.

   7                 Q     You didn't talk to Dr. Kaye any

   8          more?

   9                 A     I don't remember.       I think I would

  10          have followed up with her, but I don't

  11          remember.

  12                 Q     Now, did there ever come a time

  13          when Dr. Kaye complained about having

  14          Dr. Mundy reflected as her supervisor on

  15          documents?

  16                 A     I saw that in my review of the

  17          emails.

  18                 Q     So you don't remember these

  19          complaints without the review of the emails?

  20                 A     Well, the emails refresh my memory

  21          of that time.

  22                 Q     What did they refresh your memory

  23          about?

  24                 A     I think that Dr. Mundy was

  25          included in a -- like he was cc'd I think as
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                                                                 Page 189
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   2          a supervisor on a -- I don't know, I can't

   3          recall if it was a time issue or a salary

   4          issue or -- it was sort of personal

   5          information that he had been included on

   6          erroneously.

   7                 Q     Had anybody else experienced that?

   8                 A     Not that came to my attention.          So

   9          I don't know if other people did or not.

  10                 Q     Now, at some point did you ever

  11          say -- did you ever ask if you could bring

  12          Dr. Kaye over from Bellevue at the same rate

  13          of pay as Dr. Mundy?

  14                 A     I'm very sorry.       I don't -- could

  15          you repeat the question.

  16                 Q     Were there ever any other staff

  17          persons that had similar, I guess, erroneous

  18          entries of like supervisors that weren't

  19          their supervisors?

  20                             MS. CANFIELD:   Objection as to

  21                     form.   You can answer.

  22                 A     Sure.    I was aware of an error

  23          like that on the treatment side, not the

  24          court clinic side.       And I don't know if it

  25          had happened to other people in the court
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                                                                 Page 190
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   2          clinic or not.

   3                 Q     Then I subsequently asked whether

   4          or not there was an instance where you

   5          advocated that Dr. Kaye get paid the same

   6          amount as Dr. Mundy?

   7                             MS. CANFIELD:   Objection as to

   8                     form.   You can answer.

   9                 A     Yes.    I do believe that I did

  10          that.

  11                 Q     And what happened?

  12                 A     I think -- I can't remember.         I

  13          can't remember if that -- I believe there

  14          was a salary differential of 2,000 between

  15          their two lines.       And I can't recall if

  16          there was something that had to do with the

  17          union versus management.         I can't recall

  18          what happened.

  19                 Q     But here you have Dr. Kaye who had

  20          been working as a director at the center for

  21          20 years, and Dr. Mundy clearly had not been

  22          working there for 20 years, right?

  23                 A     That's correct.

  24                             MS. CANFIELD:   Objection as to

  25                     form.
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   2                 Q     Did you hire Dr. Mundy?

   3                 A     Into the court clinic position?

   4                 Q     Yes.

   5                 A     Sort of.    Oh, did I do that or

   6          Dr. Jain.     I think -- I can't remember.          I

   7          mean, I was aware of his hiring.           I can't

   8          remember which of us.

   9                 Q     Did you sign off on the hire?

  10                 A     I did.

  11                 Q     And so you signed off on the hire

  12          and he was paid on par, if not more than

  13          Dr. Kaye; is that right?

  14                             MS. CANFIELD:   Objection as to

  15                     form.

  16                 A     I don't -- let's see.        I don't

  17          recall what he was hired in at.           I recall

  18          trying to -- gosh, I don't recall.           I recall

  19          trying to be fair with the salary, but I

  20          can't remember what that was.

  21                 Q     So you're not sure about that?

  22                 A     Correct.

  23                 Q     Now, Dr. Kaye alleges that she was

  24          basically demoted when the medical director

  25          title was removed from her title and she was
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   2          made a director.       Would you disagree with

   3          that?

   4                 A     Can you repeat the question.         I

   5          didn't hear it.

   6                 Q     Dr. Kaye says that she was demoted

   7          when she was no longer allowed to put

   8          medical director as her title.

   9                       Would you agree with that?

  10                 A     I would not agree with that.

  11                 Q     Why not?

  12                 A     Because we decided the director

  13          was as a standard title that could be

  14          applied across the clinics, regardless of

  15          somebody's degree.       However, I was fine with

  16          Dr. Kaye using medical director as her

  17          title.     I was fine.

  18                 Q     But she wasn't allowed to do it

  19          any more once this edict was issued, right?

  20                             MS. CANFIELD:   Objection as to

  21                     form.

  22                 A     I was not aware she was not

  23          allowed to use that title.

  24                 Q     I'm going to show you what will be

  25          marked as Exhibit 7.
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   2                              (Whereupon, Email (NYC_000248)

   3                              was marked as Plaintiff's

   4                              Exhibit 7 for identification as

   5                              of this date.)

   6                 Q     Now, Dr. Mundy was still allowed

   7          to be called medical director.          Did you know

   8          that?

   9                             MS. CANFIELD:   Objection as to

  10                     form.   You can answer.

  11                 A     I mean, I thought both were

  12          allowed to be called medical director.

  13                 Q     No.    I'm going to show you what

  14          will be marked as Plaintiff's Exhibit 7.

  15          Plaintiff's Exhibit 7 is a series of email

  16          exchange, I guess would appear to be between

  17          you and Dr. Jain.

  18                       You see this, right?

  19                 A     I see that.

  20                 Q     The Bates Stamp would be NYC00248.

  21          And it starts with, I guess, with an email

  22          from Dr. Jain to you, and it says, "Am I

  23          wrong the court clinic's title is director

  24          rather than medical director or clinical

  25          director.     I actually thought director would
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   2          even be considered higher, administrative

   3          and clinical rather than just clinical.

   4          It's for business cards.         Turning into more

   5          of a thing than I expected."

   6                       Do you remember this?

   7                 A     I remember reading this email in

   8          my review.

   9                 Q     But you don't remember it

  10          happening at the time?

  11                 A     Well, it refreshed my memory some

  12          of the issues.

  13                 Q     You went on to become medical

  14          director at CASES; is that right?

  15                 A     Chief medical officer.

  16                 Q     Right.    But you were also

  17          considered the medical director; am I right?

  18                 A     Not to my knowledge, no.

  19                 Q     Were you ever medical director

  20          after you left CHS?

  21                 A     I was the chief medical officer at

  22          CASES.     That's the only position that I had.

  23                 Q     Are you going to be medical

  24          director subsequent hereto now?

  25                 A     I don't know what my titles are
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   2          going to be actually.        I don't know.

   3                 Q     So earlier when you testified that

   4          you were going to be medical director, that

   5          was inaccurate?

   6                           MS. CANFIELD:     Objection as to

   7                     form and argumentative.

   8                 A     I hope what I said, and if I

   9          didn't it was an error, I said I think my

  10          title might be that, but I haven't started

  11          the position yet, and those details haven't

  12          been finalized.

  13                 Q     Now, Dr. Mundy would be -- is

  14          still allowed to be called medical director.

  15          Are you aware of that?

  16                           MS. CANFIELD:     Objection.

  17                           Ms. Hagan, you're testifying.

  18                     Just ask your questions.

  19                           MS. HAGAN:     No.   Well, your

  20                     objections are improper.       So if

  21                     we're going to have improper

  22                     conduct, we're going to have to call

  23                     it both ways, okay.

  24                           MS. CANFIELD:     Your questions

  25                     are leading.
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   2                             MS. HAGAN:   Who to?    To you.

   3                     And we're not at trial.      So I can

   4                     ask her whatever kind of questions I

   5                     want.   Stop it.

   6                             MS. CANFIELD:   I don't think

   7                     so.

   8                             MS. HAGAN:   I'm going to call

   9                     the Court if you continue, do you

  10                     understand me?     I'm going to call

  11                     the Court.   It's enough.

  12                             MS. CANFIELD:   That's fine.

  13                     As you said, I'm shaking.       Come on,

  14                     go.

  15                             MS. HAGAN:   Yes.   Exactly.

  16                     'Cause I know Judge *Kott --

  17                 Q     So May 29, 2018 you, Dr. Ford,

  18          basically say, "Correct that they are called

  19          directors, but I think at least a few of

  20          them prefer medical, or the psychologist or

  21          clinical or psychologist.          Agree with you

  22          that director makes more sense and is

  23          consistent across clinics, although since

  24          Liz and Melissa functionally transferred,

  25          they may get to keep their titles if they
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   2          really want.       Check with HR.     Did this

   3          happen?"     And you said "sigh."

   4                       Do you see this?

   5                 A     I see that.

   6                 Q     Why did you sigh at the end of

   7          that?

   8                 A     I imagine because it was 5:49 p.m.

   9          and I was -- this was an issue about

  10          business cards, and that I also -- I'm not

  11          sure -- my understanding was that someone

  12          with an MD could keep the medical director

  13          title.     So I think I was also a little bit,

  14          like I'm not sure why this is happening.

  15                 Q     Apparently Dr. Kaye was not

  16          allowed to keep that title, and she

  17          complained about it.        What happened, did you

  18          try to advocate for her on this front, too,

  19          or no?

  20                             MS. CANFIELD:   Objection as to

  21                     form.   You can answer.

  22                 A     I recall hearing from Dr. Jain

  23          which actually looks like it's in that

  24          email, that he was managing it and that it

  25          was resolved.
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   2                 Q     What does it mean, it was

   3          resolved?

   4                 A     Well, let's see.      Let me read the

   5          email.

   6                       It look likes it says, it's fine

   7          with Dr. Kaye, and if it's fine with

   8          Dr. Mundy.     Honestly, I don't know if I read

   9          it -- I don't know if I thought at the time

  10          it's fine to be medical director or it's

  11          fine to be director.

  12                 Q     I don't see where you say where

  13          Dr. Mundy would be fine being called medical

  14          director.     I can read you the email and and

  15          this section here.       It doesn't say anything

  16          about Dr. Mundy being fine with being called

  17          director either.       It just --

  18                           MS. CANFIELD:     Objection.

  19                     Argumentative.    The email speaks for

  20                     itself.

  21                 Q     The email says nothing about

  22          Dr. Mundy being fine with being called

  23          director.     Do you see anything to that

  24          effect in this email, Dr. Ford?

  25                 A     What I read was that it says, but
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   2          she also said it's ultimately fine with her

   3          if it's fine with Dan.        Dan is Dr. Mundy.

   4          That's all I said.

   5                 Q     Right.     But Dan was never called

   6          director, Dan was always called medical

   7          director?

   8                           MS. CANFIELD:     Argumentative.

   9                     Objection.    I don't know if that's a

  10                     question.    Only answer if there's a

  11                     question.    That was not a question.

  12                           MS. HAGAN:     You cannot direct

  13                     her what to say and what to answer.

  14                           MS. CANFIELD:     It wasn't even

  15                     a question.

  16                           MS. HAGAN:     You don't know

  17                     what it was.    And she was going to

  18                     answer the question until you

  19                     interjected and coached the witness.

  20                           MS. CANFIELD:     Unless it's a

  21                     question --

  22                           MS. HAGAN:     It was a question

  23                     and you are coaching the witness.

  24                           MS. CANFIELD:     I am not.

  25                           MS. HAGAN:     I've about had it.
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   1                             E. FORD, M.D.

   2                             MS. CANFIELD:   That's fine.

   3                     Let her answer the question first.

   4                             MS. HAGAN:   And there's a

   5                     question posed.

   6                 Q     Are you aware that Dr. Mundy is

   7          allowed to keep his title of medical

   8          director?

   9                             MS. CANFIELD:   Objection.     You

  10                     can answer.

  11                 A     I was not really aware of this

  12          title issue or that he was allowed or not.

  13          I assumed that both Dr. Mundy and Dr. Kaye

  14          preferred and were able to be called medical

  15          director.

  16                 Q     Did you ever speak to Dr. Kaye

  17          about this issue?

  18                 A     I don't recall if I did or not.          I

  19          don't remember.

  20                 Q     You don't recall if you did or

  21          not.    Do you recall -- you're not sure how

  22          it was resolved, right?         Would that be

  23          accurate?

  24                             MS. CANFIELD:   Objection as to

  25                     form.   You can answer.
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   1                            E. FORD, M.D.

   2                 A     It's correct that I don't know how

   3          it was resolved.       I do remember reading

   4          emails from both Dr. Kaye and Dr. Mundy that

   5          had medical director in their titles.            So I

   6          probably assumed it had been resolved in

   7          that way.

   8                 Q     Now, did there ever come a time

   9          that Dr. Kaye brought to your attention that

  10          she was being unfairly docked pay?

  11                 A     Yes.

  12                 Q     What do you recall about that?

  13                 A     I think that she brought that to

  14          my attention at the same November 30th

  15          meeting -- oh, my gosh.         I'm so sorry.     I

  16          don't know what to do about the dog.

  17                       I recall her saying that she had

  18          taken a board exam, but I don't remember if

  19          it was the regular psychiatry boards or the

  20          forensic boards, and that she had been

  21          docked pay for that time.

  22                 Q     Now, had anybody else been docked

  23          pay for taking board exams?

  24                 A     In my experience ever?

  25                 Q     Well, while you were managing
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                                                                 Page 202
   1                             E. FORD, M.D.

   2          court clinics.

   3                 A     I actually don't know.        I don't

   4          know.

   5                 Q     Did anybody else complain that

   6          their pay had been docked?

   7                 A     Not that I heard.

   8                 Q     So Dr. Kaye was the only person

   9          who raised this issue with you; is that

  10          right?

  11                 A     Yes.    Dr. Jain had told me about

  12          it, but her issue was the only one that I

  13          heard about.       That's right.

  14                 Q     Now, do you remember what exams

  15          that Dr. Kaye was sitting for?

  16                 A     Again, I don't recall which board

  17          exam it was.       Either the general psychiatry

  18          or the -- actually, it could have been child

  19          adolescent.        I think she's boarded in that,

  20          too.    It was a board exam.

  21                 Q     Are there any other CHS staff

  22          members that are triple board certified?

  23                 A     I don't know.

  24                             MS. CANFIELD:   Objection as to

  25                     form.
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 203 of 361


                                                                 Page 203
   1                             E. FORD, M.D.

   2                 Q     Do you know of any other CHS staff

   3          members who were triple board certified?

   4                             MS. CANFIELD:   Objection as to

   5                     form.

   6                 A     Yes.    I know of one, two maybe.

   7          On the other -- not in the court clinics.

   8          And then I know, I think another person is

   9          being hired.

  10                 Q     Was Dr. Mundy triple board

  11          certified?

  12                 A     I don't recall.       He did two

  13          fellowships.       So he may have been triple

  14          board certified.       I don't remember.

  15                 Q     Was Dr. Ciric triple board

  16          certified?

  17                 A     I don't know.      I don't think so.

  18                 Q     Was Dr. Winkler triple board

  19          certified?

  20                 A     Dr. Winkler was a psychologist.

  21          I'm less familiar with the psychology board,

  22          if there's even boards.

  23                 Q     So there are no boards for

  24          psychology, right?

  25                             MS. CANFIELD:   Objection to
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                                                                 Page 204
   1                             E. FORD, M.D.

   2                     form.

   3                 A     I don't know.      I think there is an

   4          exam that's similar to a board, but I don't

   5          know the details.

   6                 Q     Now, did CHS management ever play

   7          a part in influencing the outcome of any

   8          exams while you were there?

   9                 A     Not to my knowledge, no.

  10                 Q     Did CHS management ever express or

  11          follow any particular cases more closely

  12          than others?

  13                 A     There were times when there we

  14          were -- when there somebody who had a long

  15          delay between the order for the 730 and the

  16          evaluation at the various clinics.           I can't

  17          remember where.       But those cases, I only

  18          heard of maybe a couple.         I think Dr. Jain

  19          knew of more.      And we would try to get those

  20          cases completed quickly or faster.

  21                 Q     Now, did like media coverage also

  22          impact how exams were processed?

  23                 A     Not to my knowledge.

  24                 Q     So let's say the Jose Gonzalez

  25          case, the EMT killer case.         Were you aware
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 205 of 361


                                                                 Page 205
   1                             E. FORD, M.D.

   2          of that case?

   3                           MS. CANFIELD:     Can we list

   4                     this as confidential.

   5                 Q     The EMT killer case, are you aware

   6          of that?

   7                 A     It ring some bells.       I couldn't

   8          tell you any details, but I don't know.

   9                 Q     Were you aware that management

  10          wanted him to be found fit?

  11                 A     No.    I was not aware of that.

  12                 Q     You didn't have any part in

  13          following up what was happening with that

  14          particular case during the course of your

  15          employment?

  16                 A     In terms of the outcome of that

  17          case?

  18                 Q     Yes.

  19                 A     No.    I did not.

  20                 Q     Were you aware that there was a

  21          contra version exam -- a contra version

  22          hearing, I'm sorry?

  23                 A     Now that you say it, it's

  24          reminding me that maybe that was correct,

  25          but I don't know.
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                                                                 Page 206
   1                            E. FORD, M.D.

   2                 Q     What do you remember about the

   3          contra version hearing?

   4                 A     Just that as you say it, I'm

   5          thinking that there might have been a contra

   6          version.     That's like literally all I can

   7          remember.

   8                 Q     We'll go back to that.

   9                       Now, Dr. Kaye also talked about

  10          being a victim of harassment in terms of her

  11          credentialing and fishing emails.           Do you

  12          remember that?

  13                 A     My memory was refreshed by looking

  14          at some of the emails that related to -- I

  15          was forwarded an email that had to do with,

  16          I think request for licensing and

  17          credentialing stuff on a very short time

  18          line.

  19                 Q     Now, were other directors

  20          subjected to that short time line, as far as

  21          licensing and credentialing?

  22                 A     I don't know.

  23                 Q     Dr. Kaye, there was a question as

  24          to whether or not this information was lost.

  25                       Were you aware of that?
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                                                                 Page 207
   1                             E. FORD, M.D.

   2                             MS. HAGAN:   Objection as form.

   3                     You can answer.

   4                 A     Aware that the credentials had

   5          been lost?

   6                 Q     Well, Dr. Kaye alleged that all

   7          this information was on file, and during the

   8          course of the email exchange there was a

   9          question as to whether or not that

  10          information had been, you know, I guess

  11          lost.

  12                             MS. CANFIELD:   Is that a

  13                     question?

  14                 Q     I'm asking, Dr. Ford, do you

  15          remember any of those kind of conversations?

  16                             MS. CANFIELD:   Object as to

  17                     form.   Go ahead.

  18                 A     I don't remember conversations

  19          about credentials being lost.

  20                 Q     Well, do you recall Dr. Kaye being

  21          concerned about the nature of the emails and

  22          the questioning that they were requiring

  23          from her?

  24                 A     I do recall that, yes.

  25                 Q     And what did you do?
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                                                                 Page 208
   1                             E. FORD, M.D.

   2                 A     So those -- my recollection is

   3          that Dr. Jain was managing that and that --

   4          but mostly HR and -- and then I stopped

   5          hearing about it, so I feel like it got

   6          resolved.

   7                 Q     Could it be fair to say that --

   8          I'm going to ask you.

   9                       Dr. Kaye views this as a

  10          retaliatory action, in retaliation of her

  11          complaint.     She amended her EEOC charge in

  12          September of 2018, and here it is in

  13          December 3rd, 2018, management is asking her

  14          all these questions about her credentials.

  15          Now, she's alleging that there is

  16          retaliation that took place here.

  17                       Would you disagree with that?

  18                             MS. CANFIELD:   Objection.

  19                 A     I don't have any knowledge of

  20          retaliation.

  21                 Q     So, now, in this instance, what

  22          did you do to ensure that Dr. Kaye was not

  23          being a victim of identify theft?

  24                             MS. CANFIELD:   Objection as to

  25                     form.   You can answer.
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                                                                 Page 209
   1                             E. FORD, M.D.

   2                 A     What did I do personally?

   3                 Q     Yeah.    Did you look into it

   4          yourself?

   5                 A     No.    I did not look into the

   6          identity theft personally.         I communicated

   7          with Dr. Jain to keep me updated on whatever

   8          investigation was happening.          I'm not sure

   9          who does that, HR or, I'm not sure, IT, I

  10          can't remember who.        What I did was talk

  11          with Dr. Jain about keeping me updated until

  12          it was resolved.

  13                 Q     Now, at some point did you say it

  14          would be better for you to respond to

  15          Dr. Kaye about this instead of Dr. Jain?

  16                             MS. CANFIELD:   Objection as to

  17                     form.   You can answer.

  18                 A     I don't know.      Did I --

  19                 Q     I'm going to help you.

  20                 A     I don't remember.

  21                 Q     I'm going to help you out,

  22          Dr. Ford.

  23                 A     Okay.    Thank you.

  24                 Q     I'm going to show you what's

  25          marked as Plaintiff's Exhibit 8.
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   1                            E. FORD, M.D.

   2                             (Whereupon, Email

   3                             (NYC_000969-970) was marked as

   4                             Plaintiff's Exhibit 8 for

   5                             identification as of this date.)

   6                 Q     And it bears the Bate Stamp series

   7          NYC969 through 970.        So at the bottom of the

   8          email, it's an email from, I guess, Justine

   9          McGranaghan.      Do you remember this person?

  10                 A     Vaguely.

  11                 Q     And then there's Dr. Jain and then

  12          there's a Keisha Bailey.

  13                       "As discussed, my colleague Maria

  14          Oliver has now updated Melissa Kaye's

  15          information on PeopleSoft to reflect that

  16          she reports" -- different emails.           Okay,

  17          here it is.

  18                       Then, "FYI, I should briefly reply

  19          all to Dr. Kaye's email with this updated

  20          information."      Right?    This is from Dr. Jain

  21          to you and Mr. Wangel.

  22                       Do you see that?

  23                 A     I do see that, yup.

  24                 Q     Then you suggest, "How would you

  25          suggest I reply to Melissa or better for you
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                                                                 Page 211
   1                             E. FORD, M.D.

   2          to do it.     Would prefer to see -- I guess

   3          you meant, see -- leave Beesh out of this.

   4                 A     I think I meant to keep, but, yes,

   5          I do see that.

   6                 Q     Why do you say you prefer to keep

   7          Beesh out of this?

   8                 A     Because I -- let's see.        Can we --

   9                 Q     Did you want to go further up or

  10          down?

  11                 A     No.   Sorry.     To the first part of

  12          the thread.

  13                 Q     Okay.    Sure.

  14                 A     So this is related to the reports

  15          to and Dr. Mundy getting that information.

  16                       My understanding is this about the

  17          email that was erroneously sent with a CC to

  18          Dr. Kaye.     And that -- I don't know -- I

  19          actually don't know why I wrote to the

  20          prefer -- my guess is that it was because I

  21          was responsible for the org chart, like the

  22          ultimate org chart and the reporting and --

  23                 Q     So it wasn't because they had an

  24          acrimonious relationship, she and Dr. Jain?

  25                 A     Not that I recall.       This -- not
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                                                                  Page 212
   1                            E. FORD, M.D.

   2          that I recall.      There was -- Dr. Kaye had

   3          told me on that November meeting that she

   4          was having some troubles with Dr. Jain.

   5                 Q     What did she say?

   6                 A     Well, again, I can't remember the

   7          specifics.     Something about getting along or

   8          him not being sensitive to her.           I can't

   9          remember.     I'm sorry.

  10                 Q     At any point did Dr. Kaye tell you

  11          that Dr. Jain was destroying his handwritten

  12          notes of exams?

  13                 A     I think she may have told me

  14          that -- I think she may have told me that.

  15          I'm not sure if I heard it from her or

  16          someone else.

  17                 Q     Is that a class E felony?

  18                 A     I have no idea.

  19                 Q     When that was brought to your

  20          attention about Dr. Jain allegedly

  21          destroying his notes, what did you do?

  22                 A     I spoke with Dr. Jain, and I spoke

  23          with -- I think I spoke with Mr. Wangel, and

  24          Dr. Jain had the notes.         I think I recall --

  25          he had the notes, so they hadn't been
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                                                                 Page 213
   1                             E. FORD, M.D.

   2          destroyed.

   3                       I recall there was concern that

   4          the notes had been removed from a file or

   5          they had gone missing.        And that I recall

   6          the notes appeared again and -- that's what

   7          I recall.

   8                 Q     Did any lawyers complain to you

   9          about Dr. Jain?

  10                             MS. CANFIELD:   Objection as to

  11                     form.   You can answer.

  12                 A     I'm trying to think.       Not that I

  13          can -- I don't think so.         Not that I

  14          remember.

  15                 Q     So you never heard any complaints

  16          from Legal Aid Society or any of the other

  17          defense community about Dr. Jain?

  18                 A     No.    Not that I remember.

  19                 Q     Did you hear any other complaints

  20          about Dr. Brayton from any of the defense

  21          community?

  22                 A     No.    I don't think so.

  23                 Q     Did you hear any complaints about

  24          the moratorium or exams from the complaints

  25          community?
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   1                             E. FORD, M.D.

   2                             MS. CANFIELD:   Objection as to

   3                     form.   You can answer.

   4                 A     Yeah.    I don't recall moratorium,

   5          but I don't remember hearing from any

   6          attorneys, I guess you call it moratorium.

   7                 Q     What about work stoppage?

   8                 A     I don't recall hearing from any

   9          attorneys about that.

  10                 Q     What about judges?

  11                 A     No judges.     Sorry.    I don't recall

  12          hearing from any judges about that either.

  13                 Q     Now, I'm going to show you what

  14          will be marked as Plaintiff's Exhibit 9.

  15                              (Whereupon, Email

  16                              (NYC_002869-2870) was marked as

  17                              Plaintiff's Exhibit 9 for

  18                              identification as of this date.)

  19                 Q     So Plaintiff's Exhibit 9 is --

  20          before I move on.       Did Peter Jones from

  21          Legal Aid Society ever talk to you about the

  22          court clinics?

  23                 A     I'm sorry.     What was the name?

  24                 Q     Peter Jones.

  25                 A     That name is not familiar to me.
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                                                                  Page 215
   1                              E. FORD, M.D.

   2                 Q     So you don't know Peter Jones from

   3          Legal Aid Society?

   4                 A     Peter Jones.     I don't remember

   5          that name.     I don't remember that name.

   6                 Q     I'm going to continue.        So I'm

   7          going to mark this as Exhibit 9.           And it's

   8          going to be -- it bears the Bates series

   9          NYC2869 to NYC2870.        It starts with a

  10          message from Andrea Swenson to Dr. Jain.

  11                       You see that, right?

  12                 A     Yes.    I see that.

  13                 Q     And Ms. Swenson's complaining

  14          about Dr. Kaye.       She says, "Hello, please

  15          help me with something.         These timekeeping

  16          reports have become a problem.          Dr. Kaye

  17          does not want to be treated like a secretary

  18          and responsible for giving Dr. Brayton her

  19          timekeeping report.        She thinks this is a

  20          secretary's job and that she is being

  21          treated like a secretary.         She says that

  22          physicians are the reason why I and Lucrecia

  23          have a job and she should be treated like

  24          one."      Right.

  25                       Now, did you have a problem with
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 216 of 361


                                                                 Page 216
   1                             E. FORD, M.D.

   2          what Ms. Swenson said or alleged against

   3          Ms. Swenson?

   4                             MS. CANFIELD:   Objection as to

   5                     form.   You can answer.

   6                 A     Sure.    I don't -- I wasn't on this

   7          email.     I learned of this, I can't remember

   8          when I learned of it.        If you have a thread

   9          maybe I --

  10                 Q     -- this part.      I don't know when

  11          or whatever.

  12                       So you said you don't remember --

  13          now, Dr. Ford, do you recall an allegation

  14          of unprofessional conduct or complaint of

  15          unprofessional conduct being made against

  16          Dr. Kaye regarding this incident?

  17                 A     I recalling learning about this

  18          incident from Dr. Jain.         And then at some

  19          point I recall having access to this email.

  20          I can't remember at what point.           And then I

  21          recall discussing with, I think it was

  22          Dr. MacDonald, who was my supervisor.            And I

  23          think it was -- I heard reports from

  24          Dr. Jain about updates.         I feel like it

  25          was -- and I think it was investigated.
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                                                                 Page 217
   1                             E. FORD, M.D.

   2                 Q     What was unprofessional about this

   3          email, about -- was it unprofessional that

   4          Dr. Kaye said she did not want to be treated

   5          like a secretary?

   6                             MS. CANFIELD:   Objection as to

   7                     form.   You can answer.

   8                 A     Sure.    I guess I would say it

   9          depends on the tone, but I don't think it's

  10          unreasonable for a physician to say that

  11          they are not a secretary.

  12                 Q     Is it unprofessional for her to

  13          say that she's the reason that Ms. Swenson

  14          has a job and Lucrecia have jobs?

  15                 A     I do find that unprofessional.

  16                 Q     Is it unprofessional or is it

  17          offensive?

  18                 A     I'm sorry, is it?

  19                 Q     Unprofessional or offensive.

  20                 A     I think things that are offensive

  21          are also unprofessional.         So it goes with

  22          both.

  23                 Q     So if someone offends you, it's

  24          your opinion that it's unprofessional?

  25                             MS. CANFIELD:   Objection as to
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                                                                 Page 218
   1                             E. FORD, M.D.

   2                     form.   You can answer if you're

   3                     able.

   4                 A     Well, let's see.      So I think --

   5          being offended by is an individual response.

   6          So I think people can have varying responses

   7          to statements that may or may not be

   8          offensive.     My understanding was that

   9          Lucrecia felt offended.

  10                       But was Lucrecia there when this

  11          exchange took place?

  12                 A     My understanding is that she was,

  13          but I don't -- actually, no, I take that

  14          back.      I don't remember completely, but

  15          that's what I recall.

  16                 Q     Now, I would like to bring your

  17          attention to this portion of it.

  18                       "She would further like to know if

  19          Dr. Mundy, Owen and Winkler are being

  20          treated like secretaries and asked to

  21          distribute administrative paperwork."

  22                       So, first and foremost, were

  23          Dr. Mundy and Owen and Winkler being

  24          required to sign off on time sheets?

  25                 A     I don't remember, but I think yes.
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                                                                 Page 219
   1                             E. FORD, M.D.

   2                 Q     Oh, you do?

   3                 A     I think for their staff, for the

   4          clinical staff.

   5                 Q     Was Dr. Brayton Dr. Kaye's staff

   6          person?

   7                 A     She was -- thank you for

   8          refreshing with this question line.            I

   9          actually, now that I think about it, I don't

  10          remember if it was operations -- I'm sorry.

  11          There was an administrative side and a

  12          clinical side to each clinic.          And I

  13          actually, now that you bring it up to me, I

  14          can't recall if the administrative, like the

  15          head administrator signed everyone's time

  16          sheets or just the administrative people.

  17                 Q     Who was the head administrator?

  18                 A     For all the court clinics?

  19                 Q     Um-hmm.    Yes.

  20                 A     I think it was Andrea Swenson at

  21          this time.

  22                 Q     So when did this administration

  23          function come into play?

  24                             MS. CANFIELD:   Objection as to

  25                     form.
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                                                                 Page 220
   1                            E. FORD, M.D.

   2                 A     My recollection is that in the

   3          conceptualization of the clinics prior to

   4          the transfer, the org charts were created to

   5          have clinical side and administrative side.

   6                 Q     And when did that happen?

   7                 A     When did the org chart get

   8          discussed or when did it get implemented?

   9                 Q     When did it get implemented.

  10                 A     I believe it was implemented at

  11          the time that the clinics transferred over

  12          to CHS.

  13                 Q     Now, and that's -- I mean, that

  14          didn't happen all at once.         Some of that

  15          happened, I guess, in the summer months, I

  16          mean, prior to July 2018 when the Bronx

  17          actually was transferred, and there were

  18          others that were earlier; am I right?

  19                 A     The Brooklyn and Queens clinic

  20          transferred over in the -- I think the end

  21          of April of 2018.

  22                 Q     Right.    Now, she also writes, "She

  23          thinks she's not being taken seriously as a

  24          physician if she comes off of payroll, it's

  25          criminal.     I told her that we talked about
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                                                                 Page 221
   1                            E. FORD, M.D.

   2          Teleakie, and that Jessica responded and she

   3          said I was lying.       We have known about this

   4          since March and have done nothing."

   5                       Do you recall any of that?

   6                 A     I don't recall this other than

   7          just reading this email.         I don't recall --

   8          yeah.      I don't recall anything further,

   9          other than what you're showing me on the

  10          screen.

  11                 Q     So then I'm going to scroll up

  12          some, Dr. Ford.

  13                       Dr. Jain says, unfortunately --

  14          FYI, unfortunately -- and he's emailing you

  15          at this point.

  16                       I did not get this until later in

  17          the day, but Andrea, Clarence and Carlos

  18          were able to work something out to address

  19          these concerns regarding Dr. Kaye.           Andrea

  20          called me more recently and described that

  21          Dr. Kaye continued for 40 minutes.           It was a

  22          tense environment throughout the day.

  23          Dr. Brayton and Lucrecia were also present

  24          at the clinic, right?        Do you remember that?

  25                 A     I see this email and I remember
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                                                                 Page 222
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   2          that this event sort of happened.

   3                 Q     Now, he talks about Dr. Kaye's

   4          refusal, alleged refusal to see more than

   5          two people a day.       I guess at some point

   6          they must have requested that she see three.

   7                       Now, also there is more

   8          information regarding interactions between

   9          Mr. Bloom and Drs. Brayton and Mullan that

  10          recently I learned, and that we should

  11          discuss -- I guess there's a typo here --

  12          let me know when you next have some time.

  13          Sorry to email this late on a Friday, but

  14          didn't want to sit on it anymore and keep

  15          you informed."

  16                       Are you remembering any more after

  17          hearing that?

  18                 A     Well, it looks like I forwarded

  19          this email to Dr. MacDonald and Mr. Wangel.

  20                 Q     But that part seems to be missing.

  21                 A     Yeah.    I don't recall anything

  22          over the weekend or further about that.

  23                 Q     Just for the record, I call for

  24          production of the email that Dr. Ford

  25          forwarded to Drs. Ross and Mr. Wangel.
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   2                           MS. CANFIELD:     It's right

   3                   there.

   4                           MS. HAGAN:     It's not right

   5                   there.    That's not true.       It's not

   6                   there.

   7                           MS. CANFIELD:     It's right

   8                   above -- this is all we have.

   9                           MS. HAGAN:     No.   That's not

  10                   true.    I'm going to follow up in

  11                   writing.

  12                           MS. CANFIELD:     Ms. Hagan, it

  13                   says forward --

  14                           MS. HAGAN:     It does not say

  15                   forward.     It does not.

  16                           MS. CANFIELD:     The subject

  17                   says forward.

  18                           MS. HAGAN:     It's not there.

  19                   I'm not going to go back and forth

  20                   with you.     I will followup in

  21                   writing.

  22                           MS. CANFIELD:     We'll take it

  23                   under advisement, but everything has

  24                   been produced.

  25                           MS. HAGAN:     It has not been
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   2                     produced and you know it hasn't.         So

   3                     let's go.

   4                 Q     June 3rd, Dr. MacDonald says to

   5          you, Dr. Ford, that, "I agree assistance

   6          with Bronx."      Do you see that?

   7                 A     I do.

   8                 Q     Now, there seems to be somewhat of

   9          a gap here again.       We'll followup in

  10          writing.

  11                       Then at 8:00 a.m. the next day, on

  12          June 4th, a Mr. Wangel chimes in, "We'll

  13          draft a separate writeup in addition to the

  14          unauthorized recording.         Can be served

  15          simultaneously."

  16                       Do you remember that?

  17                 A     I saved this email.       Yeah.    I

  18          remember hearing from Jonathan that they

  19          would be managing this piece from here on.

  20                 Q     But you are actually responsible

  21          for giving her these different writeups; am

  22          I right?

  23                 A     My understanding, and I think I

  24          learned about this a few weeks later, what I

  25          thought I was supposed to do was like
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   2          actually give Dr. Kaye the pieces of paper.

   3                       I mean, I didn't know that I was

   4          supposed to do that, but I was told that,

   5          and then we scheduled a time to do that.

   6                 Q     So you scheduled a time for you to

   7          actually give her the actual writeup; am I

   8          right?

   9                 A     Yes.   That's correct.

  10                 Q     And do you know what happened

  11          during that time?

  12                 A     During the meeting?

  13                 Q     Yes.

  14                 A     Sort of.    And I also -- there's an

  15          email, I think, that I sent, that I reviewed

  16          that helped refresh, but I believe it was

  17          the beginning of July that we met.           I

  18          remember that we met in the clinic, in the

  19          Bronx clinic.

  20                       I believe Dr. Kaye's

  21          representation was there, who's name I can't

  22          remember, I'm sorry, and Clarence Muir was

  23          there also, who was -- I think he might

  24          have -- I can't remember his official title.

  25          I believe he was part of operations.             And I
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   2          remember -- I don't remember how long it

   3          lasted.

   4                       I remember that Dr. Kaye told me

   5          that this was the first or close to the

   6          first time she was hearing about this, and

   7          had a lot of -- I don't know of a lot.             I

   8          remember that she had questions about the

   9          process of how this had all -- I think about

  10          how the letter had been created.           And I

  11          didn't have a lot of those answers.

  12                       And she had questions about the HR

  13          and labor processes, that I also didn't have

  14          a lot of answers -- I'm not sure I had any

  15          answers about.      And she had a concern that

  16          she had not been told about this prior to

  17          receiving a letter.        And I think she also

  18          sign -- I don't remember if she signed it at

  19          that time, but I do recall that she

  20          eventually signed it under protest.

  21                 Q     At any point did Dr. Kaye tell you

  22          that she believed that this letter was in

  23          retaliation for her lawsuit?

  24                 A     I don't remember if she said that

  25          or not in that meeting.         Sorry.
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   2                 Q     Now, as far as this memo is

   3          concerned, right, did you ever speak to

   4          Dr. Kaye and get her version of what

   5          transpired between she and Ms. Winston and

   6          Ms. Persuad?

   7                 A     I don't think that I did.         I know

   8          Dr -- my recollection is that Dr. Jain had

   9          those discussions and spoke to me about

  10          those.     And I was under the impression that

  11          conversations were -- that this was being

  12          managed by labor.

  13                 Q     If it was managed by Dr. Jain and

  14          labor, why are you giving her the memo?

  15                 A     So I was not clear about that.

  16          And I recall talking with labor and HR about

  17          that.      And I think, unfortunately, after the

  18          fact, I can't remember why or if I thought

  19          to inquire prior to delivering it.

  20                 Q     Now, I'm going to, I guess, show

  21          you another exhibit, because I have some

  22          questions, and this is the actual memo.

  23                           MS. CANFIELD:     Ms. Hagan, is

  24                     it possible after this line of

  25                     questioning that we can take a
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   2                     break, like five minutes?

   3                           MS. HAGAN:     Yeah.   I'd like to

   4                     get through this, though.

   5                           MS. CANFIELD:     Like I said,

   6                     after this, please.

   7                             (Whereupon, Memo (NYC_002978)

   8                             was marked as Plaintiff's

   9                             Exhibit 10 for identification as

  10                             of this date.)

  11                 Q     The date is June 6, 2019.         It's

  12          from you, Dr. Ford, to Dr. Kaye.

  13                       Do you see at that?

  14                 A     I see that, yes.

  15                 Q     Now, did you participate in the

  16          drafting of this memo at any point?

  17                 A     I did not.

  18                 Q     So why did you agree to give this

  19          to Dr. Kaye?

  20                 A     I don't know.

  21                 Q     You weren't there when any of

  22          allegations in this memo took place; am I

  23          right?

  24                 A     You mean was I present at the

  25          time?
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   2                 Q     You had no firsthand knowledge as

   3          to what happened that lead to this --

   4                 A     That's correct.

   5                 Q     And you didn't write this memo; am

   6          I right?

   7                 A     That's correct.

   8                 Q     Now, it's dated June 6.        You see

   9          that, right?

  10                 A     I see that.

  11                 Q     But everybody who is there signed

  12          on July 1st, 2019.       You see that, right?

  13                 A     I see that.

  14                 Q     Why is there a discrepancy between

  15          the date that it was actually allegedly sent

  16          by you to Dr. Kaye and the date that

  17          everyone signed?

  18                             MS. CANFIELD:   Objection as to

  19                     form.   You can answer.

  20                 A     Sure.    So my recollection is that

  21          I received -- I can't -- I don't know -- I

  22          wasn't part of the drafting of those, so I

  23          can't speak to the June 6th date.           And I

  24          look -- I refreshed my mind with the emails

  25          that I saw.        It appeared that I got notified
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   2          somewhere in the middle of June that it was

   3          my responsibility to deliver these.            And I

   4          believe it took -- I believe Dr. Kaye was on

   5          leave at that time, and July 1st, once she

   6          got back, we scheduled this was the earliest

   7          we could do.

   8                 Q     Now, you're signing off on this,

   9          but you had absolutely no firsthand

  10          knowledge about any of these things; am I

  11          right.

  12                             MS. CANFIELD:   Objection as to

  13                     form.   You can answer.

  14                 A     It's correct that I have no

  15          firsthand knowledge.        I did have knowledge

  16          that there had been a investigation, and

  17          this was the recommendation from the

  18          investigation.

  19                 Q     Who conducted the investigation?

  20                 A     I don't remember who.        I have a

  21          recollect -- I think it went to the office

  22          of compliance -- I'm going to get the name

  23          wrong.     I think there was a corporate

  24          compliance investigation.

  25                 Q     Do you recall any of the other
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   2          employees that may have been involved in, I

   3          guess, what lead up to this memo?

   4                 A     No.

   5                 Q     Do you know who drafted the memo?

   6                 A     I don't recall who specifically,

   7          but I believe it was drafted by labor

   8          relations.

   9                 Q     And who was in charge of labor

  10          relations at the time?

  11                 A     I think it was Jonathan Wangel.

  12                 Q     And --

  13                 A     I think.

  14                 Q     So you're not sure if it was

  15          Jonathan Wangel, but you believe it could

  16          have been?

  17                 A     I think -- yeah.      I'm not sure,

  18          but I think it was.

  19                 Q     Who's Mr. Muir?

  20                 A     That's Clarence Muir.        He's the

  21          operations gentleman who was with me at the

  22          meeting.     And, as I said earlier, I can't

  23          recall if he was the head of the

  24          administrative part of the clinics at that

  25          time, or at a higher level.          I don't
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   2          remember.

   3                 Q     Now, you don't remember Dr. Kaye

   4          specifically saying this memo's because she

   5          filed a lawsuit?

   6                 A     I don't remember her saying that.

   7                 Q     Now, did Ms. Swenson report to

   8          Mr. Muir?

   9                 A     That's what I don't remember.          I

  10          think so.     There were -- I think so.         There

  11          is a lot of -- this is a while ago.

  12                 Q     Did Mr. Muir report to Mr. Wangel?

  13                 A     I don't believe so.       I believe Mr.

  14          Muir reported to Carlos Castillanos who was

  15          the head of operations.

  16                 Q     Now, this particular memo, the

  17          allegations of unprofessional conduct can

  18          have a big impact on a physician's career;

  19          am I right?

  20                           MS. CANFIELD:     Objection.

  21                     Conclusion.   You can answer.

  22                 A     I don't know if a kind of memo

  23          like this -- this doesn't -- my

  24          understanding of this is it was like a

  25          warning.     I don't think this -- this doesn't
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   2          get reported anywhere.          I certainly didn't

   3          report it.

   4                 Q     It doesn't say warning on the memo

   5          at all, does it?

   6                             MS. CANFIELD:   Objection as to

   7                     form.   Maybe you can show her the

   8                     entire document.

   9                 Q     Do you see the word warning

  10          anywhere in this document?

  11                             MS. CANFIELD:   Objection as to

  12                     form.   You can answer.

  13                 A     If you can just show me.

  14                 Q     I'm going to search so we can look

  15          for it right now, warning.

  16                             MS. CANFIELD:   I think going

  17                     forward you're expected to adhere to

  18                     the NYC Health and Hospital

  19                     principals of professional conduct.

  20                     I think that is a warning of putting

  21                     someone on notice.

  22                             MS. HAGAN:   You're testifying

  23                     for the record, Ms. Canfield.        This

  24                     document say nothing about a

  25                     warning.
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   2                 Q     Do you see the word warning in

   3          here?

   4                             MS. HAGAN:   And do not coach

   5                     the witness again.

   6                             MS. CANFIELD:   Objection as to

   7                     form.

   8                 Q     Is the word warning in this

   9          document?

  10                 A     If you could just scroll up so I

  11          can see the top.

  12                 Q     Sure.

  13                 A     Let's see.     I don't see a warning.

  14          That was my understanding of what it was.

  15          And there was communication after this --

  16          after the meeting I had with Dr. Kaye, where

  17          I emailed HR and labor to ask why they

  18          weren't there.       And there was some

  19          explanation that this was considered a

  20          warning or a pre-discipline.

  21                 Q     Is pre-discipline written in this

  22          memo?

  23                             MS. CANFIELD:   Objection as to

  24                     form.   That's not what she

  25                     testified, but go ahead, you can
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                                                                 Page 235
   1                             E. FORD, M.D.

   2                     answer.

   3                 A     I don't see that in here, no.

   4                 Q     Now, have you ever heard of the

   5          term disruptive physician, Dr. Ford?

   6                 A     Disruptive physician?

   7                 Q     Yes.

   8                 A     No.     I haven't heard that as a

   9          formal term of art.        No.

  10                 Q     Have you ever heard of physicians

  11          being brought up on charges of

  12          unprofessional conduct or being a disruptive

  13          physician?

  14                 A     I know that there is the office

  15          for -- well, I can't remember the title, but

  16          it's basically about physician misconduct.

  17          There's a state reporting about that.

  18                 Q     Are you aware that Dr. Kaye is

  19          obligated to report that she has this

  20          document in her personnel file?

  21                             MS. CANFIELD:   Objection as to

  22                     form.   You can answer.

  23                 A     Sure.    I am not aware that she

  24          would have to report this, no.

  25                 Q     Would you report this if you had
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   1                             E. FORD, M.D.

   2          this document in your personnel file?

   3                 A     Probably not.

   4                 Q     So if you were applying for a

   5          license in another state, you would not

   6          report this document in your personnel file?

   7                 A     Well, I guess, what I first do is

   8          consult with somebody who knows better than

   9          I what should be reported, but because this

  10          doesn't relate to patient care, and it's not

  11          a discipline, I don't think this is a -- I

  12          don't think this is a reportable thing.             So

  13          I guess that's my answer.          I would consult

  14          first before I do anything.

  15                 Q     At any point did you tell

  16          Dr. Kaye's union representative that this

  17          was, I guess, a preliminary step toward

  18          termination?

  19                             MS. CANFIELD:   Objection as to

  20                     form.

  21                 A     No.    Not that I remember.

  22                 Q     You allege that -- you recall that

  23          Dr. Kaye told you that she had not received

  24          any kind of progressive discipline before

  25          getting this particular document.
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   2                       Do you recall that.

   3                             MS. CANFIELD:   Objection as to

   4                     form.

   5                 A     What I recall is that she said

   6          that nobody had talked to her about it, like

   7          before this letter arrived.

   8                 Q     And you hadn't talked to her about

   9          it, including yourself, right?

  10                             MS. CANFIELD:   Objection as to

  11                     form.

  12                 A     That's correct.

  13                             MS. HAGAN:   Let's take 15

  14                     minutes.   You said you wanted to

  15                     take a break.

  16                             MS. CANFIELD:   Thank you.

  17                              (Whereupon, a recess was taken

  18                              from 3:33 p.m. to 3:53 p.m.)

  19                 Q     Dr. Ford, I'm just going to ask

  20          you some general questions.

  21                       Now, do you recall a time in

  22          January 2014 that Dr. Kaye complained to you

  23          and Doctor's Council about age

  24          discrimination amongst female physicians?

  25                 A     I don't recall -- no.        I don't
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   1                             E. FORD, M.D.

   2          remember that.

   3                 Q     Now, you said you left Bellevue in

   4          July.      Was July 2, 2014 the actual time that

   5          you left Bellevue to go to CHS?

   6                 A     I think July 2nd was my last day

   7          at Bellevue.       And then I didn't -- I took

   8          the summer, and then started at CHS on

   9          September 2nd, or somewhere around there,

  10          2014?

  11                 Q     Now, Dr. Kaye -- we went over

  12          earlier that Dr. Kaye complained about

  13          redacted medical records.          Do you recall

  14          whether Dr. Ciric, Winkler and/or Mundy

  15          complained about the redacted medical

  16          records as well?

  17                 A     I don't recall -- yeah.        I don't

  18          recall.

  19                 Q     Now, Dr. Collin, did he actually

  20          also complain?

  21                             MS. CANFIELD:   Objection as to

  22                     form.

  23                 A     I don't know.

  24                 Q     Did you hear complaints about

  25          redacted medical records from any of the
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   2          male evaluators and/or managers at CHS at

   3          the time?

   4                 A     Gosh, I can't recall.        I'm sorry.

   5          I can't remember.

   6                 Q     Now, I'm going to continue on the

   7          line of, I guess discipline, and some of the

   8          adverse employees action that Dr. Kaye

   9          experienced.

  10                       Now, is it your testimony that the

  11          unprofessional conduct memo was not

  12          retaliatory for Dr. Kaye's lawsuit?

  13                 A     It was not my understanding that

  14          that was retaliatory.

  15                 Q     How did you feel when you found

  16          out that Dr. Kaye filed a lawsuit against

  17          you and the other managers at CHS?

  18                 A     Not great.

  19                 Q     Well, explain.      Elaborate.

  20                 A     Well, it doesn't feel good to be

  21          sued.      So I did feel like I had tried my

  22          very best to advocate for her requests.

  23          Yeah.

  24                 Q     Did you feel that the base she

  25          alleged you engaged in were untrue?
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   2                 A     As I mentioned before, my

   3          recollection of reading the complaint is

   4          that there were areas in there that I did

   5          not think were correct.

   6                 Q     Like what?

   7                 A     So I'd have to look.       If we could

   8          look at the complaint.

   9                 Q     We'll get to that.       But I'm just

  10          trying to base off your memory.

  11                 A     Sure.    I can't give you those

  12          details, unfortunately.         But I remember

  13          reading and thinking that's -- I don't agree

  14          with that.

  15                 Q     By the time the lawsuit was filed,

  16          how would you describe your relationship

  17          with Dr. Kaye?

  18                 A     And if you could just remind me,

  19          the lawsuit was filed when?

  20                 Q     There was the amended complaint,

  21          and there were a number of things.           Let's

  22          say the amended complaint was filed -- the

  23          amended complaint was filed in April 30,

  24          2019.

  25                           MS. CANFIELD:     Do you know
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   1                             E. FORD, M.D.

   2                     when it was served?

   3                           MS. HAGAN:     That was around

   4                     that time, so yes.

   5                 A     So the question is, what was my

   6          relationship with Dr. Kaye like at that

   7          point?

   8                 Q     Yes.   In April, May of 2019.

   9                 A     I don't recall that it was any

  10          different than at any other time in our

  11          working relationship.

  12                 Q     So it didn't impact your

  13          relationship either way; is that what you're

  14          testifying?

  15                 A     I'm sorry.     What didn't impact?

  16                 Q     The lawsuit.

  17                 A     No.    I mean, it didn't impact my

  18          professional relationship with her.

  19                 Q     What about your feelings toward

  20          Dr. Kaye, were you angry with her by that

  21          point?

  22                 A     I was not angry with Dr. Kaye.          I

  23          do strongly believe in everybody's -- I do

  24          strongly believe that if someone feels a

  25          grief, they can file a lawsuit.           So that
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   2          is -- I felt -- I guess I felt disappointed.

   3                 Q     Disappointed, what do you mean?

   4                 A     Probably the best feeling.

   5                 Q     Disappointed in who?

   6                 A     I don't know if I was disappointed

   7          with anybody.      Just that the situation was

   8          as it was.

   9                 Q     Have you ever been sued before,

  10          Dr. Ford?

  11                 A     Not to my knowledge, no.

  12                 Q     Has anyone ever accused you of

  13          discrimination in the past?

  14                 A     Nope.

  15                 Q     Has anyone filed a grievance

  16          against you in the past?

  17                 A     Not that I'm aware of.

  18                 Q     Now, getting back to the

  19          unprofessional conduct memorandum that we

  20          were talking about earlier.          I want to draw

  21          your attention to that.

  22                       It says, memorandum serves as a

  23          notice of other staff -- well, let's move on

  24          from that.     I'm sorry, I didn't mean to go

  25          back to that.      I'm sorry.
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   1                             E. FORD, M.D.

   2                       I want to talk about recording

   3          exams.     Let's go back to this.       So this will

   4          be marked as Plaintiff's Exhibit 11.

   5                             (Whereupon, May 29, 2019 Exam

   6                             Recording was marked as

   7                             Plaintiff's Exhibit 11 for

   8                             identification as of this date.)

   9                 Q     This is the audio recording of

  10          730 competency evaluations.          You see that,

  11          right?

  12                 A     No.   I don't see anything on the

  13          screen.

  14                 Q     Oh, I'm sorry.      Let me do the

  15          share again.       I'm sorry.

  16                       The recording of the exam, right.

  17          And here it is, May 29, 2019.

  18                       You see that, right?

  19                 A     I do.

  20                 Q     We just established that the

  21          complaint was filed on April 30, 2019.            You

  22          saw that, right?

  23                 A     I heard you say that, yes.

  24                 Q     Right.    So on May 29th, there's a

  25          memo from you, Dr. Ford, to Dr. Kaye,
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   2          regarding the audio recording of 730

   3          competency evaluations.

   4                       You see that, right?

   5                 A     I see that.

   6                 Q     Did you write this memo?

   7                 A     I did not write this memo.

   8                 Q     Did you have a part in writing the

   9          memo?

  10                 A     I did not have a part in writing

  11          this memo.

  12                 Q     Again, why are you signing and

  13          issuing these memos that you didn't have any

  14          part in writing?       Did you have a right to

  15          say, no, I'm not going to do this because I

  16          didn't write it?

  17                 A     So I guess -- I was certainly

  18          aware of the issues that had been presented

  19          as problematic and that there was, again, I

  20          think it was corporate compliance and

  21          investigation, and that the recommendation

  22          had been to issue a form like this.

  23                       I was the responsible -- I mean, I

  24          was the head of the service.          And while I --

  25          and I also agreed that these were both, in
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   2          my opinion, inappropriate things to have

   3          done.      I was surprised, it is true, to learn

   4          that this was the first, at least according

   5          to Dr. Kaye, this was the first she had

   6          heard of these things.

   7                 Q     So first and foremost, you didn't

   8          write this memo, did you participate in any

   9          kind of process to develop the language in

  10          the memo?

  11                           MS. CANFIELD:      Objection.

  12                     Asked and answered.      You can answer

  13                     again.

  14                 A     Yeah.    I was not involved in

  15          drafting this memo.

  16                 Q     Was anyone involved that had any

  17          background in psychiatry or psychology in

  18          drafting this memo?

  19                 A     I don't know.

  20                 Q     Do you know who wrote the memo?

  21                 A     Again, as I answered -- this was

  22          the same for the other memo that we talked

  23          about, I don't remember -- I don't know or

  24          remember -- actually, I don't remember.             I

  25          probably knew at the time who wrote it.
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                                                                 Page 246
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   2                 Q     Did anyone come to you to ask you

   3          about what was the standard practice in

   4          forensic psychiatry as it pertained to

   5          recording exams?

   6                           MS. CANFIELD:     Objection.     You

   7                     can answer.

   8                 A     I had discussion with -- yes.          I

   9          believe I spoke with Dr. MacDonald,

  10          Ms. Yang, Mr. Wangel.        Certainly I remember

  11          speaking with Dr. Jain.         And he did some

  12          research into standards of practice about

  13          recording.     And I did agree that recording

  14          defendants evaluation without their consent

  15          seemed at least unethical.         I don't know if

  16          there's a specific law that makes it

  17          illegal.

  18                 Q     Did you tell Dr. Kaye that

  19          Mr. Wangel was a (inaudible) --

  20                 A     I don't -- not that I remember.            I

  21          don't know.

  22                 Q     Now, I'm going to get into the

  23          substance of it.       This memo serves as a

  24          notice that you inappropriately recorded the

  25          730 competency evaluation without
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                                                                 Page 247
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   2          authorization.

   3                       Why was her recording of the 730

   4          competency evaluation inappropriate?

   5                 A     In my opinion, and this is in my

   6          opinion, it has to do with notifying the

   7          defendant that they're being recorded.            I

   8          don't know if the Office of Corporate

   9          Compliance found another reason that it was

  10          inappropriate.

  11                 Q     Now, you didn't tell Dr. Kaye that

  12          because she didn't notify the defendant that

  13          she had recorded the exam that it was

  14          inappropriate?       Did you tell her that?

  15                             MS. CANFIELD:   Objection as to

  16                     form.

  17                 A     Could you rephrase that, please.

  18                 Q     Did you tell Dr. Kaye that you

  19          found her recording the exam without consent

  20          inappropriate?

  21                             MS. CANFIELD:   Objection as to

  22                     form.   You can answer.

  23                 A     I don't -- I probably told her

  24          that during that meeting, the July 1st

  25          meeting.
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   1                            E. FORD, M.D.

   2                 Q     So why isn't that reflected in

   3          this document, it's from you?          There's

   4          nothing that talks about consent in here.

   5                           MS. CANFIELD:     Objection,

   6                     argumentative.    You can answer.

   7                 A     Yeah.    So without -- it says, this

   8          memo serves as a notice that you

   9          inappropriately recorded without

  10          authorization, meaning consent.           That's how

  11          I interpret it.

  12                 Q     That's what you said, but you

  13          didn't write this, so you're not sure what

  14          it means; am I right?

  15                           MS. CANFIELD:     Objection.     You

  16                     can answer.

  17                 A     My understanding from

  18          conversations with the various folks I spoke

  19          with and said it, I essentially meant that.

  20                 Q     Who are the various folks that you

  21          spoke with?      Because I'm assuming that they

  22          contributed to the authoring of this

  23          document.

  24                 A     Well, I'm not assuming that they

  25          contributed to it, but the people that I
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                                                                 Page 249
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   2          spoke with were Dr. MacDonald, Ms. Yang,

   3          Mr. Wangel, Dr. Jain.        Maybe there were

   4          others.     I think I spoke also with

   5          Drs. Barbara and Subetti, because I know

   6          they both have histories of doing forensic

   7          evals.     And I spoke with Dr. Garcia, who

   8          also has -- and just trying to see what

   9          their understanding of recording was.

  10                 Q     Isn't Dr. Garcia a psychologist

  11          and not a psychiatrist?

  12                 A     She is.    In my opinion, it doesn't

  13          matter for this purpose.         They both are

  14          doing 730 exams.

  15                 Q     You're saying that you believe

  16          that Ms. Garcia has knowledge about the

  17          standards and practice in this particular

  18          field; is that right?

  19                 A     My understanding and my

  20          recollection is that Dr. Garcia, who's a

  21          PHD, has experience doing 730 evaluations.

  22                 Q     Now, did there ever come a time

  23          that Ms. Garcia's role in the 730 process

  24          was questioned by Dr. Jain?

  25                 A     I think there was -- Dr. Jain
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   2          mentioned something about that to me.            I

   3          don't remember the details, but I think that

   4          that -- I think Dr. Kaye did bring that up

   5          to him.

   6                 Q     We're to going revisit that.

   7          Because I want to keep focused on this.

   8                       Now, your unauthorized recording

   9          of private health information -- first off,

  10          before I go into that.        You do know that New

  11          York is a one party consent state; is that

  12          right?

  13                             MS. CANFIELD:   Objection as to

  14                     form.

  15                 A     I just learned that on Thursday.

  16                 Q     So New York is a one party consent

  17          state.     Meaning, that the other person

  18          doesn't have to consent to be recorded.

  19                       You understand that, right?

  20                 A     I understand that -- what I was

  21          told on Thursday was that you can record

  22          someone without their consent, or that was

  23          not illegal.

  24                 Q     Okay.    So you may have deemed it

  25          inappropriate, but it was not illegal; is
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                                                                 Page 251
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   2          that right?

   3                 A     Yeah.    I'm not sure we -- I

   4          thought it was inappropriate, and I thought

   5          it was unethical at the time.

   6                 Q     You don't say unethical -- well,

   7          you don't say anything, because you didn't

   8          write this, but it's coming from you, right,

   9          Dr. Ford?

  10                             MS. CANFIELD:   Objection as to

  11                     form.   Argumentative.     Go ahead.

  12                 A     Sure.    I interpreted my delivery

  13          of this letter as sort of presenting it to

  14          Dr. Kaye.     It is true that it says from me.

  15          My interpretation of that was that somewhat

  16          proforma because I was the head of services.

  17                 Q     Then you go, "Your unauthorized

  18          recording of private health information is

  19          in violation of CHS custom and practice."

  20                       We're not going to go back through

  21          this.      Now, unauthorized, you're saying that

  22          the person who would have authorized, if

  23          they could have, let's say, would have been

  24          the defendant or the inmate; am I right?

  25                 A     Certainly, yes, that would be one
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                                                                 Page 252
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   2          of them.     At the time, I was not -- again,

   3          didn't know about this one party recording

   4          thing, but in my mind, it was also, again,

   5          not illegal, but it would have been

   6          appropriate to notify the examiners and the

   7          defense attorney as well.

   8                 Q     Have you ever notified anyone that

   9          you can record this?

  10                             MS. CANFIELD:   Objection as to

  11                     form.

  12                 A     I have never recorded anyone.

  13                 Q     You have never recorded anyone; is

  14          that what you said?

  15                 A     That's what I said.

  16                 Q     Why not?

  17                 A     I don't know.      I don't know.

  18                 Q     Now, then you have recording of

  19          private health information.          And you do know

  20          that the clinics are HIPPA exempt, you know

  21          that, right?

  22                 A     I understand that they are not

  23          healthcare delivery systems.

  24                 Q     Wouldn't that be irrelevant, the

  25          private health information portion of this
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   1                             E. FORD, M.D.

   2          memo?

   3                             MS. CANFIELD:   Objection as to

   4                     form.

   5                 A     Wouldn't that -- would the

   6          private -- well, what this memo appears to

   7          be saying is related to CHS, not related to

   8          HIPPA criminal law.

   9                 Q     You're referencing private health

  10          information.       What does that have to do with

  11          the exam itself?

  12                             MS. CANFIELD:   Objection as to

  13                     form.   Argumentative.     You can

  14                     answer.

  15                 A     Is your question that -- is your

  16          question that there's no private health

  17          information in these exams?

  18                 Q     Why -- I don't know how you can

  19          answer or speak to the contents of this to

  20          some extent, because you didn't write this,

  21          but it did come from you.

  22                       So the question is, why would this

  23          language regarding the private health

  24          information be appropriate for this memo?

  25                             MS. CANFIELD:   Objection as to
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   1                             E. FORD, M.D.

   2                     form.   Asked and answered.      You can

   3                     answer again.

   4                 A     Sure.    It's an important point you

   5          raised that I did not write this memo.            So

   6          the specific language and the decisions

   7          around that language, I can't shed a whole

   8          lot of light on that for you.          I can tell

   9          you my personal opinion about the recording.

  10                 Q     I'm going to keep going, then.

  11                       Now, the CHS custom and practice.

  12          Where did this evolve?        How did you learn of

  13          the CHS custom and practice?

  14                 A     So, again, I didn't write the

  15          memo.

  16                 Q     Do you recall there being a CHS

  17          custom and practice against recording?

  18                 A     I recall having conversations with

  19          many of the people that I just told you

  20          about to ascertain recording practices

  21          across all the clinics.

  22                 Q     At any point did you ask Dr. Kaye

  23          if there was a custom and practice against

  24          recording yourself?

  25                 A     I don't believe that I asked her.
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   2          I think Dr. Jain asked her.          I think he also

   3          asked the other clinic directors.

   4                 Q     Dr. Kaye has been working at the

   5          clinic longer than anybody involved in this

   6          lawsuit.     Would you agree with that?

   7                 A     Yes.

   8                 Q     Based on that, would you believe

   9          that she would probably be most the privy as

  10          to what the custom and practice at CHS would

  11          be as it pertains to whether or not forensic

  12          evaluations could be recorded?

  13                             MS. CANFIELD:   Objection as to

  14                     form.   You can answer.

  15                 A     Actually, no, because she was only

  16          part of CHS at this time for less than a

  17          year.

  18                 Q     Did CHS conduct forensic

  19          evaluations prior to their merging of the

  20          court clinics?

  21                             MS. CANFIELD:   Objection as to

  22                     form.   You can answer.

  23                 A     I don't think so.

  24                 Q     So let's be clear.       CHS was not

  25          doing any court evaluations prior to the
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                                                                 Page 256
   1                             E. FORD, M.D.

   2          merger of the forensic court clinics?

   3                 A     I believe that's correct, yes.

   4                 Q     Now, you go on to the next

   5          paragraph:     "As a provider of mental health,

   6          substance abuse and general medical

   7          services, CHS is protected by restrictive

   8          patient confidentiality laws."          Okay.

   9                       "Violation of these

  10          confidentiality laws may lead to civil and

  11          criminal penalties, as well as progressive

  12          disciplinary action through CHS."

  13                       So CHS is protected by these

  14          restrictive patient confidentiality laws,

  15          but you agree with, that the court clinics

  16          themselves were not subject to these

  17          confidentiality laws; am I right?

  18                             MS. CANFIELD:   Objection as to

  19                     form.

  20                 A     The most clear answer I can give

  21          you is that I am not entirely sure what the

  22          confidentiality laws are specifically

  23          related to the clinic.

  24                 Q     Are the clinics bound by any

  25          confidentiality laws, to your knowledge?
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   1                             E. FORD, M.D.

   2                             MS. CANFIELD:   Objection as to

   3                     form.   You can answer.

   4                 A     I don't know.      That's a good

   5          question.

   6                 Q     So here you're saying that they're

   7          bound by them, but you're not sure.

   8                       Now, violation of these

   9          confidentiality laws may lead to civil and

  10          criminal penalties as well as progressive

  11          disciplinary action through CHS.

  12                       Again, you're not sure about the

  13          confidentiality laws that would be

  14          applicable in this context; would that be

  15          right?

  16                             MS. CANFIELD:   Objection as to

  17                     form.   You can answer.

  18                 A     I did not write this memo.

  19                 Q     But you're not sure about them.

  20                       This memo is saying that Dr. Kaye

  21          could -- could lead to civil and criminal

  22          penalties, which is quite menacing language;

  23          would you agree?

  24                             MS. CANFIELD:   Objection.     You

  25                     can answer.
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                                                                 Page 258
   1                             E. FORD, M.D.

   2                 A     Would I agree this is menacing

   3          language.

   4                 Q     Or punitive in nature, would you

   5          say?

   6                           MS. CANFIELD:     Objection.

   7                 A     I would not call this punitive.          I

   8          would just call -- this, to me, is a

   9          description of the disciplinary process that

  10          was drafted by the person who wrote this.

  11          To me, this doesn't sound punitive.            Just

  12          sounds like --

  13                 Q     So you wouldn't be affected by

  14          this, if you received this memo?

  15                 A     Would I be affect -- I would not

  16          like to receive this memo.

  17                 Q     No, you wouldn't.

  18                 A     No.

  19                 Q     You would be upset; am I right?

  20                 A     I don't know what I would be.          But

  21          I would be under advisement, if I got this

  22          memo.

  23                 Q     And then, "You are hereby reminded

  24          that protecting the confidentiality of our

  25          patients is a term condition of employment
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                                                                 Page 259
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   2          and should be treated seriously by all staff

   3          in the execution of their duties."

   4                       You see that, right?

   5                 A     I do see that.

   6                 Q     Now, these inmates that Dr. Kaye

   7          was evaluating, are they patients?

   8                             MS. CANFIELD:   Objection as to

   9                     form.

  10                 A     Sure.    So in the capacity of

  11          being evaluated for an evaluation, they are

  12          not Dr. Kaye's patients, they are defendants

  13          that she's evaluating.

  14                 Q     So she's not administering

  15          treatment; is that right?

  16                 A     I believe that that's correct.          I

  17          do not believe evaluations are considered

  18          treatment.

  19                 Q     So the term patient is inaccurate,

  20          that should not be there; am I right?

  21                             MS. CANFIELD:   Objection as to

  22                     form.   You can answer.

  23                 A     Sure.    I don't -- I didn't draft

  24          it.

  25                 Q     But, again, it should not be
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   1                              E. FORD, M.D.

   2          there.     I'm not asking if you drafted it.

   3          This is inappropriate?

   4                 A     Yeah.    I don't know if it should

   5          be there or it shouldn't be there.

   6                 Q     Is the term patient inappropriate

   7          if Dr. Kaye is not treating anyone?

   8                             MS. CANFIELD:    Objection.    She

   9                     just answered she doesn't know.        You

  10                     can answer again.

  11                 A     I will say again, I did not write

  12          this letter.

  13                 Q     Let's be clear.       These inmates

  14          that Dr. Kaye was interviewing, these

  15          inmates were not her patients; am I right?

  16                             MS. CANFIELD:    Objection as to

  17                     form.    Argumentative now and

  18                     harassing the witness, but you can

  19                     answer.

  20                 Q     I'm going to ask you again.         These

  21          patients, these inmates that Dr. Kaye was

  22          seeing, they were not her patients; am I

  23          right?

  24                             MS. HAGAN:   Objection.     Keep

  25                     going.
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   1                             E. FORD, M.D.

   2                 A     The people that Dr. Kaye would

   3          evaluate at the clinic are not considered

   4          her patients.

   5                 Q     So she wouldn't be bound by HIPPA;

   6          am I right?

   7                             MS. CANFIELD:   Object to the

   8                     form.   You can answer.

   9                 A     I don't know the answer.        I don't

  10          know.

  11                 Q     You were director of this program.

  12          You mean to tell me that you didn't know if

  13          the clinics themselves were bound by HIPPA?

  14                             MS. CANFIELD:   Objection to

  15                     form.   Harassing.    You can answer.

  16                 A     So one of the important reasons

  17          that I hired and posted for a position for

  18          somebody to run these clinics, was because

  19          this was not my area of expertise over the

  20          course of my career.        And I do not

  21          remember -- I don't remember the specifics

  22          of the confidentiality.

  23                 Q     You managed the clinics from 2009

  24          to 2014; that's right?

  25                             MS. CANFIELD:   Objection to
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   2                     form.

   3                 A     Yeah.

   4                 Q     And then you managed the clinics

   5          for another, I guess, two years, from 2018

   6          to 2020; is that right?

   7                 A     Well, I was the indirect

   8          supervisor of the supervisor.

   9                 Q     That's six years.       During the

  10          course of those six years you would not say

  11          that you have a level of expertise and

  12          familiarity as to the clinics and their

  13          operations?

  14                             MS. CANFIELD:   Objection.

  15                     Argumentative.

  16                 A     I would not say that.        What I

  17          would say is that I'm not an expert on the

  18          confidentiality laws.        In my practice of

  19          that and my discussions, we tried to keep

  20          everything within the -- the evaluations

  21          were in the presence of the defense attorney

  22          and the evaluators and trainees, and those

  23          reports were kept -- were sent to the

  24          courts.     And if the -- there wasn't a whole

  25          lot of communication of that stuff outside
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   2          of those areas.

   3                 Q     Well, would it be fair to say that

   4          Dr. Kaye was falsely accused of breaching

   5          patient's confidentiality since she was not

   6          treating patients?

   7                             MS. CANFIELD:   Objection as to

   8                     form.   You can answer.

   9                 A     I can't answer that.

  10                 Q     Why not?

  11                 A     In my reading of this thing that

  12          you have up here, it says, "You are hereby

  13          reminded that protecting the confidentiality

  14          of our patients," so you are reminded of it.

  15          I'm not sure that I see in here that she's

  16          being accused of what you just said.

  17                 Q     Well, she was not dealing with

  18          patients, so that is false, isn't it?

  19                             MS. CANFIELD:   Objection.

  20                     Asked and answered.

  21                             Can we move on.

  22                             MS. HAGAN:   No.

  23                 Q     It's false --

  24                             MS. CANFIELD:   You can answer

  25                     again, Dr. Ford.
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   1                              E. FORD, M.D.

   2                 Q     It is false that it was alleged

   3          that Dr. Kaye was involved with patients;

   4          isn't that right?

   5                 A     All I can say is I don't see

   6          something in this memo that says Dr. Kaye

   7          was treating patients.

   8                 Q     Right.    So it's false?

   9                           MS. CANFIELD:      Objection.

  10                 Q     It says, "You are hereby reminded

  11          that protecting the confidentiality of our

  12          patients is a term in condition of

  13          employment."

  14                       Now, if she's not treating

  15          patients, how is that a term of condition of

  16          her employment?

  17                 A     I don't have an answer for you

  18          other than what I've described for you

  19          already.

  20                 Q     Dr. Ford, isn't it false that

  21          treating patients would be a term of

  22          condition of Dr. Kaye's employment?

  23                           MS. CANFIELD:      Objection.

  24                     Asked and answered at least three

  25                     times.   She just said she didn't
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                                                                 Page 265
   1                             E. FORD, M.D.

   2                     know.

   3                             MS. HAGAN:   She does know.

   4                 Q     Dr. Kaye did not treat patients,

   5          right?

   6                 A     I know that Dr. Kaye did not treat

   7          patients in the court clinics.

   8                 Q     Right.     She did not.    So this

   9          would be false; am I right?

  10                             MS. CANFIELD:   Objection.

  11                     Misleading.   Objection.     You can

  12                     answer.

  13                 Q     Yes or no.

  14

  15                             MS. HAGAN:   And you can say

  16                     objection.

  17                 A     I can say what, I'm sorry?

  18                 Q     I'm objecting for Ms. Canfield.

  19          Keep going.

  20                 A     "You are hereby reminded that

  21          protecting the confidentiality is a term and

  22          condition of employment and should be

  23          treated seriously by all staff in the

  24          execution of your duties."         You're asking me

  25          if that's a false statement?
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                                                                   Page 266
   1                              E. FORD, M.D.

   2                 Q     Yes.

   3                 A     Gosh, I am literally -- I don't

   4          know how to answer this other than to tell

   5          you that I do agree that these were not

   6          patients to Dr. Kaye.

   7                       This is language from a labor

   8          relations -- this is labor relations stuff,

   9          and -- I mean, I don't know if this is

  10          boilerplate language.        I don't know.

  11                 Q     So the private health information

  12          specifically, does that implicate HIPPA, in

  13          your view?

  14                           MS. CANFIELD:      Objection.

  15                     Asked and answered.      You can answer

  16                     again.

  17                           MS. HAGAN:     I never asked that

  18                     question.   Please stop --

  19                           MS. CANFIELD:      You did.    I

  20                     think she testified that this is not

  21                     HIPPA, it's confidentiality.

  22                           MS. HAGAN:     I never did.     I

  23                     asked a different question.

  24                 Q     The private health information, is

  25          this part of HIPPA, does it implicate HIPPA?
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                                                                 Page 267
   1                            E. FORD, M.D.

   2                 A     When I think of private health

   3          information, which I thought about prior to

   4          HIPPA, but when I think about private health

   5          information now, I do think of HIPPA.

   6                 Q     Okay.    Now, isn't it also true

   7          that you falsely accused HHC of a HIPPA

   8          violation that didn't occur?

   9                           MS. CANFIELD:     Objection.     You

  10                     can answer.

  11                 A     I don't know what -- I don't know.

  12                 Q     In this instance, HHC, if she has

  13          unauthorized -- engaged in unauthorized

  14          recording of private health information, and

  15          you said that you would think of HIPPA prior

  16          to maybe HIPPA being a thing, then wouldn't

  17          that be the same?

  18                           MS. CANFIELD:     Objection.

  19                     Answer if you can.

  20                 A     I couldn't hear the last part of

  21          the question.

  22                 Q     Okay.    Now, you're saying that

  23          HIPPA was implicated, as far as you are

  24          concerned, with the reference to the private

  25          health information in the memo; am I right?
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   1                              E. FORD, M.D.

   2                           MS. CANFIELD:      Objection.    You

   3                     can answer.

   4                 A     What I'm saying is that when I

   5          hear the phrase private health information,

   6          I think about HIPPA.

   7                       In this memo, I'm not sure that I

   8          thought one way or the other about HIPPA.             I

   9          was concerned about the recording.

  10                 Q     Now, again, could it be construed

  11          that this is a false report?

  12                 A     That -- I'm sorry, that what was a

  13          false report?

  14                 Q     First off, you're accusing her of

  15          something that implicates the violation of

  16          private health information.          The

  17          unauthorized recording of private health

  18          information.        Doesn't that allude to a HIPPA

  19          violation?

  20                           MS. CANFIELD:      Objection.

  21                     Asked and answered.      You can answer

  22                     again.

  23                 A     Again, I was -- in this memo, I

  24          was focused on the authorized recording.

  25          And I was not aware of private health
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   1                            E. FORD, M.D.

   2          information was some CHS language or

   3          something else.       I don't know.

   4                 Q     I'm going to keep going.

   5                       "Going forward, you are expected

   6          to adhere to CHS confidentiality statement

   7          attached.     Follow all confidentiality

   8          protocols and apply sound judgment in the

   9          execution of your duties."

  10                       Now, the confidentiality

  11          statement, that did not exist prior to the

  12          issuance of this memo; am I right?

  13                 A     I don't -- gosh, I don't know.          I

  14          don't remember.       I think there was -- I

  15          don't know, it was around this time that

  16          that confidentiality statement was created.

  17          I don't remember if it was before or after

  18          May 29th.

  19                 Q     So then you have, "You are to

  20          expressly avoid the unauthorized recording

  21          of any confidentiality patient health

  22          information."

  23                       Again, the term patient; am I

  24          right?

  25                 A     It does say patient.
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   1                            E. FORD, M.D.

   2                 Q     Yes.   "Failure to comply may

   3          result in administrative action up to and

   4          included termination of employment."

   5                       You see that, right?

   6                 A     I see that.

   7                 Q     Now, would you consider this to be

   8          a disciplinary document?

   9                 A     So as for the other document that

  10          we went through, I don't -- I considered

  11          this to be a warning.        Like a heads up,

  12          please don't do this again.

  13                 Q     So you're saying this is not

  14          disciplinary?

  15                 A     In my opinion, yes, it was -- when

  16          I spoke with or communicated with labor

  17          relations after the fact, I was told this

  18          was pre-discipline.

  19                 Q     It's not written in this document

  20          that it's pre-discipline; is that right?

  21                 A     I agree that pre-discipline is not

  22          written in here.

  23                 Q     Did you tell Dr. Kaye that this

  24          was a pre-disciplinary memo?

  25                 A     I don't remember what my language
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                                                                 Page 271
   1                            E. FORD, M.D.

   2          was.    I imagine that I had said warning, but

   3          I don't know.      I don't recall.

   4                 Q     Now, again, this document is dated

   5          May 29, 2019.      You see that, right?

   6                 A     I do.

   7                 Q     And, again, you have here that

   8          everyone is signing on July 1st, 2019.            You

   9          see that, right?

  10                 A     I do.

  11                 Q     Why is this document dated well

  12          over a month prior to?

  13                 A     So, again, as for the other

  14          document that was dated in early June, I

  15          was -- I don't know why this was dated

  16          May 29th, since I didn't draft the document.

  17          I recall receiving notification that I was

  18          responsible for delivering this to Dr. Kaye

  19          sometime in the middle of June.           And then

  20          July 1st was the first time that we could

  21          meet in person.

  22                 Q     Now, didn't you feel compelled as

  23          the messenger of this document, at this

  24          level in your career, to insist upon

  25          documents being accurate?
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                                                                 Page 272
   1                             E. FORD, M.D.

   2                             MS. CANFIELD:   Objection to

   3                     form.   You can answer.

   4                 A     Yeah.    I did read the document,

   5          and I reviewed it and I was focused on

   6          the -- I did agree that, in my opinion, it

   7          seemed unauthorized.        And I was aware that

   8          the corporate compliance had determined

   9          this.      And I assumed that this was standard

  10          language for this kind of thing.

  11                 Q     For any number of reasons,

  12          couldn't that document be considered a false

  13          report?

  14                 A     I don't know.      What do you mean?

  15                             MS. CANFIELD:   Objection.

  16                 Q     Well, there are a number of things

  17          that Dr. Kaye would say that were untrue in

  18          that document.       Now, if, in fact, she's

  19          right, wouldn't that be considered a false

  20          report?

  21                 A     I can't -- I don't know if it

  22          would be a false report.

  23                 Q     What's a false report, as far as

  24          you're concerned?

  25                             MS. CANFIELD:   Objection.     You
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   1                            E. FORD, M.D.

   2                     can answer.

   3                 A     I don't know.      I have no -- you're

   4          talking about if there's like a formal

   5          definition of it, but I imagine a false

   6          report is something that is documenting

   7          something as fact that is not.

   8                 Q     Well, according the Office of

   9          Professional Conduct, for a physician to

  10          make a false report, that can basically

  11          cause you to lose your license.           You're

  12          aware of that, right?

  13                           MS. CANFIELD:     Objection.      You

  14                     can answer if you can.

  15                 A     Let's see.     A false report --

  16          yeah.      I mean, that sounds right.       I don't

  17          know if it's related to the specific like

  18          patient encounters or -- obviously Medicaid

  19          fraud is a false report, those kind of

  20          things.

  21                 Q     Also in this instance where you

  22          have a document that falsely accuses another

  23          practitioner or has false allegations in it,

  24          that would be considered a false report,

  25          would you agree?
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   1                             E. FORD, M.D.

   2                             MS. CANFIELD:   Objection as to

   3                     form.   You can answer.

   4                 A     So I can't comment on this being a

   5          false report or not.        This was a -- my

   6          understanding is this was a result of an

   7          investigation.

   8                 Q     Did you see any investigatory

   9          documents yourself?

  10                 A     I did not.     I believe I was not --

  11          I believe that was confidential.

  12                 Q     So you're delivering a document on

  13          behalf -- based on, in your capacity, on

  14          investigation, you have no idea and

  15          knowledge about; am I right?

  16                             MS. CANFIELD:   Objection as to

  17                     form.   You can answer.

  18                 A     I'm delivering a document -- I

  19          delivered a document that was created by the

  20          labor relations department, which I trusted,

  21          and it was based on an investigation that

  22          the Office of Corporate Compliance, who I

  23          assumed does good investigations had done.

  24                       So are you asking if I believed

  25          that what they had done?
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                                                                 Page 275
   1                            E. FORD, M.D.

   2                 Q     I mean, I would think you would

   3          want to read this document, read whatever

   4          investigatory report that the Office of

   5          Corporate Compliance wrote before you gave

   6          this document under your name to Dr. Kaye;

   7          wouldn't that be the case?

   8                           MS. CANFIELD:     Objection.     You

   9                     can answer again.

  10                 A     I would -- so I trusted the

  11          investigation, the investigatory process.             I

  12          recall that I was not privy to that

  13          information.      And I've been part of those --

  14          I mean, I've been asked about things and

  15          told it's confidentiality in other matters

  16          so.

  17                 Q     But you're not issuing --

  18                           MS. CANFIELD:     She's not

  19                     finished with her answer, Ms. Hagan.

  20                 A     Sorry.    I know I'm going on.

  21                       So I guess is your question, did I

  22          think to contact the Office of Corporate

  23          Compliance and insist on seeing their

  24          investigation?

  25                 Q     Yeah.    Or anything associated with
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                                                                 Page 276
   1                            E. FORD, M.D.

   2          this memo that's you're going to be giving

   3          under your name, so that, you know, you at

   4          least know why you're giving something of

   5          this nature to an employee.

   6                 A     So I did talk with -- I talked

   7          with people about the allegations and

   8          about -- and that the investigation had been

   9          founded.     And, again, I -- as I thought that

  10          I was the -- I thought that there had been

  11          discussion already with Dr. Kaye about this,

  12          and that I was, as the head of the service,

  13          responsible for delivering the memo.

  14                 Q     Isn't it true that this recording

  15          involved a fairly notorious inmate by the

  16          name of Jose Gonzalez, do you recall that?

  17                 A     I don't remember the name of the

  18          person involved in the case.          I -- gosh, I

  19          don't even know it was like a high profile

  20          case.      I think so.

  21                 Q     So you're not sure.

  22                       Do you recall that Dr. Kaye

  23          testified during a contra version hearing,

  24          and at that point she referenced that she

  25          had recorded the exam?
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   1                             E. FORD, M.D.

   2                 A     I don't recall that.       Although I

   3          do remember hearing from Dr. Jain that he

   4          had learned of the potential recording, I

   5          think from a transcript or from the hearing

   6          somehow.

   7                 Q     Right.    So you're not aware of

   8          unless I suggest whether or not this

   9          involved a hearing or the defendant or any

  10          of that; am I right?

  11                 A     I'm sorry.     I don't understand the

  12          question.     I'm sorry.

  13                 Q     Let's move on.

  14                       I'm going to go through what's

  15          going to be marked as Exhibit 12.

  16                              (Whereupon, Video Recording of

  17                              Forensic Psychiatric was marked

  18                              as Plaintiff's Exhibit 12 for

  19                              identification as of this date.)

  20            (A discussion was held off the record.)

  21                             MS. HAGAN:   You can have them.

  22                     They're all yours.

  23                             MS. HAGAN:   We're not doing

  24                     that.   We're in Zoom right now.       So

  25                     please stop.
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   1                            E. FORD, M.D.

   2                           MS. CANFIELD:     I'm asking

   3                     after the deposition, if you can

   4                     please send --

   5                           MS. HAGAN:     When I get to it.

   6                           MS. CANFIELD:     Then I will be

   7                     writing to Magistrate Judge Kott*.

   8                     It's a professional courtesy.        I

   9                     should not have to bring this up.

  10                           MS. HAGAN:     When I get a

  11                     chance.   That's what I said.

  12                 Q     So, now, the document that I'm

  13          referencing is Exhibit 12, is Video and

  14          Recording of Forensic Psychiatric

  15          Evaluations by APPL.

  16                       Do you see that, Dr. Ford?

  17                 A     It's not on the screen.

  18                 Q     Let me share it.

  19                       Do you see it now?

  20                 A     I do, yeah.

  21                 Q     So yes.    So you see this document,

  22          right?

  23                 A     Yeah.

  24                 Q     At any point have you come across

  25          this document or read this document
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   1                            E. FORD, M.D.

   2          yourself, Dr. Ford?

   3                 A     If you could scroll down.         Can you

   4          scroll through the document.

   5                 Q     Dr. Hope, do you remember him?

   6                 A     I do.

   7                 Q     So he actually penned there.         He's

   8          one of the authors of this document.            It

   9          talks about the Video Recording of Forensic

  10          Psychiatric Evaluations.

  11                       You see that, right?

  12                 A     Yes.

  13                 Q     Now, we're going to page 12 of

  14          this, which would be the equivalent of

  15          NYC4094.     And basically it says that the

  16          recommendations of the AAPL task force on

  17          video recording forensic interviews.

  18                       You see that, right?

  19                 A     I do.

  20                 Q     "The task force on video recording

  21          forensic interviews began by reviewing the

  22          current case law and professional

  23          guidelines."      And it then says, "There were

  24          no specific AAPL or APA standards or

  25          guidelines on video recording forensic
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                                                                 Page 280
   1                            E. FORD, M.D.

   2          interviews."

   3                       You see that, right?

   4                 A     I see that.     Yeah.

   5                 Q     How did you determine that it was

   6          inappropriate again to -- or agree that it

   7          was inappropriate to record exams if there

   8          had been no guidelines specifically on this

   9          topic?

  10                 A     So I recall -- first of all, I

  11          will just note that this is about video

  12          recording, which is slightly different than

  13          audio recording.       But, regardless, I relied

  14          on Dr. Jain and his review of whatever was

  15          out there with respect to the audio

  16          recording of competency evaluations and my

  17          conversations with other experts.

  18                 Q     You're saying that you relied upon

  19          Dr. Jain, and that they didn't rely -- that

  20          no one relied upon you, it was Dr. Jain who

  21          served as the knowledge base, of the subject

  22          matter expert right here I should say?

  23                 A     What I'm saying is that in the

  24          conversations that I had with Dr. MacDonald,

  25          Ms. Yang, Mr. Wangel, as I've mentioned
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                                                                 Page 281
   1                             E. FORD, M.D.

   2          before, and Dr. Jain, that the information

   3          we shared with them about whether this would

   4          be appropriate or not was based on

   5          Dr. Jain's research, as well as the

   6          expertise of people that he and I both asked

   7          around about.

   8                 Q     So I guess to make it clear, was

   9          Dr. Jain asked to research this topic for, I

  10          guess, the Office of Corporate Compliance in

  11          their efforts to write this memo -- I mean,

  12          not this memo, but just in their general

  13          efforts?

  14                             MS. CANFIELD:   Objection to

  15                     form.   You can answer if you're

  16                     able.

  17                 A     Is the question, was Dr. Jain

  18          asked by the corporate compliance office to

  19          do this?

  20                 Q     Or management in general.

  21                 A     I asked Dr. Jain to look into what

  22          was available in the literature about this

  23          process.     I can't remember what he -- I

  24          can't remember the outcomes of it, but I do

  25          remember asking him, and we, I believe -- I
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                                                                 Page 282
   1                             E. FORD, M.D.

   2          recall having conversations with him about

   3          it.

   4                 Q     So you said you recall having

   5          conversations with him about it, but you

   6          don't know if he was necessarily tasked with

   7          this or not, but he was the subject matter

   8          for    -- am I right?

   9                             MS. CANFIELD:   Objection as to

  10                     form.

  11                 A     What I said is that I did ask him

  12          to do research on this topic.

  13                 Q     So now I'm going to direct you to

  14          what's known as, I guess as Plaintiff's

  15          Exhibit 13.        And I'm not sure if you

  16          actually saw this document.          But it's from

  17          --

  18                 A     Your screen just -- could you pull

  19          it up again.

  20                              (Whereupon, Email

  21                              (NYC_2794-2800) was marked as

  22                              Plaintiff's Exhibit 13 for

  23                              identification as of this date.)

  24                 Q     Here it is.     So it's from Ms.

  25          Patsos to Ms. Yang and Mr. Wangel.           And
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                                                                 Page 283
   1                            E. FORD, M.D.

   2          let's see if you're cc'd.

   3                       First and foremost, did you see

   4          any documents that look like this during the

   5          course of your, I guess, discussion of what

   6          transpired with Dr. Kaye?

   7                 A     This does not look familiar to me.

   8                 Q     Now, one of the documents that it

   9          references as a source is the American

  10          Academy of Psychiatry and Law Task Force

  11          document, the video recording of forensic

  12          psychiatric evaluations.         Is what we just

  13          reviewed as Exhibit No. 12.

  14                       You see that, right?

  15                 A     I see that -- I think that the one

  16          you pulled up may have been the 1998

  17          version.     But I do see that here at the

  18          bottom about 2013.

  19                 Q     And then it also -- well, it

  20          actually has a footnote here.          It says the

  21          video recording of forensic psychiatric

  22          evaluations AAPL task force approved by AAPL

  23          executive counsel, May 31, 1998, revised

  24          May 2013.     So that's not accurate.        The site

  25          is inaccurate.      This is what's actually what
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                                                                   Page 284
   1                            E. FORD, M.D.

   2          we referenced.      You understand?

   3                 A     I mean, I --

   4                           MS. CANFIELD:     She's

   5                     testifying.   So, yes, let's move on.

   6                           MS. HAGAN:     I'm not

   7                     testifying.

   8                 Q     So, now, were you aware that

   9          Dr. Mundy was questioned about the actual

  10          custom and practice?

  11                 A     I was not aware of that.        I was

  12          not aware as far as this investigation.

  13                 Q     Were you aware that Dr. Owen was

  14          interviewed?

  15                 A     I was not.

  16                 Q     Do you know if any of the other

  17          forensic evaluators were interviewed?

  18                 A     I don't know.

  19                 Q     Just for purposes of the record, I

  20          just want to bring up Exhibit 12 again.

  21          Exhibit 12, it is the same document.            It

  22          says May 31, 1998, as revised in May 2013.

  23                       You see that, right?

  24                 A     I do, yes.

  25                 Q     Just making sure.       Okay.
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   1                            E. FORD, M.D.

   2                       So, now, at any point did you

   3          question the methodology -- now I'm hearing

   4          a recording in the background again or an

   5          echo in the background.         I don't consent to

   6          being recorded.

   7                       So, by any chance, did anyone --

   8          did you have a chance to review this

   9          document?

  10                 A     This document does not look

  11          familiar to me.

  12                 Q     Did you review any document from

  13          the Office of Corporate Compliance

  14          pertaining to this investigation?

  15                 A     I don't -- no.      I don't think so.

  16                 Q     So you just took it the word of, I

  17          guess, whoever presented you with this memo.

  18          Who gave you did memo to give to Dr. Kaye?

  19                           MS. CANFIELD:     Objection.     You

  20                     can answer again.

  21                 A     I think it was sent to me by

  22          Samantha Kent or Jonathan Wangel and labor

  23          relations.

  24                 Q     So Ms. Kent works in labor

  25          relations?
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                                                                 Page 286
   1                            E. FORD, M.D.

   2                 A     She did at the time.       I don't know

   3          if she's still there, actually.

   4                 Q     Mr. Wangel does or did?

   5                 A     Yes.   I -- yes.     I think he --

   6          sorry.     Yes.   At some point he did, yes.

   7                 Q     Now, Dr. Kaye also alleges that

   8          this memo was in retaliation for her filing.

   9                       Do you disagree?

  10                            MS. CANFIELD:    Objection.     You

  11                     can answer.

  12                 A     I did not see this as retaliation.

  13                 Q     Did anybody else get written up

  14          for recording exams?

  15                 A     I was not aware of any instance of

  16          anyone recording an exam ever during my time

  17          and familiarity with the clinics.

  18                 Q     Did you read the transcript from

  19          the controversial hearing that Dr. Kaye

  20          testified at?

  21                 A     I did not read the whole

  22          transcript.       I believe in one of the

  23          meetings that I had with Dr. Jain, he showed

  24          me a highlighted portion that had -- I can't

  25          remember the words of it, but something to
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   2          the effect that Dr. Kaye had said she had

   3          recorded.

   4                 Q     So you would not be aware that Dr.

   5          Charter (phonetic), the other evaluator, the

   6          other expert in the case, that she actually

   7          recorded her examination of Mr. Gonzalez?

   8                           MS. CANFIELD:     Objection.     You

   9                     can answer if you're able.

  10                 A     I don't know who that doctor is or

  11          where they work or anything.

  12                 Q     But that's not the question.

  13          You're not aware that she did as well,

  14          record her interaction with the inmate?

  15                           MS. CANFIELD:     Again,

  16                     objection.   There's no foundation

  17                     for any of this, but go ahead.

  18                 A     I'm not aware of what you just

  19          said, that some other doctor recorded also.

  20                 Q     Now, earlier -- now, at any point

  21          did it come to your attention that Dr.

  22          Collin recorded exams?

  23                 A     No.   I'm not aware of that.

  24                 Q     So did you speak to anyone above

  25          Dr. Jain or anyone who may have had more
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   2          experience than Dr. Jain about the practice

   3          of recording exams?

   4                 A     I spoke with Dr. Barbara,

   5          Dr. Garcia.        I spoke with -- I don't recall.

   6          I have a recollection of speaking with --

   7          who was it -- I can't remember who.            I feel

   8          like one of the sort of meetings of forensic

   9          psychiatrists, I raised the question.

  10                 Q     Now, Dr. Barbara is a

  11          psychologist; is that right?

  12                 A     Yes.    Sorry.   She is a

  13          psychologist.

  14                 Q     And Dr. Garcia, Mensia Garcia,

  15          she's a psychologist; is that right?

  16                 A     Yes.

  17                 Q     Have any of these individuals have

  18          anywhere near as much experience as Dr. Kaye

  19          in doing forensic evaluations?

  20                             MS. CANFIELD:   Objection as to

  21                     form.   You can answer.

  22                 A     I don't know.      That's a good

  23          question.     I don't know.

  24                 Q     Were any of them doing them for 20

  25          years?
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   2                 A     I'm not sure when Dr. Garcia

   3          started doing evaluations.         Probably not.

   4                 Q     Dr. Garcia, was she working at CHS

   5          the first time you started work there back

   6          in 2009?

   7                 A     CHS didn't exist in 2009.

   8                 Q     Was she working at the court

   9          clinics at that time?

  10                 A     No.    She was not.     I believe she

  11          was in private practice.         Doing some stuff

  12          in private work.

  13                 Q     In 2009?

  14                 A     I don't know if -- I don't know

  15          what she was doing in 2009.

  16                 Q     Right.    And for Ms. Barbara Rioja,

  17          was that the same, was she working there

  18          in 2009?

  19                 A     In the clinics?

  20                 Q     Yes.

  21                 A     No.

  22                 Q     Do you know when Ms. Barbara Rioja

  23          actually started working in the clinics?

  24                 A     I don't believe she ever worked in

  25          the clinics.
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   2                 Q     Do you know that she did 730

   3          exams?

   4                 A     I know that she did some in

   5          private practice.       She may have done some as

   6          part of training in forensic psychology.

   7                 Q     Do you see in reports from both of

   8          these individuals in private practice that

   9          they did these exams, yourself?

  10                 A     No.    I have not seen reports of

  11          theirs, no.

  12                 Q     So you don't have any firsthand

  13          knowledge that they did 730 exams; am I

  14          right?

  15                 A     I have they're saying that they

  16          do.

  17                 Q     I asked you if you had firsthand

  18          knowledge.     That's what I asked.

  19                 A     Sorry.    Then I guess I don't quite

  20          understand.      You mean have I seen the

  21          reports that they have done privately?

  22                 Q     Yes.

  23                 A     Not that I can remember.

  24                 Q     I'm going to ask you some

  25          questions about Dr. Kaye's pay parity
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   2          complaints.

   3                       This will be marked as Exhibit 14.

   4                              (Whereupon, Email

   5                              (NYC_1530-1532) was marked as

   6                              Plaintiff's Exhibit 14 for

   7                              identification as of this date.)

   8                 Q     It's bears the Bate Stamp series

   9          NYC1530 through 1532.        Okay.

  10                       Before I get into that, Dr. Ford,

  11          would it be considered -- you were aware of

  12          Dr. Kaye's testimony at the controversial

  13          hearing for Jose Gonzalez; am I right?

  14                           MS. CANFIELD:     Objection.     You

  15                     can answer.

  16                 A     Was I aware that she had

  17          testified, is what you mean?

  18                 Q     Yes.

  19                 A     Yes.   I think.

  20                 Q     So you knew that she had

  21          testified, and you also played a part in the

  22          decision to issue these memos to Dr. Kaye in

  23          the wake of that testimony; am I right?

  24                           MS. CANFIELD:     Objection.     You

  25                     can answer.
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   2                 A     I knew that she had testified

   3          after she testified, as I learned about the

   4          report that she had recorded.          And that lead

   5          to me sending that information to -- the

   6          allegation to -- I can't remember who I sent

   7          it to.     I think Dr. MacDonald and Yang and

   8          Wangel, Mr. Wangel.

   9                 Q     Was it a collective decision to

  10          issue this memo or could anyone of you said,

  11          no, the memo should not have been issued?

  12                           MS. CANFIELD:     Objection to

  13                     form. You can answer.

  14                 A     I don't know if any of us could

  15          have said, no, could it have been issued.             I

  16          recall it being approved by Ms. Yang and --

  17          let me stop there.

  18                 Q     Now, I'm going to go to Exhibit

  19          14, which again bears the Bate Stamp series

  20          NYC1530 to 1532.

  21                       Now, I'm going to start at the

  22          beginning of the email thread.          And that's

  23          an email from Dr. Kaye to Ms. Gillen dated

  24          May 3, 2018.      You see that?      Or do I have

  25          the share function up.        I don't.
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   2                       You see it now, right?

   3                 A     I do, yes.

   4                 Q     Now, she says that she's been

   5          employed at H&H Bellevue Hospital as a

   6          forensic psychiatrist court evaluated since

   7          1999.      You see that, right?

   8                 A     I do.

   9                 Q     You see that she says she's a

  10          medical director of the Bronx Court Clinic

  11          since 2004, right?

  12                 A     Yes.

  13                 Q     Now, she notes that -- she first

  14          sites the Steven Ciric as the medical

  15          director of the Manhattan Court Clinic, was

  16          on the physician specialist line.           You saw

  17          that, right?

  18                 A     I see that on the screen here.

  19          Yeah.

  20                 Q     Now, is that a managerial title?

  21                 A     Again, back to my earlier

  22          testimony, that -- I don't know the

  23          difference between physician specialist and

  24          attending three line in terms of managerial

  25          or not.     I don't know.
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   2                 Q     At any point did you tell Dr. Kaye

   3          that she would have to be a manager in order

   4          to receive pay parity?

   5                 A     I don't think so.       I did tell her

   6          that -- not at this time at Bellevue, but in

   7          at CHS, that there might be more flexibility

   8          about pay if she was on a managerial line.

   9          I recall that there were some fairly rigid

  10          pay structures at Health and Hospitals.

  11                 Q     Why is it that Dr. Kaye wasn't

  12          allowed to be placed in the physician

  13          specialist line?

  14                           MS. CANFIELD:     Objection.     You

  15                     can answer.

  16                 A     Sure.    I don't know.     I believe

  17          that decision was made -- predated me by a

  18          long time.

  19                 Q     She asked for it here in May of

  20          2018, she asked Ms. Yang to be placed in the

  21          physician specialist line.         Why wasn't it

  22          that she's allowed to work in that title?

  23                           MS. CANFIELD:     Objection.     The

  24                     document speaks for itself, but you

  25                     can answer.
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   2                 A     So -- sorry.     It says, just so I'm

   3          clear in my answer.        It says in here a

   4          request to become a physician specialist?

   5                 Q     "My lower pay also reflects the

   6          hostile work environment in which I was

   7          hired.     At the time I was hired, Manuel

   8          Trujillo was the director of the Department

   9          of Psychiatry at Bellevue."          And then she

  10          goes about the blatant chauvinist and stuff

  11          like that.

  12                       Did you know Dr. Trujillo?

  13                 A     Sort of.    I know his name.       I

  14          never really had much interaction with him.

  15                 Q     Was he chauvinist?

  16                 A     I don't know.

  17                 Q     Did Dr. Berger treat women in a

  18          highly sexist manner, to your knowledge?

  19                 A     I don't know.      I did not work

  20          directly with Dr. Berger.

  21                 Q     Had he a history of sexual

  22          misconduct?

  23                 A     Not to my knowledge.

  24                 Q     Do you know if he was fired based

  25          on allegations of sexual harassment?
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   1                            E. FORD, M.D.

   2                 A     I don't know how he was fired.

   3          Because that happened before I arrived.

   4                 Q     Dr. Kaye, in approximately in 2012

   5          and she brought up pay inequality to the

   6          attention of the director of the division of

   7          forensic psychiatry to you, Dr. Ford.            Do

   8          you see that?

   9                 A     I saw that.     I see that now, yeah.

  10                 Q     She said you told her that you

  11          would speak to Dr. Badaracco.          Do you see

  12          that?

  13                 A     I see that.

  14                 Q     Did you ever tell her that it was

  15          like moving elephants to get anything done

  16          around Bellevue about this?

  17                 A     I don't remember those words, but

  18          it sounds like something I probably said.

  19                 Q     Why would you say that?

  20                 A     Because it -- I had been -- part

  21          of my job was, I saw at Bellevue was to

  22          advocate for all of the physicians.            And I

  23          was -- I had been frustrated about the way

  24          that HR and finance sort of were separate

  25          from my role.      And that I had spoken with
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   2          Dr. Badaracco about other issues.           And it

   3          just seemed very slow and hard to get HR

   4          changes done.

   5                 Q     Now, at the end, Dr. Kaye

   6          concludes by saying, she had been trying for

   7          years to rectify this, and believes the

   8          problem needs to be corrected since it is

   9          unlawful to pay me less because I am a

  10          woman.     I request my line to be changed to

  11          physician specialist with retention of all

  12          my current benefits, et cetera.           Right.

  13                       So she clearly asked to be a

  14          physician specialist title.          Did you receive

  15          any feedback as to why she should not be

  16          placed in this title?

  17                 A     I'd appreciate you, by the way,

  18          going through this and bringing me to this.

  19                       I recall that it had something to

  20          do with the functional transfer.           And that I

  21          think I was told that people had to stay in

  22          the line that they were in -- the way the

  23          functional transfer worked is that they had

  24          to stay in the line and title that they were

  25          in, in this case at Bellevue or Health and
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   2          Hospitals.

   3                 Q     And are you sure that took place

   4          for everyone?

   5                 A     Am I sure that everyone stayed in

   6          their title?

   7                 Q     Yes.

   8                 A     In their line?

   9                 Q     Yes.

  10                 A     I -- gosh.     Am I sure.     I think

  11          there was some disparity between -- I'm not

  12          sure.      Sorry to take so long on that.

  13                 Q     Now, you do say in your response,

  14          I'm good with your response, I guess to

  15          Ms. Yang, right.       And you said, "I fully

  16          acknowledge that I may have referenced

  17          elephants (cannot remember) although do

  18          remember many meetings with finance and MAB,

  19          I guess that's Dr. Badaracco, about this

  20          very issue."

  21                       You recall that, right?

  22                 A     I see that email here, yes.

  23                 Q     Now, at any point did you dispute

  24          whether or not Dr. Kaye had the same

  25          workloads or comparable workloads to the
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   1                             E. FORD, M.D.

   2          other directors?

   3                 A     Did I dispute?

   4                 Q     Or had analysis or some kind of

   5          discussion about Dr. Kaye's workload in

   6          comparison to the other directors.

   7                 A     I think that did come up.         I

   8          believe we did -- gosh, I think we sort of

   9          looked at the workloads for each clinic.

  10          And I believe -- I think I may have

  11          requested it to try to justify an increased

  12          line, but I needed the data.          So I recall

  13          that.

  14                 Q     So you're denying that you played

  15          a part in any way in the pay disparity and

  16          the title disparity that Dr. Kaye

  17          experienced at CHS and H&H?

  18                             MS. CANFIELD:   Objection as to

  19                     form.   You can answer.

  20                 A     I was not involved in -- I'm

  21          sorry.     Could you rephrase it.       It's hard

  22          to --

  23                 Q     Well, did you play a part in the

  24          decision of not increasing Dr. Kaye's

  25          salary?
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   2                 A     I did not play a part in that.          I

   3          advocated for an increased salary for her.

   4                 Q     Who decided that Dr. Kaye should

   5          not get more money?

   6                             MS. CANFIELD:   Objection as to

   7                     form.   You can answer.

   8                 A     The way that it worked in terms of

   9          salaries at CHS, was that I would submit a

  10          request, and then it would go to HR, and

  11          then those would be reviewed -- my

  12          understanding is that those would be

  13          reviewed by Ms. Yang for approval or not.

  14                 Q     Was Ms. Yang the final decision

  15          maker when it came to salary and titles and

  16          positions?

  17                 A     That's -- yes.      That was my

  18          experience.

  19                 Q     So now I'm going to show you

  20          what's going to marked as Exhibit 15.            And

  21          it's Dr. Kaye's EEOC charge.

  22                       You see that, right?

  23                              (Whereupon, Dr. Kaye's EEOC

  24                              Charge (NYC_3330-3331) was

  25                              marked as Plaintiff's Exhibit 15
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   2                             for identification as of this

   3                             date.)

   4                 A     I do.

   5                 Q     And it's dated September 13, 2018.

   6          Do you see that?

   7                 A     I do.

   8                 Q     And I guess it's an additional

   9          document to the May 22, 2018 EEOC charge.

  10                       You see that, right?

  11                 A     I don't know.      Sorry.    Do I see

  12          that it's the --

  13                 Q     Right here.     It says digitally

  14          signed by Melissa Kaye.

  15                 A     I do see that.      I see that it's

  16          digitally signed, yeah.

  17                 Q     Right.    So just to put context in

  18          this exhibit.

  19                       Dr. Kaye alleges, I'm a

  20          55-year-old Caucasian female who has worked

  21          for Bellevue Hospital and HHC since 1999.

  22          Most recently at the Bronx Court Clinic

  23          medical director.       I believe I've been

  24          discriminated against because of my sex and

  25          equal pay act."
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   2                       And then she goes, "Specifically

   3          I've been paid less than the male Manhattan

   4          Court Clinic medical directors, despite

   5          having the same title and job duties.            I've

   6          been paid under an Attending III title since

   7          1999, when the men who have worked at the

   8          Manhattan Court Clinic medical director have

   9          been paid the physician specialist.            Right.

  10          And the physician specialist title carries

  11          significant pay increase and the male

  12          Manhattan Court clinic medical directors

  13          have made significantly more money than I

  14          over the last 20 years I have worked there.

  15                       Right?    You see all that, right?

  16                 A     I do see that.

  17                 Q     Then I'm scrolling down more

  18          because she has a supplement to her charge

  19          and that's filed on September 7, 2018.

  20                       You see that, right?

  21                 A     Yes.

  22                 Q     She's supplementing her charge.

  23          She's adding that basically her supervisor

  24          Dr. Jain after and pay parity and after she

  25          filed the EEOC complaint regarding Dr. Jain
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   2          called me the next day to inform me that he

   3          had reported my actions to Jonathan Wangel.

   4                       Do you see that?

   5                 A     I see that on the screen here.

   6                 Q     At any point did Dr. Jain tell you

   7          that he reported Dr. Kaye's charge to labor

   8          relations?

   9                 A     I think that in one of our

  10          supervision sessions Dr. Jain told me that

  11          he had notified Dr. Wangel -- I'm sorry

  12          Mr. Wangel, about Dr. Kaye's report of

  13          filing.

  14                 Q     At any point did you tell or

  15          admonish Dr. Jain that retaliation is

  16          prohibited under the law?

  17                 A     Did I -- so retaliation, I don't

  18          think I said that.       He was not bringing this

  19          up as retaliation.       He told me he had, as

  20          was appropriate, notified labor relations

  21          that an EEOC complaint had been filed.            That

  22          somebody who reported to him.

  23                 Q     Did he notify the EEO office?

  24                 A     I don't know.      I'm not sure what

  25          the advice was from labor relations.            I'm
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   2          not sure.

   3                 Q     Have you received ever EEO

   4          training yourself, Dr. Ford?

   5                 A     I think there has been -- I think

   6          I have as part of manager training at some

   7          point in my career.        I wish I could tell you

   8          exactly when.

   9                 Q     Did you receive any EEO training

  10          while you were at CHS?

  11                 A     I believe that I did.        I believe

  12          it was part of an annual training.

  13                 Q     She goes on and she talks about,

  14          in July of 2018 she is demoted in terms of

  15          title.     So from -- she files her EEOC charge

  16          in May of 2018.       And Dr. Kaye complains that

  17          she was demoted in title.

  18                       Now, you disagree that the change

  19          of medical director to director is a

  20          demotion, right?

  21                 A     I do not see that director is a

  22          demotion from medical director.           And, again,

  23          I was not under the impression that medical

  24          director was a title she couldn't use.

  25                 Q     Now, she also complains that the
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   2          title director is not commensurate with her

   3          training credentials, expertise.           Would you

   4          disagree with that?

   5                 A     I don't know what that means

   6          exactly.     Director to me is like the head

   7          person of a thing.

   8                 Q     Do you believe that the difference

   9          in title would have a negative impact on

  10          Dr. Kaye's degree -- I mean, professional

  11          opportunities?

  12                 A     So I don't agree that director is

  13          a lesser title.       Are you -- is your

  14          question, if director was a lesser title

  15          would that be a problem or?

  16                 Q     Would it negatively impact, the

  17          change from medical director to director,

  18          would it negatively impact her job

  19          opportunities?

  20                 A     Not that I'm aware of.

  21                           MS. CANFIELD:     Objection.

  22                 Q     For the record, Dr. Ford said not

  23          that I'm aware of.       Is that clear?      Is that

  24          right?

  25                 A     Yes.
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   2                 Q     Now, on August 6, 2018, she

   3          complains of a shift change.

   4                       Do you see that?

   5                 A     I do see that, yes.

   6                 Q     Now, she says, "When I returned

   7          from scheduled annual leave I was informed

   8          by Dr. Jain that he and Mr. Wangel had

   9          discussed that I would no longer be allowed

  10          to take my long established, formerly agreed

  11          upon 30-minute unpaid lunch break.           And

  12          instead I would be required to take an hour

  13          unpaid lunch break.        Thereby increasing the

  14          length of my work shift from eight and a

  15          half hours a day to nine hours a day."

  16                       You see that, right?

  17                 A     I see that.

  18                 Q     "In addition, Dr. Jain and

  19          Mr. Wangel have also changed the start time

  20          of my shift from 9:00 a.m. to 8:00 a.m.

  21          without explanation or justification."

  22                       Do you see that?

  23                 A     I see that.

  24                 Q     Now, did you play any part in

  25          either change that Dr. Kaye just described?
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   1                             E. FORD, M.D.

   2                 A     No.

   3                 Q     Now, again, is there any practical

   4          business reason for having this change?

   5                           MS. CANFIELD:     Objection.     You

   6                     can answer.

   7                 A     I don't know the reasoning behind

   8          it, that was going on between CHS, when it

   9          was made, is there a business reason.

  10                 Q     Well, your subordinate is

  11          enforcing something, right?          Dr. Jain was

  12          your subordinate, wasn't he?

  13                 A     Again, this was when I was on

  14          leave.     So I was not involved at all in

  15          these conversations.

  16                 Q     But you came back and Dr. Kaye was

  17          probably still complaining; am I right?

  18                 A     You are correct.      In fact, we've

  19          talked about that already.         That she spoke

  20          with me when I came back and I started to

  21          advocate for her about this.

  22                 Q     Right.    Now, at any point did you

  23          do anything about any of the allegations

  24          that were in the EEOC charge?

  25                           MS. CANFIELD:     Objection as to
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   2                     form.   You can answer.

   3                 A     Sure.    I don't recall seeing that,

   4          the thing that you just pulled up, before

   5          today, so.

   6                 Q     Were you ever given instructions

   7          not to destroy your emails or any other

   8          documents from CHS or any other legal

   9          department?

  10                 A     Yes.    That sounds familiar.       I

  11          think I was.       I'm not -- I don't know at

  12          what point, but that sounds familiar.

  13                 Q     You're not sure at what point.

  14          Did you receive an email?

  15                 A     I don't know.

  16                 Q     You don't know if you got a call

  17          or an email?

  18                 A     Yeah.    I don't remember.

  19                 Q     Now, did you know that Dr. Kaye

  20          filed a number of complaints about

  21          malfeasance against CHS and HHC?

  22                 A     I was aware of the complaint that

  23          we're talking about today, the one from end

  24          of May of 2019 and I was --

  25                 Q     In the lawsuit?
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   2                 A     Sorry.    The lawsuit that we're

   3          talking about.       And I was aware of --

   4          although not the details that you just

   5          described me, but of the EEO complaint.             But

   6          then you said about malfeasance against CHS

   7          and Health and Hospitals?

   8                 Q     Right.

   9                 A     Yeah.    I don't think I was aware

  10          of others and those.

  11                 Q     I'm going to pull up Exhibit 16.

  12          That bears the Bate Stamp series -- well, it

  13          doesn't bear the Bate Stamp series, but I

  14          will give it to counsel.

  15                             MS. CANFIELD:   You've got to

  16                     Bates stamp it please beforehand.

  17                             MS. HAGAN:   At some point I

  18                     will.

  19                              (Whereupon, Letter from Dr. Kaye

  20                              to Board of Correction and

  21                              Inspection General was marked as

  22                              Plaintiff's Exhibit 16 for

  23                              identification as of this date.)

  24                 Q     It's dated January 7th.        And it's

  25          Dr. Kaye's complaint to the Board of
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   2          Correction and Inspector General.

   3                       Do you see that?

   4                           MS. CANFIELD:     What date?     On

   5                     January 7th.    What year?

   6                           MS. HAGAN:     January    7, 2020.

   7                           MS. CANFIELD:     If you could

   8                     show it on the screen.      That'd be

   9                     helpful.

  10                           We've never seen it.

  11                           MS. HAGAN:     Yes.   You have.

  12                 Q     It's from Dr. Kaye.       And it says,

  13          "Dear Board of Correction and Inspector

  14          General."

  15                       At any point -- before I get into

  16          this, at any point, was your office or were

  17          you ever contacted by the Department of

  18          Investigation regarding any complaints by

  19          Dr. Kaye?

  20                 A     I was contacted by the Department

  21          of Investigation, I think a couple of times

  22          during my time at CHS.        They did not tell me

  23          that they said they couldn't tell me what it

  24          was about.     One of or -- yeah.

  25                 Q     One of them were hers, right?
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   1                              E. FORD, M.D.

   2                 A     I don't know if one of them were

   3          hers.      And also, I was told not to talk

   4          about any of those interviews.          That they

   5          were confidential.

   6                 Q     Who told you that?

   7                 A     Every time DOI has talked to me,

   8          they've always said keep this confidential.

   9          So I don't know if this includes in a

  10          deposition or not.

  11                 Q     Were you contacted about

  12          Dr. Kaye's allegations?

  13                           MS. CANFIELD:      Objection.

  14                     Asked and answered.      You can answer

  15                     again.

  16                 A     Sure.    Again, I was contacted by

  17          DOI on I think more than one occasion about,

  18          like they were asking questions, but they

  19          did not tell me who had made a complaint or

  20          what specific issue they were investigating.

  21                 Q     Now, Dr. Kaye alleges that CHS and

  22          HHC management were rigging examinations.

  23          Did you ever hear of any allegations to that

  24          effect?

  25                 A     I did not.     No.
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   1                            E. FORD, M.D.

   2                 Q     Did you hear of any allegations

   3          that there was double dipping on the part

   4          of, I guess the forensic evaluators?

   5                           MS. CANFIELD:     Objection.     You

   6                     can answer.

   7                 A     I did not hear any allegations

   8          about that.      I do remember working on a

   9          policy prior to -- I believe it was prior to

  10          the transition, to ensure that there was no

  11          double dipping.       And I'm assuming you mean

  12          by that, getting paid for like private work

  13          while you're on city time, that kind of

  14          thing.

  15                 Q     Did Dr. Kaye ever raise those

  16          questions or concerns to you during the

  17          course of her employment?

  18                 A     About double dipping?

  19                 Q     Yes.

  20                 A     I don't remember that.

  21                 Q     Did Dr. Kaye also raise any

  22          concerns to you about HIPPA waivers that

  23          were going to be put in place?

  24                 A     HIPPA waivers.      I don't remember

  25          that.
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   1                             E. FORD, M.D.

   2                 Q     At any point did you witness or

   3          participate in pressuring Dr. Kaye or any of

   4          the other evaluators to find defendants fit

   5          or unfit?

   6                 A     No.

   7                 Q     Now, I did see that there's a dual

   8          agency prohibition.        Was there anything that

   9          prompted you to write a dual agency policy?

  10                           MS. CANFIELD:     Objection.     You

  11                     can answer.

  12                 A     So let's -- if we're talking --

  13          dual agency.       I don't think we called it a

  14          dual agency policy, but I imagine you

  15          mean -- I don't think we had anything called

  16          dual agency.       If I could just read this.

  17                 Q     I'll going to pull it back up.

  18          I'm looking for something that you --

  19                 A     I'm sorry.     I think, I do

  20          recall -- actually, now this is coming back

  21          to me.

  22                       So I recall prior to the clinic

  23          transition, like it was very high in my list

  24          of requirements that we were very clear that

  25          individuals could not be both providing
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   2          treatment at CHS and also doing evaluations

   3          for the same person.        And to keep the

   4          forensic evaluation and the correctional

   5          health treatment very separate.

   6                       And here's the policy, that I

   7          think is about that.

   8                             (Whereupon, Managing Dual Roles

   9                             Policy (NYC_1188-1190) was

  10                             marked as Plaintiff's Exhibit 17

  11                             for identification as of this

  12                             date.)

  13                 Q     That you wrote, right?

  14                 A     Yeah.    Well, I mean, I worked on

  15          it with Dr. Jain, with feedback from others,

  16          but, yes.

  17                 Q     At any point prior to this policy

  18          being written did Dr. Kaye raises about dual

  19          agency with you?

  20                           MS. CANFIELD:     Objection.

  21                           Can I ask if this has been --

  22                     did you produce this or did you --

  23                     it has no Bate Stamp numbers on it.

  24                           MS. HAGAN:     You produced it.

  25                           MS. CANFIELD:     But there's no
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   1                             E. FORD, M.D.

   2                     Bate Stamp.

   3                             MS. HAGAN:   Cause it's not

   4                     here.   You produced it.     So again --

   5                             MS. CANFIELD:   I just want to

   6                     make sure that's the purpose of Bate

   7                     Stamping, so we're referring to the

   8                     same document.    So if you could pull

   9                     up the one we produced --

  10                             MS. HAGAN:   I'm not pulling up

  11                     that one.   No, I did not.      Clearly I

  12                     did not.

  13                 Q     Now, Dr. Ford --

  14                             MS. CANFIELD:   Okay.    But, Ms.

  15                     Hagan --

  16                             MS. HAGAN:   I will give you

  17                     the one that has the Bates Stamp

  18                     number, but please stop stalling.

  19                             MS. CANFIELD:   I need to get

  20                     the marked exhibits during the

  21                     deposition.

  22                             MS. HAGAN:   At some point.

  23                             MS. CANFIELD:   It's just

  24                     difficult to verify the document as

  25                     an attorney.
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   1                            E. FORD, M.D.

   2                           MS. HAGAN:     You're buying a

   3                     lot of time.

   4                 Q     Now, again, Dr. Ford, are you

   5          familiar with this document that you

   6          participated in writing?

   7                           MS. CANFIELD:     Objection.

   8                 A     It looks familiar.       I'd have to

   9          look at the details, but that definitely

  10          looks familiar.

  11                 Q     And my question was, did this

  12          document come into existence after Dr. Kaye

  13          raised these issues with you or before?

  14                 A     The idea of dual roles and the

  15          need to have a policy about that was

  16          something that I had been discussing, I

  17          mean, even prior to -- around the time that

  18          CHS -- that I was notified that CHS might be

  19          taking over the clinics.         So that was, I

  20          don't know when, like early 2018 or

  21          something.

  22                       So I had been talking about it and

  23          working on draft language around that for a

  24          long time.

  25                 Q     And who were you circulating this
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   1                            E. FORD, M.D.

   2          draft language to?

   3                 A     At the -- who was I circulating it

   4          to.    Well, at the time when I was drafting

   5          it, I wasn't circulating it to anybody.              I

   6          was trying to collect information.           And then

   7          when there was a draft, like an actual draft

   8          to be circulated for feedback, that was,

   9          probably must have been some months later,

  10          circulated it to -- well, Dr. Jain was

  11          there, involved in it.        Circulated it to

  12          Dr. Barbara.      I think Dr. Garcia,

  13          Dr. Subetti, Dr. MacDonald.

  14                       And then eventually the draft got

  15          circulated to all -- I believe it got

  16          circulated to all the directors of the

  17          clinic for their feedback as well.

  18                 Q     Now, did you also write a private

  19          practice policy?

  20                 A     There was one written, yes.         I

  21          can't remember if I wrote it or if Dr. Jain

  22          wrote it, but we came up with one of those,

  23          which also had its initial ideas in very

  24          early 2018.

  25                 Q     So it's your testimony that the
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   2          policy came out before Dr. Kaye could have

   3          possibly complained; is that right?

   4                             MS. CANFIELD:    Objection.    Go

   5                     ahead.

   6                 A     Well, the official policy -- I

   7          don't recall the dates when the official

   8          policy came out.       What I'm saying is that we

   9          were working on these policies, which was

  10          fairly complicated, over many months, and

  11          that that process started long before

  12          July 1st, 2018.

  13                 Q     But my question is, did it become

  14          before Dr. Kaye complained about, you know,

  15          malfeasance?

  16                             MS. CANFIELD:    Objection.    I

  17                     don't think we have a date for when

  18                     she complained.      It's difficult for

  19                     her to answer the question.

  20                             MS. HAGAN:   She doesn't need a

  21                     date.    I'm asking based on her

  22                     recollections if she remembers.

  23                 A     I don't remember at all hearing a

  24          complaint from Dr. Kaye about dual agency or

  25          private practice prior to my already
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                                                                 Page 319
   1                             E. FORD, M.D.

   2          starting policy work in those areas.

   3                 Q     But you're not sure when you

   4          started; am I right?

   5                           MS. CANFIELD:     Objection.     You

   6                     can answer.

   7                 A     Yeah.    I'm sure that I started

   8          thinking about it and recognizing we needed

   9          a policy at the time that CHS, the decision

  10          was made to move it over to -- to move the

  11          clinics over.      When that time was, I don't

  12          know.

  13                 Q     Was the policy in wake of the

  14          agency to encourage or to attract more

  15          talent to the clinics?

  16                 A     Which policy was that?

  17                 Q     The private policy.

  18                 A     No.   Actually, in fact, I was

  19          concerned that it would be a deterrent.

  20          Because the -- my recollection of the

  21          various clinics, not in the Bronx, I would

  22          say, is that there may be some looser rules

  23          around private practice work.          And I wanted

  24          to be very clear about avoiding any

  25          conflicts and making sure that the exams
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   2          were objective.

   3                       So I was actually concerned it

   4          might diminish recruitments, but it seemed

   5          ethically important, regardless.

   6                 Q     Now, I'm going to show the private

   7          practice policy as was penned by

   8          Dr. MacDonald.

   9                       Now, you said you participated

  10          in -- well, at least he signed off.            You

  11          said you participated in the drafting of

  12          this as well, right?

  13                 A     Yes.   In the -- these clinic

  14          policies.     I don't know if I wrote the whole

  15          thing or Dr. Jain wrote a draft and I edited

  16          it.    And then Dr. MacDonald, as the chief

  17          medical officer, had to sign on these

  18          policies.

  19                 Q     At any point did it ever come to

  20          your attention that specific evaluators had

  21          been given incentive to find a certain way

  22          in the administration of their exams?

  23                           MS. CANFIELD:     Objection.

  24                 A     No.    That did not come to my

  25          attention.
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   2                 Q     Exhibit 18, for purposes of the

   3          record, would be the private practice policy

   4          as penned by Dr. MacDonald.          It bears the

   5          Bate Stamp series 3864 through 3866, NYC3864

   6          through 3866, and it's signed by

   7          Dr. MacDonald on June 17, 2018.

   8                       You see that, right?

   9                 A     I do.

  10                             (Whereupon, Private Practice

  11                             Policy (NYC_3864-3866) was

  12                             marked as Plaintiff's Exhibit 18

  13                             for identification as of this

  14                             date.)

  15                 Q     So Dr. Kaye alleges that she made

  16          complaints about these various things and

  17          that basically she experienced further

  18          retaliation by CHS staff and management.

  19                       Now, you don't recall Dr. Kaye --

  20                            MS. CANFIELD:    We can't hear

  21                     you.   You're talking really low.

  22                 Q     I said you don't recall Dr. Kaye

  23          making these various complaints, do you?

  24                            MS. CANFIELD:    Objection.

  25                 A     Which complaints are you referring
Case 1:18-cv-12137-JPC-JLC Document 225-4 Filed 03/05/22 Page 322 of 361


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   2          to?

   3                 Q     Complaints about the private

   4          practice policy, the complaints about

   5          ordering the psychological reports.

   6                       Do you recall complaints about

   7          that?

   8                           MS. CANFIELD:     Objection.     Are

   9                     these in the complaint?

  10                 Q     I just said before, do you recall

  11          any complaints that Dr. Kaye made about the

  12          recording -- not the recording.

  13                       Do you recall any complaints that

  14          Dr. Kaye made about ordering psychological

  15          tests, having to go through Dr. Jain?

  16                 A     I remember that there was -- I

  17          think with all of the policies there was

  18          feedback, important substance feedback for

  19          most of the directors, including Dr. Kaye.

  20                       I think that there was a

  21          concern -- I think it was Dr. Kaye who was

  22          concern -- who did voice a -- Dr. Jain sent

  23          the policy around for feedback, and I think

  24          she had feedback that -- had something to do

  25          with supervision of psychological testing.
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   1                            E. FORD, M.D.

   2          If the -- yeah.       Details escape me, but if

   3          you have the policy, I could maybe look at

   4          it.

   5                 Q     I'm not going to do that just yet.

   6                       Now, at any given point, were

   7          there any meetings, all staff meetings with

   8          Ms. Yang and CHS staff, do you recall any of

   9          those?

  10                 A     Were there any all staff meetings.

  11          I think there were.        Yes.   I don't know if

  12          they were all staff, like all CHS treatment

  13          staff or all CHS, including the court

  14          clinics.     I do think -- so I can't recall

  15          that.

  16                       I don't know if there was a

  17          meeting with like all treatment and court

  18          clinics together with Ms. Yang.           I don't

  19          remember.

  20                 Q     I'm going to ask you some

  21          questions about the FMLA aspects of

  22          Dr. Kaye's complaint.

  23                       At any point did Dr. Kaye tell you

  24          she needed to take FMLA to take care of her

  25          son?
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   2                 A     I'm sorry.     Just one moment.

   3                       (Brief pause)

   4                       Okay.    I'm so sorry.     I think your

   5          question is about FMLA; is that right?            And

   6          did Dr. Kaye ever talk to me about FMLA?

   7                 Q     Yes.

   8                 A     I think that she did, yeah.         I

   9          think it, probably more than once, I think.

  10          I believe she did mention that she needed to

  11          take FMLA.

  12                 Q     Do you recall her FMLA request

  13          being denied?

  14                             MS. CANFIELD:   Objection as to

  15                     form.   You can answer.

  16                 A     Yeah.    I don't know the outcome of

  17          the FMLA request.       I was blind to those.

  18                 Q     Here you have Dr. Kaye making

  19          various complaints, and you didn't bother to

  20          keep track as to any of the outcomes of any

  21          of those complaints?

  22                             MS. CANFIELD:   Objection as to

  23                     form.   You can answer.

  24                 A     So Dr. Jain was Dr. Kaye's

  25          supervisor.        And so if there was an issue
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   2          that rose above him that was concerning, I

   3          would look into it.

   4                 Q     Now, at any point -- well, the

   5          issue had risen above him.          At some point

   6          Dr. Kaye complained to Dr. Yang and

   7          Dr. MacDonald and yourself about FMLA and

   8          her reasonable accommodation request.

   9                       Do you remember those things?

  10                             MS. CANFIELD:    Objection as to

  11                     form.    You can answer.

  12                 A     I actually don't remember a

  13          specific -- I remember that there was

  14          concern about reasonable accommodation

  15          relate -- I think it was related to the

  16          healthcare for her son.         And I don't

  17          remember the -- there was a -- about FMLA.

  18          I don't remember hearing that there was an

  19          issue about that.

  20                 Q     You're not aware of the FMLA

  21          complaint that -- the FMLA, I guess,

  22          application that Dr. Kaye filed?

  23                             MS. CANFIELD:    Objection.

  24                     Asked and answered.      You can answer

  25                     again.
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   2                 A     Yeah.    I think I was aware that

   3          she had requested FMLA.         I don't recall

   4          hearing anything further that it had been

   5          denied or that there was a problem about --

   6                 Q     And you don't recall it being --

   7          defense having extended an FMLA request?

   8                           MS. CANFIELD:      Objection.

   9                 A     I'm sorry, who --

  10                 Q     Well, you and CHS management.

  11                           MS. CANFIELD:      Objection.    Go

  12                     ahead.

  13                 A     I did not ever -- I did not field

  14          FMLA requests.       I mean, I wasn't a recipient

  15          of those requests, but I never denied -- I

  16          never denied any FMLA.

  17                 Q     Now, how would you describe your

  18          relationship with Dr. Yang and Dr. Kaye?

  19                           MS. CANFIELD:      Objection.    Go

  20                     ahead.

  21                 A     How would I describe the

  22          relationship with Dr. Jain and Dr. Kaye; is

  23          that what you asked?

  24                 Q     Yes.

  25                 A     I would say that it was cordial.
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   2          And I think that there was a little bit

   3          of -- I think initially it was -- how would

   4          I describe it.      That's a good question.

   5                       I think that it was -- there were

   6          times when it was a little prickly.            I think

   7          they have -- they were getting used to each

   8          other.     I don't know.     But I -- I don't

   9          recall that it was like super smooth.            I

  10          recall having many conversations with Dr.

  11          Jain about being new to CHS and new to New

  12          York, and just sort of getting used to the

  13          lay of the court land here in New York City.

  14                 Q     Would you say that Dr. Kaye is

  15          difficult to work with?

  16                 A     I haven't worked directly -- I

  17          don't believe I've ever worked directly with

  18          Dr. Kaye as a colleague.

  19                 Q     But you were privy to some

  20          complaints she's made, and you said that you

  21          had no complaints about the quality of her

  22          work.      My question, yes or no, is would you

  23          say that she was difficult to work with,

  24          based on your own knowledge?

  25                 A     Based on my interactions with her,
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   1                             E. FORD, M.D.

   2          she was professional with me and she did --

   3          her work in the clinics was, the reports

   4          were very good.

   5                 Q     At any point did you opt to have

   6          Dr. Winkler attend a work force meeting or

   7          task force meeting with you rather than

   8          Dr. Kaye?

   9                 A     No.   I believe that's a reference

  10          to a request I made to Dr. Collin for --

  11          because this work group met before the court

  12          clinics came over to CHS, and he was in

  13          charge of those two clinics.          I asked for

  14          his -- if I wanted a representative -- he

  15          was requesting a representative from the

  16          Bronx clinic and the Manhattan clinic to

  17          join the work group.

  18                 Q     But what happened, Dr. Kaye

  19          alleges that you decided to go for her

  20          subordinate rather than her, her male

  21          subordinate.       Do you recall any allegations

  22          to that affect?

  23                 A     I recall that allegation.         That

  24          is, in fact, incorrect.         I asked Dr. Collin,

  25          who was Dr. Kaye's supervisor at the time,
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   2          and he referred Dr. Winkler to the meeting.

   3                 Q     Instead of Dr. Kaye, even though

   4          she had more experience than Dr. Winkler?

   5                 A     I can't tell you about the thought

   6          process behind Dr. Colli's decision.

   7                 Q     So you're saying it was Dr.

   8          Colli's decision, not yours, for Dr. Winkler

   9          to attend?

  10                 A     Yes.   That's correct.       I was not

  11          Dr. Winkler or Dr. Kaye's supervisor at the

  12          time.

  13                 Q     So now I'm going to draw your

  14          attention to I guess Exhibit Number 19.             It

  15          bears the Bate Stamp series NYC1059 through

  16          1061.      I'm going to share the screen now.

  17                              (Whereupon, Email

  18                              (NYC_1059-1061) was marked as

  19                              Plaintiff's Exhibit 19 for

  20                              identification as of this date.)

  21                 Q     I'm going to give you some

  22          context.     It starts with December 28, 2018,

  23          apparently it's through Dr. Jain's.

  24                       Now, earlier we discussed that

  25          Dr. Kaye made the allegation that Dr. Jain
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   2          destroyed his notes after he, I guess,

   3          involved doing his interviews, right?

   4                 A     Yes.   I remember that allegation.

   5                 Q     So here Dr. Jain is saying -- this

   6          is you first -- I guess -- let's go back

   7          over to the bottom of this exhibit.            It

   8          says:

   9                       "Hi, Elizabeth.      Letting you know

  10          that I am in the Bronx court clinic.            I was

  11          told that Dr. Kaye has taken my handwritten

  12          notes out of the charts and has them in her

  13          possession."

  14                       What charts is he referring to?

  15                 A     I believe he's referring to the

  16          defendant files in the Bronx Court Clinic.

  17                 Q     "They are no longer in the chart

  18          and we cannot find them.         We can discuss it

  19          more tomorrow."

  20                       You see that, right?

  21                 A     I do see that, yes.

  22                 Q     And then you write back to him,

  23          who else is it, thanks Beesh.

  24                       Is that what you call Dr. Jain,

  25          Beesh?
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   2                 A     Yes.   That's what he goes by.

   3                 Q     Who else is aware of this?         Right?

   4          And then he says, in person are over the

   5          phone.     I'm free now, but okay, also for

   6          when we meet tomorrow, Beesh.

   7                       You see this, right?

   8                 A     I see that.

   9                 Q     Now, are you guys texting or

  10          actually is this an email exchange?

  11                 A     These are emails.       They're coming

  12          from the email accounts.

  13                 Q     Now, he responds to you, we looked

  14          again and cannot locate them.          According to

  15          Lucrecia, some of the charts were originally

  16          pulled on November 8, 2018 and there were

  17          subsequent charts as well.

  18                       You see this, right?

  19                 A     Yes.

  20                 Q     Now, does this seem like a good

  21          relationship if someone is accusing the

  22          other of stealing their handwritten notes?

  23                           MS. CANFIELD:     Objection.     You

  24                     can answer.

  25                 A     I'm sorry, where --
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   2                 Q     He accuses Dr. Kaye of stealing

   3          his notes.

   4                 A     I don't see where it says that

   5          they've been stolen.

   6                 Q     I'm told that Dr. Kaye has taken

   7          my handwritten notes out of the charts and

   8          has them in her possession.          They are no

   9          longer in the chart, and we cannot find

  10          them.

  11                       What does that sound like?

  12                 A     It sounds like he is concerned

  13          that Dr. Kaye has taken the note.           They

  14          may be in her office.        She's the director of

  15          the clinic.      I don't read that to mean she's

  16          stolen them.

  17                 Q     So let's go further.       And then you

  18          write back, "Thank you.         Spoke with JW."

  19                       Is that Jonathan Wangel?

  20                 A     Yes.

  21                 Q     "As many specifics as you can get

  22          would be helpful.       How many charts, when

  23          your notes were put in there, and how you

  24          know that.     Is there any legitimate reason

  25          why the notes should be missing when the
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   2          request to pull them came through," et

   3          cetera, right?       This is what you respond to,

   4          right?

   5                 A     Yup.

   6                 Q     And then he writes, "My notes were

   7          at least ten cases, which I gave to Lucrecia

   8          to file, are not in their respective charts.

   9          These are my personal notes that I take

  10          during interviews and, and they serve as an

  11          aid to help me write my reports."

  12                       Now, do you remember when Dr. Kaye

  13          actually made the allegation that he did --

  14          that he basically kept his notes?

  15                           MS. CANFIELD:     Objection to

  16                     form. You can answer.

  17                 A     I feel -- I remember an allegation

  18          that he destroyed them.

  19                 Q     Right.

  20                 A     Yeah.    Okay.

  21                 Q     Do you remember when that

  22          happened?

  23                 A     No.    I don't.

  24                 Q     Was this before or after the

  25          allegation -- after this email?
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   2                 A     I think -- I don't know.        I don't

   3          know.      I'm sorry.

   4                 Q     Was it November 30, 2018,

   5          specifically?

   6                           MS. CANFIELD:     If you have

   7                     something to refresh her

   8                     recollection, that would be great.

   9                           MS. HAGAN:     No.   She doesn't

  10                     have to have something to refresh

  11                     her recollection.

  12                           MS. CANFIELD:     She just said

  13                     she doesn't know.

  14                           MS. HAGAN:     She was thinking.

  15                     Stop coaching the witness.

  16                           MS. CANFIELD:     I'm not

  17                     coaching.

  18                 A     I remember meeting with Dr. Kaye

  19          on November 30th.       I can't remember if

  20          handwritten notes came up in that meeting or

  21          not.

  22                 Q     "Now, Lucrecia emailed me for my

  23          notes on those defendants on November 8th.

  24          I provided them on November 13th.           A

  25          handwritten post-it note on the charts
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   2          indicate, and Lucrecia also confirms that my

   3          notes were received on these cases."

   4                       Now, did he show you or send any

   5          emails to this effect?

   6                 A     To the -- I'm sorry.       To the

   7          effect of the post-it notes or what?

   8                 Q     Yes.   Did he email Lucrecia about

   9          the notes or that provided them on November

  10          13th.      Did you see any emails?

  11                 A     He told me about that in one of

  12          them.      I believe he told me about it.

  13                 Q     But did you see them yourself?

  14                 A     I don't remember.       I don't

  15          remember.

  16                 Q     Now, at the end he says, there's

  17          no legitimate reason for these notes to be

  18          missing or taken by Dr. Kaye without my

  19          knowledge.     This is unusual and concerning."

  20                       Do you see that?

  21                 A     Yes.   I see that.

  22                 Q     Now, on the one hand, you have

  23          Dr. Kaye alleging that Dr. Jain had

  24          destroyed his notes.

  25                       You do recall that, right?
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   2                 A     I recall that she alleged that at

   3          some point, yeah.

   4                 Q     Right.    And now you have Dr. Jain,

   5          I'm not specifying what happened, I'm just

   6          saying, you also have now this email by Dr.

   7          Jain saying that Dr. Kaye took his notes,

   8          right?

   9                 A     Yes.   The email is saying that.

  10                 Q     Now, if Dr. Jain had destroyed his

  11          notes, wouldn't that be a serious charge?

  12                 A     So I would be concerned about

  13          that.      I don't know if it's a serious charge

  14          or not.     I do remember that Dr. Jain and I

  15          had conversations about handwritten notes in

  16          general, I can't -- and policies, I can't

  17          remember exactly the time line, because he

  18          had come from a state where, I think

  19          handwritten note and the practice was

  20          different than in New York State.           Something

  21          like that.

  22                       If he had -- if the handwritten

  23          notes were part of the record and they had

  24          been destroyed, I would be very concerned.

  25                 Q     Did you ever look into whether or
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                                                                 Page 337
   1                              E. FORD, M.D.

   2          not his handwritten notes had been

   3          destroyed, Dr. Ford?

   4                 A     I did.    Yes.

   5                 Q     Okay.    What happened?

   6                 A     The -- it was -- I can't remember

   7          if it was -- how it came to be, but the

   8          notes were found, I believe back in the

   9          charts.

  10                 Q     Did you ever look into finding

  11          whether or not Dr. Jain actually destroyed

  12          his records?

  13                           MS. CANFIELD:      Objection.

  14                     Asked and answered.      You can answer

  15                     again.

  16                 A     So my recollection is that the

  17          notes were found and they were back in the

  18          charts.

  19                 Q     That's not what I asked you.

  20                       Did you ever find out whether or

  21          not at any point that Dr. Jain destroyed any

  22          of his notes?

  23                           MS. CANFIELD:      Objection.

  24                     Asked and answered.

  25                 A     Sure.    I did not find out at any
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                                                                 Page 338
   1                            E. FORD, M.D.

   2          point that Dr. Jain had ever destroyed any

   3          notes.

   4                 Q     Was there an investigation to

   5          determine whether or not Dr. Jain had ever

   6          destroyed any notes?

   7                           MS. CANFIELD:     Objection.

   8                     Asked and answered.

   9                 A     So there was a -- I don't know an

  10          investigation outside of what I did, but I

  11          looked into it, and I think I -- I can't

  12          remember who I spoke with.         I think some

  13          administrative staff.        And then the notes

  14          were there.

  15                 Q     Did you report it to corporate

  16          compliance?

  17                 A     I don't think I did.       I was -- my

  18          first -- what I first did was try to figure

  19          out if there was -- if the notes had been

  20          destroyed, and they were discovered.            So in

  21          my mind, they couldn't have been destroyed.

  22                 Q     How long did it take you to

  23          determine that the notes had not been

  24          destroyed?

  25                 A     That's a good question.        I don't
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   2          know.      I recall that when Dr. Jain told

   3          me -- he told me about this in supervision,

   4          he said, I have the notes, they're -- I

   5          don't know.      He said, the notes are back --

   6          I don't know.       I don't know.     Sorry.

   7                 Q     Are you certain -- I mean, based

   8          on your investigation -- let me strike that.

   9          Based on your investigation, could you

  10          determine whether or not the notes were

  11          recreated or they had actually always been

  12          in existence?

  13                 A     Are you asking could I determine

  14          whether the notes reappeared or were copies?

  15                 Q     Yes.   Or had been recreated versus

  16          the originals.

  17                 A     I did not determine that.

  18                 Q     So you're not sure if Dr. Kaye's

  19          allegation that Dr. Jain had destroyed his

  20          handwritten notes are true; am I right?

  21                           MS. CANFIELD:     Objection.     You

  22                     can answer.

  23                 A     I guess I have -- I have one

  24          doctor's word against the other.           So I guess

  25          I'm not sure.
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   2                 Q     Then you also have Dr. Jain now

   3          that the notes allegedly appear in these

   4          files; am I right?

   5                 A     I think that's how it went.         I

   6          can't recall exactly, but I remember the --

   7          what I do remember is that it got resolved.

   8                 Q     Are there cameras in the clinic,

   9          Dr. Ford?

  10                 A     I should know that.       In the Bronx

  11          court clinic, are there cameras.           The truth

  12          is, that right at this moment, I don't

  13          remember.     I don't know.

  14                 Q     Did Dr. Jain ever tell

  15          Dr. Winkler, to your knowledge, that he was

  16          throwing out the notes?

  17                 A     Sorry.    Did Dr. Jain tell

  18          Dr. Winkler?

  19                 Q     Yes.   To your knowledge.

  20                 A     Not to my knowledge, no.        Not to

  21          my knowledge.

  22                 Q     Now, at any point did you hear

  23          Dr. Kaye or learn of Dr. Kaye raising

  24          concerns about the --

  25                           MS. CANFIELD:     Could you
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   2                     repeat that.    I didn't hear that.

   3                 Q     By any chance, did you learn from

   4          Dr. Kaye about -- did you hear any

   5          complaints about Dr. Kaye -- from Dr. Kaye

   6          about HIPPA violations?

   7                 A     I don't know.

   8                 Q     At any point did you hear Dr. Yang

   9          or Ms. Yang tell anyone there that -- they

  10          don't like how things are being done here?

  11                 A     I didn't hear the first part.          Did

  12          Dr. Yang say?

  13                 Q     Did you ever hear Dr. Yang tell

  14          anyone, "We got the money, and if you don't

  15          like how we're doing things here, there's

  16          the door"?     Did you ever hear him make that

  17          kind of statement?

  18                 A     No.

  19                 Q     Did you ever hear Dr. Kaye raise

  20          issues about HIPPA waivers at the all staff

  21          meeting with Dr. Yang?

  22                 A     No.

  23                 Q     Now, let's see.      At any point, did

  24          Dr. Kaye complain about an off-site

  25          evaluation?
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   2                 A     I don't know if she complained

   3          about a specific off-site evaluation.            I

   4          know that -- what I do know is that pretty

   5          much every director had concerns about

   6          off-site evaluations.

   7                 Q     And what concerns were those?

   8                 A     Particularly at the beginning of

   9          the transition and the discussions around

  10          the transition.       The issue that came to my

  11          attention most frequently was concern that

  12          the evaluations would be conducted at Rikers

  13          Island.

  14                 Q     Now, at any point was there any

  15          issues with having to go to hospitals,

  16          Jacobi, for example, to conduct an exam?

  17                 A     There were -- there was -- I do

  18          recall times, I can't remember the specific

  19          cases or, frankly, even clinics, but where

  20          individuals were considered -- and I think

  21          this was typically by the hospital, and I

  22          remember it most at Bellevue.          But too sick

  23          to travel from the hospital to the clinic

  24          for their evaluation.        And so the hospitals

  25          would periodically request that those
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   2          evaluations be done in the hospital.

   3                 Q     Now, at any point did you and/or

   4          Dr. Jain meet with judges in the Bronx and,

   5          I guess, represent a specific turnaround

   6          time for the production of 730 to courts?

   7                 A     I recall only one meeting I ever

   8          had with judges with respect to the court

   9          clinics.     And I believe that was in

  10          Manhattan.     Was it Manhattan?       I'm sorry.     I

  11          can't remember the bureau.         Where we talked

  12          and in that meeting -- I can't remember the

  13          judge, but we -- one topic of the meeting

  14          was turnaround time.        And we talked about --

  15          we didn't set like numbers, but we talked

  16          about CHS's interest in being as efficient

  17          as possible with the examinations.

  18                 Q     At any point do you agree that

  19          examinations in the Bronx should be produced

  20          within three weeks of the order?

  21                 A     Did I agree that, sorry, that

  22          exams in the Bronx should be produced within

  23          three weeks of the order; is that the

  24          question?

  25                 Q     Right.
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   2                 A     I mean, I don't recall that

   3          specifically, but it does seem reasonable,

   4          prior to the next court date, which is

   5          usually a month from the time of the order.

   6                 Q     How did you come to the conclusion

   7          that three weeks is a reasonable turnaround

   8          time?

   9                 A     Well, your question was be

  10          produced to the clinic.         So what I'm basing

  11          that -- what I'm saying is that, in my

  12          experience and from what I've learned from

  13          others, the court calendars are usually

  14          marked for a month after.         So a 730 is

  15          ordered, and then the next hearing is

  16          typically a month later.

  17                       And then in order the

  18          individual -- so an individual can be

  19          evaluated on a day, but it takes some time

  20          to write the report, and to collect the

  21          records, if they are needed, and all that

  22          other stuff.

  23                       So to -- I think it's good

  24          practice to try to have the examination as

  25          close to the next hearing date as possible.
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   2          However, with enough time for the evaluation

   3          to be written and the records reviewed

   4          comprehensively.

   5                 Q     And to obtain the records, right?

   6                 A     Yeah.

   7                 Q     Is it true that CHS and HHC don't

   8          have necessarily control or possession of

   9          the records in all the instances where exams

  10          are ordered?

  11                 A     I don't know.      I'm not -- so exams

  12          are ordered for people who are out, who are

  13          not in custody, so Correctional Health would

  14          not have records for those individuals.

  15                 Q     So did the three-week estimation

  16          take into account that medical records might

  17          need to be ordered in order for the

  18          evaluators to complete their exams?

  19                 A     So I just -- before I answer that,

  20          is the three weeks, was that part of a

  21          policy?

  22                 Q     Well, I'm going to refresh your

  23          recollection.

  24                 A     Okay.    Great.    Thank you.

  25                 Q     Exhibit 20 is marked Bates Stamp
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   2          series 2680 through 2681.         And I'm going to

   3          share the screen.       Now, I'm going to scroll

   4          down.

   5                             (Whereupon, Email

   6                             (NYC_2680-2681) was marked as

   7                             Plaintiff's Exhibit 20 for

   8                             identification as of this date.)

   9                       On April 3, 2019, Dr. Jain says,

  10          "Hi, Elizabeth.       If you have a minute

  11          sometime today for a quick phone call, would

  12          like your advice and to keep you in the loop

  13          on how to best approach Dr. Kaye tomorrow,

  14          which she returns from being off."

  15                       Now, is that odd that he's asking

  16          you for advice on how to approach Dr. Kaye

  17          if they have a collegial work relationship?

  18                           MS. CANFIELD:     Objection.

  19                 A     I mean, I think Dr. Kaye and -- I

  20          think Dr. Jain is still finding his way in

  21          his leadership role.        It was not unusual,

  22          Dr. Jain would also ask me about messaging

  23          to other clinic directors as well.

  24                 Q     Like who?

  25                 A     Every one of them.
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   2                 Q     Can you refer another instance

   3          where he may have asked for the same type of

   4          guidance for any of the other clinical

   5          medical directors?

   6                 A     Well, let's see.      Specific to

   7          turning around reports in three weeks or

   8          just anything?

   9                 Q     Just in general.

  10                 A     Let's see.     Let me think.      There

  11          was a time when there was a question about

  12          how to talk with Dr. Mundy about one of his

  13          staff.     There was a time about how to

  14          approach Dr. Owen regarding -- I can't

  15          remember what it was regarding.           But I know

  16          we had a conversation about how to talk with

  17          Dr. Owen.

  18                 Q     So are you saying to some degree

  19          that Dr. Jain had communication issues, and

  20          this is why he would approach you about

  21          communicating with his staff?

  22                           MS. CANFIELD:     Objection.     You

  23                     can answer.

  24                 A     What I'm saying is that these --

  25          the issues were really complicated, and
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   2          Dr. Jain was, again, less than a year at

   3          this -- certainly around this time he was

   4          about a year in, getting used to -- and only

   5          less than a year, I guess, with the

   6          Manhattan and the Bronx supervision.

   7                 Q     Now, he goes on to say he met with

   8          the criminal court judges yesterday and they

   9          requested turning around reports in three

  10          weeks from the time they order 730.            So they

  11          want the report in three weeks; is that

  12          clear?

  13                 A     I didn't recall that, but that's

  14          what it says here.

  15                 Q     " it seemed doable, based on the

  16          schedule and volume, but I'm not sure how

  17          Dr. Kaye will receive it."

  18                       You see that, right?

  19                 A     I see that.

  20                 Q     Now, in the event that this is

  21          true, do you think, in your opinion, of

  22          doing the 730 exams, that may sometimes

  23          require medical records be ordered, that

  24          three weeks to obtain the records and to

  25          write a comprehensive exam -- I mean,
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   2          evaluation, is doable?

   3                           MS. CANFIELD:     Objection.      You

   4                     said this is requested by the

   5                     courts, but go ahead.

   6                 Q     I'm asking you, Dr. Ford.         Do you

   7          think?

   8                 A     So there are a number of factors,

   9          but I do think it's doable if the individual

  10          is produced for the evaluation.           If the

  11          records are ordered, and we had a -- I do

  12          remember, on my other hat at CHS, the

  13          treatment side, we were working very hard to

  14          try to have records turned around within a

  15          couple of days of the request.          And the

  16          writing of the report could take, and the

  17          review of the records, let's say they are

  18          four hours, so I do think that it's doable

  19          if those factors are in place.

  20                 Q     You're assuming that in your

  21          testimony that, one, the facility will

  22          produce the records in a timely fashion,

  23          that's one assumption you're making; am I

  24          right?

  25                 A     So what I'm telling you is that
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   2          your question was about, is it doable in

   3          three weeks, and I was telling you the

   4          circumstances that would make it doable.

   5                 Q     Is a three-week turnaround a

   6          practical turnaround to represent to the

   7          Court?

   8                           MS. CANFIELD:     Objection.

   9                     Asked and answered.

  10                           I know we're getting close for

  11                     past ten til, Dr. Ford.      Do we have

  12                     to have a hard stop at six?

  13                           THE WITNESS:     I do.    Yes.

  14                           MS. HAGAN:     I'd like to finish

  15                     this line of questioning and then

  16                     we'll have to figure out how much

  17                     time we have left if I need to

  18                     reopen to have Dr. Ford back then.

  19                           MS. CANFIELD:     She has a hard

  20                     stop at six.    So you're not going --

  21                     not going to be able to finish your

  22                     questioning.    Maybe we should break

  23                     now and we should schedule --

  24                           MS. HAGAN:     I'd like to finish

  25                     this line of questioning and then we
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   2                     can reschedule.    And that's fine.

   3                     Because I have six minutes until

   4                     6:00 and we can finish.

   5                 Q     Now, we met with the criminal

   6          court judges yesterday.         Now I'm going back

   7          to your -- my line of questioning regarding

   8          the production of these records.

   9                       And the question is, you have --

  10          Dr. Kaye or any other evaluator really

  11          doesn't have any control as to how quickly

  12          these various facilities produce these

  13          records and release them to the various

  14          evaluators; is that right?

  15                           MS. CANFIELD:     Objection.     You

  16                     can answer.

  17                 A     I think that's generally correct,

  18          yeah.

  19                 Q     Right.    So you can't -- no one can

  20          predict how long it will take for the

  21          records to be produced from the various

  22          facilities to the evaluators; am I right?

  23                 A     No.   I don't think that's correct.

  24          I mean, you can offer -- you can't be a

  25          hundred percent accurate, but you can
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   2          predict, based on how long it's taken

   3          whatever facility to produce records in the

   4          past, that that's probably how long it will

   5          take when you ask them this time.

   6                 Q     Now, the medical records is only

   7          one source of collateral data; is that

   8          right?

   9                 A     Yes.

  10                 Q     There may be instances, for

  11          example, where a forensic evaluator might

  12          listen to prison recordings; am I right?

  13          Like recordings, phone recordings between an

  14          inmate and people who he or she may engage;

  15          is that right?

  16                 A     I don't know the answer -- I don't

  17          know if that's done routinely or not.

  18                 Q     Well, have you --

  19                 A     Good question.

  20                 Q     Have you ever referenced any other

  21          collateral data besides medical records to

  22          make your determinations?

  23                 A     I have used psychological testing

  24          reports.     I don't know if I've ever used

  25          prison recordings.       But I believe that
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   2          whatever collateral information is produced

   3          can be used for this report.

   4                 Q     But didn't you respond to Beesh,

   5          "Sorry, Beesh, just getting to this.            Have

   6          been sorting through the kinks for the new

   7          EMR for most of the day."

   8                       What's EMR?

   9                 A     Electrical Medical Records.

  10                 Q     "What are particular concerns?

  11          Seems reasonable request from judges.            Don't

  12          imagine that you will be telling Melissa

  13          tomorrow that is a done deal.          Just

  14          informing her of request and asking her for

  15          thoughts," right?

  16                 A     It says that, yes.

  17                 Q     But, now, he's represented to the

  18          judges that it's doable, right?

  19                           MS. CANFIELD:     Objection.

  20                 A     Sure.    If you could go down to the

  21          email that he wrote to me.

  22                       He said, it seemed doable.         I

  23          don't know -- it doesn't say to me that he

  24          told that to the judges.

  25                 Q     So then you -- then I guess he
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   2          responds, "Just got this yesterday from

   3          Elizabeth.     I'll try to talk to her before

   4          we meet with Melissa today.          She seems to

   5          also suggest that it's better to inform

   6          Melissa and get her thoughts instead of

   7          telling her that this is a done deal."

   8                       You see that, right?

   9                 A     I do.    Yeah.

  10                 Q     So clearly he had told the judges

  11          that this is a done deal, that they can

  12          comply.     Is that clear?

  13                 A     That's not clear to me from this.

  14          No.

  15                 Q     So what does done deal mean?

  16                           MS. CANFIELD:     Objection.     You

  17                     can answer.

  18                 A     Sure.    How I interpret this email

  19          is that he would talk with Melissa to get

  20          her response and feedback before he or

  21          anybody in CHS would agree officially to

  22          this kind of arrangement.

  23                 Q     So you don't get that he's already

  24          agreed to this without Dr. Kaye?

  25                 A     I do not get that.       Dr. Jain
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   2          sought guidance and supervision pretty

   3          regularly.     Doesn't seem like something he

   4          would do.

   5                 Q     But Dr. Kaye was his supervisor,

   6          and there's questions whether or not he was

   7          able to effectively communicate with her,

   8          especially he's seeking guidance from you as

   9          to how he should approach her in the first

  10          place; am I right?

  11                             MS. CANFIELD:   Objection.

  12                     It's argumentative.     I think it's

  13                     time now.

  14                             MS. HAGAN:   It's 5:58.     Let

  15                     that be known.    I would ask the

  16                     reporter how much time we have left

  17                     on the record.

  18            (A discussion was held off the record.)

  19                             MS. CANFIELD:   I'd like to

  20                     request an expedited transcript,

  21                     please.

  22                             COURT REPORTER:    How many

  23                     days?

  24                             MS. CANFIELD:   Ms. Hagan, when

  25                     can you get the court reporter the
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   2                   exhibit?

   3                           MS. HAGAN:     When I get to

   4                   them.

   5                           MS. CANFIELD:     Three days,

   6                   please.

   7                           MS. HAGAN:     When I get to

   8                   them.

   9                           MS. CANFIELD:     Well, I want it

  10                   expedited.     So, please, you need to

  11                   get the exhibits to the court

  12                   reporter.

  13                             (Whereupon, this examination was

  14                             concluded at 6:00 p.m.)

  15

  16

  17

  18

  19    _______________________________

  20    ELIZABETH FORD, M.D.

  21

  22

  23    Subscribed and sworn to
        before me on this ____ day
  24    of ___________, __________.

  25
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   2    _______________________________
        Notary Public
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   2                       C E R T I F I C A T E

   3

   4          I, KIARA MILLER,

   5          A Shorthand Reporter and Notary Public of the

   6          State of New York, do hereby certify:

   7

   8          That the witness whose examination is

   9          hereinbefore set forth, was duly sworn or

  10          affirmed by me, and the foregoing transcript is

  11          a true record of the testimony given by such

  12          witness.

  13

  14          I further certify that I am not related to any

  15          of the parties to this action by blood or

  16          marriage, and that I am in no way interested in

  17          the outcome of this matter.

  18

  19

  20                              _________________________

  21                                     KIARA MILLER

  22

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